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                   EXHIBIT 1
                                                                                        EXHIBIT
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      Subject: RE: Cceatto talk widi you yesterday.                                                                                    If                y
       Erom: "CShaugbnessy, Patrick" <MAILER-DAEMON>                                                                                  I TT"] !—TTT—Z
      To:       BiUIsaac                                                                                                              •
      Date:     Hoi, 19 Mar 2015 02:38:52 -HXHH)


     Bfil, thank you foryouriime at tlM conference. As wediscussed, themajor banks witidi wehave kntliave claimed Itisduetoourparent (GnipoSektra, a Mexican bank
     holdbig comfMny), notanyttiing to dowith ourconifikance management system orOperation Chokepoint ibelieve thisto bettietruth,asWdb Faigo (and some smaller
     institutions tike I6C inTexas) continues to bank ourcompetitors, including thosewithntuch lower compliance ratings from ttieCFPB. Inorderto win themback. IbeBeve we
     need a ddferent solution thanthecompliance audit you suggested, i think weneed toknow from WefeFaigo exactly what theissue isand ifthereisaway to resotve it
     Pleaselet me knowifyouthinkyouhaveanyideasinthisregard.

     J. PatrickCShaughnessy
     President and CEO
     Advance America
     135 N. Church Street
     Spartanburg,SC 29306
     P:864-342-5001
     F:864*342-S102


     PPomt 6il Isaac[maKotBilsaacOcomcastnet]
     Sent: Thursday, March05,2015 5:03 PM
     To: CShauglmessy,Patrick: Rustin, Jessica
     Gb Rosenbhtm Jeremy
     Subjacb Great to talkwith youyesterday.

     Patilcfc&Jessica - We appreciated tfio opportunity to meetwith you yesterday, andwelook forward toworking with you. Iamconfident «vec»)
     add sifRlffcant vatiie.

     I(and my cofieagues at FTI and Batiard) wi0 tre pleased tomeet with you inSpartanburg orwherever else might work best for you. Just letme
     know when artd where.

     Ail the best; BIH

     Witfiam M. Isaac
     Senior Managing Director
     Stobal Head of Finandai Services
        Consulting
     1209 Westway Drive
     Sarasota, Florida 34236
     941-388-0088


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Protected - Attorneys' Eyes Only                                                                                                                             AA047327
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Comptroller’s Handbook                              EP-BSP



  Examination Process (EP)



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       Version 1.0              Examination Authority and Full-Scope, On-Site Examination Requirement



Examination Authority and Full-Scope,
On-Site Examination Requirement
       The OCC examines banks pursuant to the authority conferred by 12 USC 481 (national
       banks), 12 USC 1463 (FSAs), 12 USC 1464 (FSAs), and the requirements of
       12 USC 1820(d). 16 The OCC examines federal branches and agencies pursuant to the
       authority conferred by 12 USC 3105(c)(1)(C).

       Banks must receive a full-scope, on-site examination every 12 or 18 months. 17 The required
       full-scope, on-site examination frequency is known as the supervisory cycle. Refer to table 1
       for the eligibility requirements for the 18-month supervisory cycle and to the “Full-Scope
       Examinations” section of this booklet for the OCC’s definition of and requirements for the
       required full-scope, on-site examination.

       The statutory and regulatory requirements set the maximum supervisory cycle length and do
       not limit the OCC’s authority to examine a bank as frequently as the OCC deems
       appropriate. 18 A potential or actual adverse change in the bank’s condition or risk profile, a
       change in bank control, or an OCC scheduling conflict are examples of when the OCC could
       determine it would be appropriate to examine the bank more frequently. Before increasing
       the frequency of examinations due to a scheduling conflict, supervisory offices should
       consider how OCC resources can be used most efficiently and coordinate with the bank to
       minimize burden.

       Table 1 lists the eligibility criteria for the extended, or 18-month, supervisory cycle as of the
       publication date of this booklet. The Economic Growth, Regulatory Relief, and Consumer
       Protection Act (Pub. L. 115-174), which was signed into law on May 24, 2018, gave the
       OCC, the FDIC, and the Federal Reserve the authority to extend the examination cycle for
       additional banks. As of the publication date of this booklet, the OCC was in the process of
       amending 12 CFR 4.6 (national banks and FSAs, except federal branches and agencies) and
       12 CFR 4.7 (federal branches and agencies) to implement this act. For the most up-to-date
       information, examiners should refer to 12 USC 1820(d)(4), 12 USC 1820(d)(10),
       12 CFR 4.6, and 12 CFR 4.7, and consult the supervisory office.




       16   Refer also to 12 USC 1467(h) (FSAs) and 12 USC 1468b (FSAs).

       17 12 USC 1820(d) requires the OCC to conduct a full-scope, on-site examination of each insured depository
       institution every 12 or 18 months. The OCC applies this statutory examination requirement to all types of banks
       (federal branches and agencies excepted), regardless of FDIC-insured status, in 12 CFR 4.6. The frequency of
       on-site examinations for federal branches and agencies is prescribed by 12 USC 3105(c) and 12 CFR 4.7.
       18 Refer to 12 CFR 4.6(c) (national banks and FSAs, except federal branches and agencies) and 12 CFR 4.7(c)
       (federal branches and agencies).


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                                                       > Service Providers and Types of Supervisory Activities

Service Providers
       The OCC has the authority to examine functions or operations performed on behalf of a bank
       by a third party. 20 Service providers are examined on a 24-, 36-, or 48-month cycle based on
       the Examination Priority Ranking Program described in the “Supervision of Technology
       Service Providers” booklet of the FFIEC Information Technology (IT) Examination
       Handbook. Additionally, at least one interim review is required between regularly scheduled
       examinations. Refer to “Federal Regulatory Agencies’ Administrative Guidelines:
       Implementation of Interagency Programs for the Supervision of Technology Service
       Providers.” 21

Types of Supervisory Activities
       Supervisory activities are the various examination and supervision activities that are
       conducted throughout a bank’s supervisory cycle.

Full-Scope Examinations
       The full-scope, on-site examination requirement may be fulfilled by conducting one
       examination (most common in community banks) or by aggregating several supervisory
       activities (most common in midsize and large banks). Even when a bank receives one full-
       scope examination during its supervisory cycle, examiners conduct ongoing supervision
       throughout the supervisory cycle. A full-scope, on-site examination must consist of
       examination activities performed during the supervisory cycle that

       •      satisfy the core assessment 22 and are sufficient in scope to assign the bank’s regulatory
              ratings, except CRA ratings. 23
       •      result in conclusions about the bank’s risk profile.
       •      review the bank’s BSA compliance program.
       •      assess the bank’s compliance with the national flood insurance program, if the bank is an
              insured depository institution. 24




       20
            Refer to 12 USC 1867(c) (national banks and FSAs) and 12 USC 1464(d)(7) (FSAs).
       21
            This publication is available online in the FFIEC IT Examination Handbook Infobase.
       22
         Refer to the “Core Assessment” section of this booklet for an overview of the core assessment. For specific
       core assessment guidance, refer to the “Community Bank Supervision,” “Large Bank Supervision,” and
       “Federal Branches and Agencies Supervision” booklets of the Comptroller’s Handbook, and the “Core
       Examination Overview and Procedures for Assessing the BSA/AML Compliance Program” section of the
       FFIEC BSA/AML Examination Manual.
       23
            Refer to the “Regulatory Ratings” section of this booklet for a description of the regulatory rating systems.
       24
            Refer to the “National Flood Insurance Program” section of this booklet and 12 USC 1820(i).


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                                                                            > Specialty Area Considerations

       •      include on-site supervisory activities. 25
       •      conclude with the issuance of an ROE. 26

Ongoing Supervision
       Ongoing supervision is the OCC’s process for assessing risks and reviewing core
       knowledge about a bank on an ongoing basis. Ongoing supervision conclusions can result in
       changes to the OCC’s supervisory strategy, regulatory ratings, or risk assessment system
       (RAS) conclusions for a bank.

Target Examinations
       A target examination alone does not fulfill all of the requirements of the statutory full-
       scope, on-site examination, but may fulfill a portion of the requirements. Target
       examinations may focus on one particular product (e.g., credit cards), function (e.g., audit),
       or risk (e.g., operational risk) or may cover specialty areas (e.g., municipal securities
       dealers). Conclusions from target examinations are generally communicated to the bank in
       supervisory letters.

       Some examinations are conducted as part of the OCC’s licensing function. These include
       charter field investigations, pre-opening examinations, and conversion examinations. Refer to
       the Comptroller’s Licensing Manual for more information on examinations conducted as part
       of the OCC’s licensing function.

Specialty Area Considerations
       Specialty areas consist of IT, asset management, BSA/AML, consumer compliance, CRA,
       and municipal and government securities dealers. Specialty area examinations are integrated
       within supervisory cycles of all banks. Examination frequencies and scopes of some specialty
       areas are influenced by statutory mandates, interagency commitments, or OCC policy.
       Examinations of specialty areas are conducted as part of a full-scope or target examination,
       depending on the circumstances.

Information Technology
       The level of expertise needed to perform the IT examination typically depends on the bank’s
       complexity and level of risk. The IT review may be performed as multiple target
       examinations, the results of which are rolled up to form an overall IT assessment for that
       particular supervisory cycle, or as a singular review. IT examinations of community banks
       are usually performed by generalist examiners using procedures in the “Community Bank
       Supervision” booklet of the Comptroller’s Handbook. More complex midsize and large bank


       25
            The extent of on-site examination work is flexible.
       26
            For more information, refer to the “Report of Examination” section of this booklet.


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       IT examinations are generally performed by specialists using the procedures in the FFIEC IT
       Examination Handbook.

Asset Management
       Asset management is the business of providing financial products and services to a third
       party for a fee or commission. Asset management activities include trust and fiduciary
       services, investment management, retirement planning, corporate trust administration,
       custody, safekeeping, securities lending services, security-holder and transfer agent services,
       and retail sales of nondeposit investment products. The asset management review may be
       performed as multiple target examinations, the results of which are rolled up to form an
       overall asset management assessment for that particular supervisory cycle, or as a singular
       review. Midsize and large bank asset management examinations are generally performed by
       specialists.

       Refer to the “Community Bank Supervision,” “Federal Branches and Agencies Supervision,”
       “Large Bank Supervision,” and “Retail Nondeposit Investment Products” booklets and the
       Asset Management series of booklets of the Comptroller’s Handbook for more guidance on
       examining asset management activities.

Bank Secrecy Act/Anti-Money Laundering
       The OCC is required to review the BSA compliance program of each bank during every
       supervisory cycle. 27 The BSA/AML review must include a conclusion about the adequacy of
       the bank’s BSA program. The required BSA/AML review may be performed as multiple
       target examinations, the results of which are rolled up to form an overall BSA compliance
       program assessment for that particular supervisory cycle, or as a singular review. Risk-based
       transaction testing must be performed during each supervisory cycle using the appropriate
       section(s) of the FFIEC BSA/AML Examination Manual. The scope of the BSA/AML review
       must include the minimum procedures in the “Core Examination Overview and Procedures
       for Assessing the BSA/AML Compliance Program” section of the FFIEC BSA/AML
       Examination Manual, plus any additional core or expanded procedures as determined during
       the scoping and planning process. The extent that additional core or expanded procedures are
       used should be risk-based. Examiners should refer to the “Scoping and Planning” section of
       the FFIEC BSA/AML Examination Manual for guidance when scoping BSA/AML
       examinations and should particularly emphasize the following when determining the scope:

       •    The bank’s BSA/AML risk profile.
       •    Quality of the bank’s BSA independent testing.
       •    Previous examination findings.
       •    Data from the OCC’s money laundering risk system, if applicable.


       27
         12 USC 1818(s) requires the OCC to review the BSA compliance program of each insured depository
       institution. For this purpose, “insured depository institution” also includes uninsured federal branches and
       agencies and uninsured national banks. Refer to 12 USC 1813(c)(3) and 12 USC 1818(b)(5).


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                                                                        > Specialty Area Considerations

       While Office of Foreign Assets Control (OFAC) regulations are not part of the BSA,
       evaluation of OFAC compliance is generally included in BSA/AML examinations. The
       OFAC review evaluates the sufficiency of a bank’s implementation of policies, procedures,
       and processes regarding compliance with OFAC laws and regulations, using applicable
       procedures from the OFAC section of the FFIEC BSA/AML Examination Manual. OFAC-
       related matters requiring attention (MRA) and suspected violations regarding OFAC must be
       reported to the Compliance Risk Policy Division of the OCC’s CCA Department for referral
       to OFAC.

Consumer Compliance
       Consumer compliance encompasses reviews of a bank’s compliance with consumer
       protection-related laws and regulations and the adequacy of a bank’s compliance
       management system (CMS) as it pertains to consumer compliance. 28 The consumer
       compliance examination should be risk-based, though examination scopes must be consistent
       with statutory mandates, OCC minimum standards, and interagency commitments regarding
       examination frequency or minimums. Examiners normally perform consumer compliance
       examinations as part of a single examination for community banks. In midsize and large
       banks, the consumer compliance examination is generally conducted as part of one or more
       target examinations and should be focused on product lines and decision centers that carry
       the most risk.

       Examiners must review the bank’s CMS as it pertains to compliance with consumer
       protection-related laws and regulations at least once per supervisory cycle. This review is a
       significant consideration when determining a bank’s consumer compliance component rating
       under the Uniform Interagency Consumer Compliance Rating System (CC Rating System).
       The review of a bank’s CMS for assigning the bank’s consumer compliance component
       rating should include a risk-based assessment of the following components:

       •    Board and management oversight, which includes
            − oversight and commitment, including third-party risk management.
            − change management.
            − comprehension, identification, and management of risk.
            − self-identification and corrective action.
       •    Consumer compliance program, which includes
            − policies and procedures.
            − training.
            − monitoring and audit.
            − consumer complaint response.




       28
         A bank’s overall CMS should cover all applicable laws and regulations and cover all areas of the bank.
       Examiners should consider aspects of a bank’s CMS that do not pertain to consumer protection-related laws and
       regulations when assessing the bank’s overall risk management program and determining the management
       component rating.


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                                                                             > Risk Assessment System

       of credit risk may be increasing if a bank has relaxed underwriting standards during a strong
       economic cycle, even though the volume of troubled credits and credit losses remains low.
       Similarly, the direction of liquidity risk may be increasing if a bank has not implemented a
       well-developed contingency funding plan during a strong economic cycle, even though
       existing liquidity sources are sufficient for current conditions.

       Because an examiner expects aggregate risk to increase or decrease does not necessarily
       mean that he or she expects the movement to be sufficient to change the aggregate risk level
       within 12 months. An examiner can expect movement within the risk level. For example,
       aggregate risk can be high and decreasing even though the decline is not anticipated to
       change the level of aggregate risk to moderate. In such circumstances, examiners should
       explain in narrative comments why a change in the risk level is not expected. Aggregate risk
       assessments of high and increasing or low and decreasing are possible.

       The presence of risk is not necessarily reason for concern. Examiners determine whether the
       risks a bank assumes are warranted by assessing whether the risks are effectively managed in
       a manner consistent with safe and sound banking practices. Generally, a risk is effectively
       managed when it is identified, measured, monitored, controlled, and reported. Senior
       management should report to the board on the bank’s overall risk profile, including aggregate
       and emerging risks. 39 A bank should have the capacity to readily withstand the financial
       distress that a risk, in isolation or in combination with other risks, could cause.

       If examiners determine that a risk is unwarranted (e.g., not effectively managed or supported
       by adequate capital), they must communicate to management and the board the need to
       mitigate or eliminate the unwarranted risk. Appropriate actions may include reducing
       exposures, increasing capital, or strengthening risk management practices.

       Examiners should discuss RAS conclusions with bank management and the board during
       each supervisory cycle. If a change to the RAS occurs that warrants altering the bank’s
       supervisory strategy or requires corrective action by bank management, examiners should
       formally communicate the rationale for the change to the bank and obtain commitments for
       any corrective actions. These communications help the bank and the OCC reach a common
       understanding of the bank’s risks, focus on the strengths and weaknesses of risk
       management, and achieve supervisory objectives.

Categories of Risk

       Credit Risk

       Credit risk is the risk to current or projected financial condition and resilience arising from an
       obligor’s failure to meet the terms of any contract with the bank or otherwise perform as
       agreed. Credit risk is found in all activities in which settlement or repayment depends on
       counterparty, issuer, or borrower performance. Credit risk exists any time bank funds are


       39
         Refer to the “Corporate and Risk Governance” booklet of the Comptroller’s Handbook for more information
       regarding risk management.


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       extended, committed, invested, or otherwise exposed through actual or implied contractual
       agreements, whether reflected on or off the balance sheet.

       Credit risk is the most recognizable risk associated with banking. This definition
       encompasses more than the traditional definition associated with lending activities. Credit
       risk also arises in conjunction with a broad range of bank activities, including selecting
       investment portfolio products, derivatives trading partners, or foreign exchange
       counterparties. Credit risk also arises due to country or sovereign exposure, as well as
       indirectly through guarantor performance.

       Interest Rate Risk

       Interest rate risk is the risk to current or projected financial condition and resilience arising
       from movements in interest rates. Interest rate risk results from differences between the
       timing of rate changes and the timing of cash flows (repricing risk); from changing rate
       relationships among different yield curves affecting bank activities (basis risk); from
       changing rate relationships across the spectrum of maturities (yield curve risk); and from
       interest-related options embedded in bank products (options risk).

       The assessment of interest rate risk should consider risk from both an accounting perspective
       (i.e., the effect on the bank’s accrual earnings) and an economic perspective (i.e., the effect
       on the market value of the bank’s portfolio equity). In some banks, interest rate risk is
       included in the broader category of market risk. In contrast with price risk, which focuses on
       the mark-to-market portfolios (e.g., trading accounts), interest rate risk focuses on the value
       implications for accrual portfolios (e.g., held-to-maturity and available-for-sale accounts).

       Liquidity Risk

       Liquidity risk is the risk to current or projected financial condition and resilience arising from
       an inability to meet obligations when they come due. Liquidity risk includes the inability to
       access funding sources or manage fluctuations in funding levels. Liquidity risk also results
       from a bank’s failure to recognize or address changes in market conditions that affect its
       ability to liquidate assets quickly and with minimal loss in value.

       The nature of liquidity risk has changed in recent years. Increased investment alternatives for
       retail depositors and sophisticated off-balance-sheet products with complicated cash-flow
       implications are examples of factors that complicate liquidity risk.

       Price Risk

       Price risk is the risk to current or projected financial condition and resilience arising from
       changes in the value of either trading portfolios or other obligations that are entered into as
       part of distributing risk. These portfolios typically are subject to daily price movements and
       are accounted for primarily on a mark-to-market basis. This risk occurs most significantly
       from market-making, dealing, and position-taking in interest rate, foreign exchange, equity,
       commodities, and credit markets.


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                                                                           > Risk Assessment System

       Price risk also arises from bank activities whose value changes are reflected in the income
       statement, such as in lending pipelines, other real estate owned, and mortgage servicing
       rights. The risk to earnings or capital resulting from the conversion of a bank’s financial
       statements from foreign currency translation also should be assessed under price risk. As
       with interest rate risk, many banks include price risk in the broader category of market risk.

       Operational Risk

       Operational risk is the risk to current or projected financial condition and resilience arising
       from inadequate or failed internal processes or systems, human errors or misconduct, or
       adverse external events. Operational losses may result from internal fraud; external fraud;
       inadequate or inappropriate employment practices and workplace safety; failure to meet
       professional obligations involving clients, products, and business practices; damage to
       physical assets; business disruption and systems failures; and failures in execution, delivery,
       and process management. Operational losses do not include opportunity costs, forgone
       revenue, or costs related to risk management and control enhancements implemented to
       prevent future operational losses.

       The quantity of operational risk and the quality of operational risk management are heavily
       influenced by the quality and effectiveness of a bank’s system of internal control. The quality
       of the audit function, although independent of operational risk management, also is a key
       assessment factor. Audit can affect the operating performance of a bank by helping to
       identify and validate correction of weaknesses in risk management or controls. The quality of
       due diligence, risk management of third-party relationships, business continuity planning,
       and controls protecting the confidentiality, integrity, and availability of bank information are
       other key assessment factors for mitigating operational risk.

       Compliance Risk

       Compliance risk is the risk to current or projected financial condition and resilience arising
       from violations of laws or regulations, or from nonconformance with prescribed practices,
       internal bank policies and procedures, or ethical standards. This risk exposes a bank to fines,
       civil money penalties (CMP), payment of damages, and the voiding of contracts.
       Compliance risk can result in diminished reputation, harm to bank customers, limited
       business opportunities, and lessened expansion potential.

       Compliance risk is not limited to risk from failure to comply with consumer protection-
       related laws and regulations; it encompasses the risk of noncompliance with all laws and
       regulations, as well as prudent ethical standards and contractual obligations. It also includes
       the exposure to litigation (known as legal risk) from all aspects of banking, traditional and
       nontraditional.

       Strategic Risk

       Strategic risk is the risk to current or projected financial condition and resilience arising from
       adverse business decisions, poor implementation of business decisions, or lack of


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       responsiveness to changes in the banking industry and operating environment. This risk is a
       function of a bank’s strategic goals, business strategies, resources, and quality of
       implementation. The resources needed to carry out business strategies are both tangible and
       intangible. They include communication channels, operating systems, delivery networks, and
       managerial capacities and capabilities.

       The assessment of strategic risk includes more than an analysis of a bank’s written strategic
       plan. It focuses on opportunity costs and how plans, systems, and implementation affect the
       bank’s financial condition and resilience. It also incorporates how management analyzes
       external factors, such as economic, technological, competitive, regulatory, and other
       environmental changes, that affect the bank’s strategic direction.

       Reputation Risk

       Reputation risk is the risk to current or projected financial condition and resilience arising
       from negative public opinion. This risk may impair a bank’s competitiveness by affecting its
       ability to establish new relationships or services or continue servicing existing relationships.
       Reputation risk is inherent in all bank activities, and management should deal prudently with
       stakeholders, such as customers, counterparties, correspondents, investors, regulators,
       employees, and the community.

       A bank that actively associates its name with products and services offered through
       outsourced arrangements or asset management affiliates is more likely to have higher
       reputation risk exposure. Significant threats to a bank’s reputation also may result from
       negative publicity regarding matters such as unethical or deceptive business practices,
       violations of laws or regulations, high-profile litigation, or poor financial performance. The
       assessment of reputation risk should take into account the bank’s culture, the effectiveness of
       its problem-escalation processes and rapid-response plans, and its engagement with news
       media.

Relationship Between RAS and Regulatory Ratings
       The RAS is used in conjunction with CAMELS, ROCA, and other regulatory ratings during
       the supervisory process to evaluate a bank’s financial condition and resilience. The RAS
       provides both a current (aggregate risk) and a prospective (direction of risk) view of the
       bank’s risk profile that examiners incorporate when assigning regulatory ratings. For
       example, under the RAS, examiners may assess credit risk in a bank with insufficient risk
       management practices and increasing adverse trends as “moderate and increasing” or “high
       and increasing.” If the component rating for asset quality does not reflect the quality of risk
       management identified in the credit RAS, examiners should consider whether changing the
       component rating is warranted. Additionally, examiners consider their assessments of risk
       management practices for each of the risk categories when assigning management
       component ratings.




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Risk-Based Supervision Approach
       In carrying out its mission, the OCC employs an ongoing risk-based supervision approach
       focused on evaluating risk, identifying material and emerging concerns, and requiring banks
       to take timely corrective action before deficiencies compromise their safety and soundness.

       The OCC’s risk-based supervision approach requires examiners to determine how existing or
       emerging issues for a bank, its related organizations, or the banking industry as a whole
       affect the nature and extent of risks in that bank. Examiners evaluate risk using the OCC’s
       RAS and tailor supervisory activities to the risks identified. Examiners must include periodic
       testing in supervisory activities to validate their risk assessments.

       The risk-based supervision approach concentrates on systemic risks and banks that pose the
       greatest risk to the federal banking system. Under this approach, the OCC allocates greater
       resources to areas of higher risk by

       •      identifying risk using common definitions. The categories of risk, as they are defined, are
              the foundation for supervisory activities.
       •      measuring risk using common methods of evaluation. Risk cannot always be quantified
              in dollars. For example, numerous or significant internal control deficiencies may
              indicate excessive operational risk.
       •      evaluating risk management to determine whether bank systems adequately identify,
              measure, monitor, and control risk.
       •      providing flexibility to modify planned supervisory activities based on changes to a
              bank’s risk profile.
       •      performing examinations based on the core assessment, expanded procedures, or
              verification procedures, reaching conclusions on the bank’s risk profile and condition,
              and following up on areas of concern.

       While the OCC’s supervision focuses on individual banks, the risks to these banks may be
       mitigated or increased by the activities of affiliates and other related organizations (e.g.,
       financial subsidiaries). Therefore, examiners must determine the risk profile of OCC-
       supervised banks, regardless of how activities are structured within the bank’s overall
       company. Examiners’ assessments should consider the OCC-supervised bank’s risks from
       affiliates and other related organizations, and the effectiveness of the OCC-supervised bank’s
       risk management systems in controlling those risks. To do this, examiners obtain information
       from the bank, the bank’s affiliates, and other regulatory agencies, as necessary. Examiners
       may also verify transactions between the bank and its affiliates as appropriate. 40 Examiners
       typically document one consolidated assessment for all OCC-supervised banks within a
       holding company structure, noting any significant differences for individual OCC-supervised
       affiliates.




       40
            For more information, refer to appendix A, “Functional Regulation,” of this booklet.


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Supervisory Actions
Matters Requiring Attention
       The OCC uses MRAs to communicate concerns about a bank’s deficient practices. 61
       Examiners must communicate such concerns to management and the board when the
       concerns are discovered and must not defer issuing MRAs pending bank management’s
       efforts to address the concerns. Examiners must not use a graduated process by first
       communicating the OCC’s concern with a deficient practice as a recommendation, 62 then, if
       the deficient practice is not addressed, using an MRA.

       For consistent reporting, the OCC focuses on the concerns within the MRA, tracking them
       through their duration. The following Five Cs format is used to communicate an MRA:

       •     Concern describes the deficient bank practice and how it deviates from sound
             governance, internal control, or risk management principles, or results in substantive
             noncompliance with laws or regulations, enforcement actions, or conditions imposed in
             writing. Unsafe or unsound practices should be specifically identified in the concern. A
             single MRA may contain multiple concerns. If the deficient practice has affected the
             bank’s condition, this should be described in the concern section.
       •     Cause notes the root cause of the concern when it is evident. When the root cause is not
             evident, the OCC may require bank management to determine the root cause as part of
             the corrective action.
       •     Consequence explains how continuation of the deficient practice could affect the bank’s
             condition, including its financial performance or risk profile. Management’s inaction
             could, in certain instances, result in violations or additional supervisory actions, such as
             enforcement actions (including CMPs for the bank, the bank’s board, or management).
       •     Corrective action includes what management or the board must do to address the
             concern and eliminate the cause. Generally, management is responsible for effectuating
             corrective actions, and the board should oversee management’s corrective actions and
             hold management accountable. In certain cases (e.g., concerns with board oversight), the
             board, rather than management, may need to take corrective action.
       •     Commitment relates to the bank’s action plan, including specific information regarding
             milestones, the completion date, and staff who are accountable for implementation. If

       61
         The OCC updated its policies and procedures for examiners regarding MRAs on October 30, 2014. The
       updated MRA policies and procedures addressed recommendations in “An International Review of OCC’s
       Supervision of Large and Midsize Institutions” (International Peer Review report) to support the agency’s
       mission of ensuring a safe and sound federal banking system by emphasizing timely detection and correction of
       deficient bank practices before they affect the bank’s condition. The updated policies and procedures also made
       MRA terminology, format, follow-up, analysis, and reporting consistent across the agency.
       62
          Recommendations must not be included in the ROE or other formal written communication to the bank (e.g.,
       supervisory letter). Recommendations can be provided informally to bank management or the board as
       suggestions to enhance policies or as best practices. Recommendations do not require specific action by bank
       management or follow-up by examiners. Recommendations are not tracked in the OCC’s supervisory
       information systems.


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            management is unable to provide an action plan during the examination, the examiner
            obtains a commitment from bank management to develop a board-approved plan and
            provide it to the OCC within 30 days of receipt of the formal written communication
            containing the MRA.

       A concern is either “open” or “closed.” A concern is closed if the bank implements and the
       OCC verifies and validates the effectiveness and sustainability of the corrective action, or if
       the bank’s practices are no longer a concern because of a change in the bank’s circumstances.
       In formal written communication, the bank’s board may receive a brief listing of closed
       concerns. Within the meaning of “open,” a concern may be categorized several ways in
       formal written communication to the board and management and for reporting purposes:

       •    New: The concern was not identified previously (i.e., the concern is not “repeat”).
       •    Repeat: The same or a substantially similar concern has reoccurred. For a concern to be a
            repeat concern
            − the OCC must have previously communicated the concern in an MRA or enforcement
                action during the prior five-year period, and
            − subsequent to the initial communication, the bank corrected the deficient practice and
                the OCC validated and closed the concern, but the concern has reoccurred.
       •    Self-identified: A significant unresolved concern that the bank initially discovered is
            labeled as self-identified. A bank’s action to self-identify concerns is an important
            consideration when the OCC assesses the adequacy of the bank’s risk management
            system.
       •    Past due: The corrective action was not implemented within the expected time frame, or
            during the validation process examiners determine that the corrective action is not
            effective or sustainable. There may be valid reasons that support failure to meet
            deadlines. Bankers should communicate these reasons to their primary OCC contact (e.g.,
            supervisory office, EIC, or portfolio manager) promptly, in order to determine a
            reasonable, modified remediation date.
       •    Pending validation: The OCC verified that the bank implemented the corrective action,
            but insufficient time has passed for the bank to demonstrate sustained performance under
            the corrective action, and the OCC has not validated the sustainability of the corrective
            action.
       •    Escalated: Subsequent to its communication to the bank in an MRA, the OCC addressed
            the uncorrected concern in an enforcement action. The concern may be past due, or
            milestones have not been met by management, or inadequate attention given to correcting
            the deficiency may represent an unsafe or unsound practice.

       The OCC expects the bank’s board to oversee timely and effective correction of the practices
       described in an MRA. Those expectations include

       •    holding management accountable for the deficient practices.
       •    directing management to develop and implement corrective actions.
       •    approving the necessary changes to the bank’s policies, processes, procedures, and
            controls.



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       •    establishing processes to monitor progress and verify and validate the effectiveness of
            management’s corrective actions.

       When discussing MRAs, examiners must be clear with bank management and the board
       regarding the OCC’s supervisory concerns and expectations. Examiners must impress on the
       board its responsibility to provide oversight of management’s corrective actions. Failure to
       correct MRAs in a timely manner could provide the basis for enforcement actions. Therefore,
       banks should have a process for following up on MRAs. Likewise, examiners must include
       plans to follow up on MRAs in the supervisory strategies for individual banks.

Violations of Laws and Regulations
       A violation of law or regulation is an act (or failure to act) that deviates from, or fails to
       comply with, a statutory or regulatory requirement. Violations are often the result of deficient
       practices. Frequently, correcting violations alone does not address the deficient practices that
       may have led to the violations. When examiners identify a violation, they should also identify
       any deficient practices that contributed to violations. If bank management has not corrected
       deficient practices that caused or contributed to the violation, examiners must communicate
       the OCC’s concern with these practices in an MRA. 63

       Examiners must cite all OCC-identified violations to facilitate timely and effective corrective
       action by bank management or the board. Substantive OCC-identified violations must be
       cited in an ROE or supervisory letter, whereas less substantive violations may be cited in a
       separate document (e.g., a list provided to management during the exit meeting). Bank-
       identified violations must be cited in an ROE or supervisory letter in certain circumstances
       (e.g., the violation requires further investigation or has not been corrected), and examiners
       have discretion to include substantive bank-identified violations in an ROE or supervisory
       letter as they determine is warranted. Examiners should use judgment to determine if less
       substantive bank-identified violations should be cited in writing, and if so, cite them in a
       separate document provided to bank management or the board.

       The OCC expects management, in a timely manner, to effectively correct all violations
       regardless of how they are communicated. If management fails to correct a violation
       previously communicated in a separate document by the OCC, the violation should be
       included in the next ROE or supervisory letter.

       The first time the OCC communicates a violation to a bank, the violation must be labeled
       with one or more of the following attributes:

       •    New: The OCC has not previously cited the same or substantially similar violations in
            writing during the previous five-year period (i.e., the violation is not “repeat”).

       63
          The OCC updated its policies and procedures for examiners regarding violations on May 23, 2017. The
       updated violations policies and procedures addressed recommendations in the International Peer Review report
       to support the agency’s mission of ensuring a safe and sound federal banking system by emphasizing timely
       detection and correction of violations. The updated policies and procedures also made terminology, format,
       follow-up, analysis, and reporting for violations consistent across the agency.


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       •    Repeat: The OCC communicated the violation (even if self-identified) in writing during
            the previous five-year period and new violations of the same or substantially similar
            regulation or law occur subsequent to the board or management receiving notification.
       •    Self-identified: The board or management is aware of the violation and documented and
            disclosed the violation to the OCC before or during the examination. A bank can self-
            identify a violation from various sources, including customer complaints, risk and control
            self-assessments, independent risk management reviews, internal audit reviews, or third-
            party reviews.

       Upon completing follow-up, examiners must determine whether to label a violation as past
       due, pending validation, or closed, as appropriate using the following definitions, and
       communicate the status of the violation to the bank:

       •    Past due: During verification, examiners determine the bank has not implemented the
            expected corrective actions for the violation within the required time frame, or, during
            validation, examiners determine that the corrective action is not effective or sustainable.
       •    Pending validation: The OCC has verified that the bank implemented the corrective
            actions, but insufficient time has passed for the bank to demonstrate sustained
            performance under the corrective actions, and the OCC has not validated the
            sustainability of the corrective actions, or the OCC determines that additional testing is
            warranted.
       •    Closed: The bank has corrected the violation, and the OCC has verified and validated the
            bank’s corrective actions; a change in the bank’s circumstances corrected the violation; or
            the violation is otherwise deemed uncorrectable. Closed violations should be
            communicated as closed in a subsequent ROE, supervisory letter, or written list of
            violations.

Enforcement Actions
       The OCC uses enforcement actions to require a bank’s board and management to take
       timely actions to correct a bank’s deficiencies. The OCC typically first cites a violation or
       issues an MRA to address a bank’s deficiencies. Violations, concerns in MRAs, or unsafe or
       unsound practices may serve as the basis for an enforcement action.

       Enforcement actions can be either formal or informal. Examiners should consider an
       informal enforcement action when a bank’s condition is sound but deficiencies have not been
       corrected in a timely manner or escalation beyond the OCC’s citation of a violation or
       documentation of a concern in an MRA is otherwise warranted. The board’s agreement or
       acceptance of an informal enforcement action can be indicative of its commitment to correct
       identified deficiencies before they adversely affect the bank’s condition. When a bank’s
       deficiencies are severe, uncorrected, repeat, or unsafe or unsound, or negatively affect the
       bank’s condition, the OCC may use formal enforcement actions to support the agency’s
       supervisory objectives.

       Once an enforcement action is in place, examiners must periodically assess the bank’s
       compliance with the enforcement action. Written feedback must be provided to bank


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       management and the board, and the assessment should be documented in the OCC’s
       supervisory information systems.

       Refer to OCC Bulletin 2017-48, “Bank Enforcement Actions and Related Matters: Updated
       Guidance,” and its attachment, PPM 5310-3, “Bank Enforcement Actions and Related
       Matters,” for more information regarding enforcement actions.

Civil Money Penalties
       CMPs are a type of enforcement action that requires monetary payments to penalize a bank,
       its directors, or other persons participating in the affairs of the bank for violations, 64 unsafe
       or unsound practices, or breaches of fiduciary duty. CMPs may be used alone or in
       combination with other enforcement actions. In addition, the OCC must assess CMPs if it
       finds that a regulated lending institution engaged in a pattern or practice of violations of
       certain requirements under the Flood Disaster Protection Act. 65 Examiners should propose
       CMPs for serious misconduct, including misconduct that is reckless, flagrant, willful, or
       knowing and that, because of its frequency or recurring nature, shows a general disregard for
       law or regulation. Added consideration should be given to violations that occurred or
       continued in direct contravention of the bank’s policy guidelines, correspondence from the
       regulator, or audit reports.

       After reviewing the facts and deciding to recommend a CMP, the examiner should
       immediately contact the appropriate supervisory office and OCC legal counsel for advice on
       proper documentation and any other assistance. The examiner should submit a CMP referral
       to the supervisory office within 30 days of the close of the examination. The referral should
       include a memorandum containing the EIC’s recommendations, a completed CMP matrix,
       and supporting documentation.

       When possible, the EIC or appropriate supervisory office representative should notify
       management or the board at the exit meeting and in the applicable ROE or supervisory letter
       whenever he or she is recommending CMPs. The discussion should include a description of
       the CMP process, the criteria the OCC uses to decide whether to assess a CMP and set the
       amount, and reference to OCC Bulletin 2016-5, “Civil Money Penalties: Revised Civil
       Money Penalty Policy,” and its attachment, PPM 5000-7, “Civil Money Penalties.”
       Examiners should not discuss or speculate on the amount of any penalty but may refer the
       board or management to the CMP matrix. Examiners must document in the OCC’s
       supervisory information systems any CMP referrals and discussions of referrals with bank
       management and the board. Examiners should consult with the supervisory office and
       assigned OCC legal counsel before discussing potential CMPs with the bank.

       For more information, refer to OCC Bulletin 2016-5 and its attachment, PPM 5000-7.

       64
          The term “violation,” for the purpose of CMPs under 12 USC 1818(i), is defined by 12 USC 1813(v) to
       include “any action (alone or with another or others) for or toward causing, bringing about, participating in,
       counseling, or aiding or abetting a violation.”
       65
            Refer to 42 USC 4012a(f) and 4003(a)(10).


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       Reprimand or Supervisory Letter

       In certain cases, the issuance of a reprimand or a supervisory letter may be more appropriate
       than the assessment of a CMP. A reprimand is a strongly worded document used in lieu of a
       CMP when, for example, the CMP would be too small to justify spending resources required
       or when the individual or bank has recognized the supervisory problem and taken steps to
       correct it. A supervisory letter is generally used to call attention to a supervisory problem that
       is not severe enough to warrant a CMP. Reprimands and supervisory letters are discussed in
       more detail in OCC Bulletin 2016-5 and its attachment, PPM 5000-7.

Conditions Imposed in Writing
       The OCC may impose conditions in connection with the approval of an application, a notice,
       or another request by a bank if it determines that one or more conditions are necessary or
       appropriate for the approval to be consistent with applicable laws, regulations, or OCC
       policies. Conditions may be imposed, for example, to protect the safety and soundness of the
       bank, prevent conflicts of interest, or require the bank to provide for customer protections.
       Conditions imposed in writing are often used by the OCC in approvals of corporate
       applications and interpretive letter opinions on banks’ requests to engage in permissible
       activities. These conditions are “conditions imposed in writing” within the meaning of
       12 USC 1818 if the OCC’s approval explicitly makes the conditions enforceable. These
       conditions remain in effect until the OCC removes them.

       The OCC considers some conditions imposed in writing to be enforcement actions.
       Generally, the OCC does not consider conditions imposed in writing in connection with the
       approval of a bank’s licensing filing 66 to be enforcement actions, regardless of whether they
       are conditions imposed in writing within the meaning of 12 USC 1818. Table 2 summarizes
       when the OCC generally considers conditions imposed in writing to be enforcement actions.

       Table 2: Conditions Imposed in Writing as Enforcement Actions

            Were the conditions                Are the conditions                  The OCC generally
                 imposed in                        “conditions                        considers the
            connection with the               imposed in writing”                  conditions to be an
            approval of a bank’s               within the meaning                  enforcement action
              licensing filing?                 of 12 USC 1818?
                                                       Yes
                     Yes                                                                     No
                                                        No
                                      and                                then
                                                       Yes                                  Yesa
                     No
                                                        No                                   No
       a
        Generally, when the OCC considers a condition imposed in writing within the meaning of 12 USC 1818 to
       be an enforcement action, the OCC publishes the condition in its monthly enforcement action press
       release.


       Supervisory strategies for banks with outstanding conditions imposed in writing should
       include periodic assessments of the bank’s ongoing compliance with the conditions.

       66
            A “licensing filing” means an application, notice, or other request submitted to the OCC under 12 CFR 5.


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                   EXHIBIT 3
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Comptroller’s Handbook                             CC-CMS



  Consumer Compliance (CC)



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       result when a bank outsources operational functions (e.g., loan origination, account
       management, collections, payment processing, data input, and legal assistance) to third
       parties. 10

Strategic Risk
       Strategic risk is the risk to current or projected financial condition and resilience arising from
       adverse business decisions, poor implementation of business decisions, or lack of
       responsiveness to changes in the banking industry and operating environment. Additionally,
       strategic risk increases when new activities are not compatible with the bank’s risk appetite
       or strategic plan or do not provide an adequate return on investment; the bank engages in new
       activities without performing adequate due diligence, including upfront expense analysis; or
       management does not have adequate resources, expertise, and experience to properly
       implement and oversee the new activities. New activities should be developed and
       implemented consistently with sound risk management practices and should align with
       banks’ overall business plans and strategies. New activities should encourage fair access to
       financial services and fair treatment of consumers and should be in compliance with
       applicable laws and regulations. 11 The board and senior management, collectively, are the
       key decision makers who drive the strategic direction of the bank and establish governance
       principles. The failure to integrate the bank’s CMS into its decision-making and
       implementation process can have wide-ranging consequences. The consequences may
       include missed business opportunities, losses, failure to comply with laws or regulations, or
       deficient practices (including those that are unsafe or unsound) that could lead to
       enforcement actions, including CMPs.

Reputation Risk
       Reputation risk is the risk to earnings, capital, or enterprise value arising from negative
       public opinion. This risk may impair the bank’s competitiveness by affecting its ability to
       establish new relationships or services or continue servicing existing relationships.
       Inadequate policies and procedures, operational breakdowns, or other weaknesses in the
       bank’s CMS can harm its reputation when these weaknesses result in violations of consumer
       protection-related laws or regulations, particularly when consumers are harmed.
       Inappropriate delegation of activities to third parties and wrongful acts by third parties acting
       on the bank’s behalf may also increase a bank’s reputation risk exposure. Effective systems
       and controls to identify, measure, monitor, and control potential issues, such as appropriate
       oversight of sales, servicing, and collection practices, are important to managing risks,
       including reputation, compliance, and operational risks.


       10
         Refer to OCC Bulletin 2013-29, “Third-Party Relationships: Risk Management Guidance,” OCC Bulletin
       2017-21, “Third-Party Relationships: Frequently Asked Questions to Supplement OCC Bulletin 2013-29,” and
       OCC Bulletin 2017-7, “Third-Party Relationships: Supplemental Examination Procedures,” for more
       information regarding third-party risk management.
       11
        Refer to OCC Bulletin 2017-43, “New, Modified, or Expanded Bank Products and Services: Risk
       Management Principles.”


Comptroller’s Handbook                                  5                   Compliance Management Systems
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                   EXHIBIT 4
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    Bank Secrecy Act/
    Anti-Money
    Laundering
    Examination Manual

Federal Financial Institutions Examination Council
Board of Governors of the Federal Reserve System, Consumer Financial Protection Bureau, Federal Deposit Insurance Corporation,
           National Credit Union Administration, Office of the Comptroller of the Currency, State Liaison Committee

                                                                                                                   2014
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                                                                  BSA/AML Risk Assessment — Overview



                      BSA/AML Risk Assessment — Overview
Objective. Assess the BSA/AML risk profile of the bank and evaluate the adequacy of the
bank’s BSA/AML risk assessment process.
Evaluating the BSA/AML risk assessment should be part of scoping and planning the
examination, and the inclusion of a section on risk assessment in the manual does not mean
the two processes are separate. Rather, risk assessment has been given its own section to
emphasize its importance in the examination process and in the bank’s design of effective
risk-based controls.
The same risk management principles that the bank uses in traditional operational areas
should be applied to assessing and managing BSA/AML risk. A well-developed risk
assessment assists in identifying the bank’s BSA/AML risk profile. Understanding the risk
profile enables the bank to apply appropriate risk management processes to the BSA/AML
compliance program to mitigate risk. This risk assessment process enables management to
better identify and mitigate gaps in the bank’s controls. The risk assessment should provide a
comprehensive analysis of the BSA/AML risks in a concise and organized presentation, and
should be shared and communicated with all business lines across the bank, board of
directors, management, and appropriate staff; as such, it is a sound practice that the risk
assessment be reduced to writing.
There are many effective methods and formats used in completing a BSA/AML risk
assessment; therefore, examiners should not advocate a particular method or format. Bank
management should decide the appropriate method or format, based on the bank’s particular
risk profile. Whatever format management chooses to use for its risk assessment, it should
be easily understood by all appropriate parties.
The development of the BSA/AML risk assessment generally involves two steps: first,
identify the specific risk categories (i.e., products, services, customers, entities, transactions,
and geographic locations) unique to the bank; and second, conduct a more detailed analysis
of the data identified to better assess the risk within these categories. In reviewing the risk
assessment during the scoping and planning process, the examiner should determine whether
management has considered all products, services, customers, entities, transactions, and
geographic locations, and whether management’s detailed analysis within these specific risk
categories was adequate. If the bank has not developed a risk assessment, this fact should be
discussed with management. For the purposes of the examination, whenever the bank has
not completed a risk assessment, or the risk assessment is inadequate, the examiner must
complete a risk assessment based on available information. 17

Evaluating the Bank’s BSA/AML Risk Assessment
An examiner must review the bank’s BSA/AML compliance program with sufficient
knowledge of the bank’s BSA/AML risks in order to determine whether the BSA/AML
compliance program is adequate and provides the controls necessary to mitigate risks. For
example, during the examination scoping and planning process, the examiner may initially

17
     Refer to “Examiner Development of a BSA/AML Risk Assessment,” page 24, for guidance.


FFIEC BSA/AML Examination Manual                           18                               2/27/2015.V2
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                                                           Automated Clearing House Transactions — Overview



            Automated Clearing House Transactions — Overview
Objective. Assess the adequacy of the bank’s systems to manage the risks associated with
automated clearing house (ACH) and international ACH transactions (IAT) and
management’s ability to implement effective monitoring and reporting systems.
The use of the ACH has grown markedly over the last several years due to the increased
volume of electronic check conversion 206 and one-time ACH debits, reflecting the lower cost
of ACH processing relative to check processing. 207 Check conversion transactions, as well as
one-time ACH debits, are primarily low-dollar value, consumer transactions for the
purchases of goods and services or the payment of consumer bills. ACH is primarily used
for domestic payments, but the Federal Reserve Banks’ FedGlobal system 208 can currently
accommodate cross-border payments to several countries around the world.
In September 2006, the Office of the Comptroller of the Currency issued guidance titled
Automated Clearinghouse Activities — Risk Management Guidance. The document provides
guidance on managing the risks of ACH activity. Banks may be exposed to a variety of risks
when originating, receiving, or processing ACH transactions, or outsourcing these activities
to a third party. 209

ACH Payment Systems
Traditionally, the ACH system has been used for the direct deposit of payroll and
government benefit payments and for the direct payment of mortgages and loans. As noted
earlier, the ACH has been expanding to include one-time debits and check conversion. ACH
transactions are payment instructions to either credit or debit a deposit account. Examples of
credit payment transactions include payroll direct deposit, Social Security, dividends, and
interest payments. Examples of debit transactions include mortgage, loan, insurance
premium, and a variety of other consumer payments initiated through merchants or
businesses.
In general, an ACH transaction is a batch-processed, value-dated, electronic funds transfer
between an originating and a receiving bank. An ACH credit transaction is originated by the
accountholder sending funds (payer), while an ACH debit transaction is originated by the


206
   In the electronic check conversion process, merchants that receive a check for payment do not collect the
check through the check collection system, either electronically or in paper form. Instead, merchants use the
information on the check to initiate a type of electronic funds transfer known as an ACH debit to the check
writer’s account. The check is used to obtain the bank routing number, account number, check serial number,
and dollar amount for the transaction, and the check itself is not sent through the check collection system in any
form as a payment instrument. Merchants use electronic check conversion because it can be a more efficient
way for them to obtain payment than collecting the check.
207
      Refer to the NACHA Web site.
208
   The Federal Reserve Banks operate FedACH, a central clearing facility for transmitting and receiving ACH
payments, and FedGlobal, which sends cross-border ACH credits payments to more than 35 countries around
the world, plus debit payments to Canada only.
209
   Refer to OCC Bulletin 2006-39, “Automated Clearing House Activities: Risk Management Guidance”
(September 1, 2006).


FFIEC BSA/AML Examination Manual                              217                                      2/27/2015.V2
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                                     Automated Clearing House Transactions — Examination Procedures



                              Examination Procedures
                      Automated Clearing House Transactions
Objective. Assess the adequacy of the bank’s systems to manage the risks associated with
automated clearing house (ACH) and international ACH transactions (IAT) and
management’s ability to implement effective monitoring and reporting systems.
1. Review the policies, procedures, and processes related to ACH transactions, including
   IATs. Evaluate the adequacy of the policies, procedures, and processes given the bank’s
   ACH transactions, including IATs, and the risks they present. Assess whether the
   controls are adequate to reasonably protect the bank from money laundering and terrorist
   financing.
2. From review of MIS and internal risk rating factors, determine whether the bank
   effectively identifies and monitors higher-risk customers using ACH transactions,
   including IATs.
3. Evaluate the bank’s risks related to ACH transactions, including IATs, by analyzing the
   frequency and dollar volume and types of ACH transactions in relation to the bank’s size,
   its location, the nature of its customer account relationships, and the location of the origin
   or destination of IATs relative to the bank’s location.
4. Determine whether the bank’s system for monitoring customers, including third-party
   service providers (TPSP), using ACH transactions and IATs for suspicious activities, and
   for reporting of suspicious activities, is adequate given the bank’s size, complexity,
   location, and types of customer relationships. Determine whether internal control
   systems include:

   •   Identifying customers with frequent and large ACH transactions or IATs.
   •   Monitoring ACH detail activity when the batch-processed transactions are separated
       for other purposes (e.g., processing errors).
   •   As appropriate, identifying and applying increased due diligence to higher-risk
       customers who originate or receive IATs, particularly when a party to the transaction
       is located in a higher-risk geographic location.
   •   Using methods to track, review, and investigate customer complaints or unauthorized
       returns regarding possible fraudulent or duplicate ACH transactions, including IATs.
5. If appropriate, refer to the core examination procedures, “Office of Foreign Assets
   Control,” page 152, for guidance.

Transaction Testing
6. On the basis of the bank’s risk assessment of customers with ACH transactions as well as
   prior examination and audit reports, select a sample of higher-risk customers, including
   TPSPs, with ACH transactions or IATs, which may include the following:




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                                                                  Third-Party Payment Processors — Overview



                Third-Party Payment Processors — Overview
Objective. Assess the adequacy of the bank’s systems to manage the risks associated with its
relationships with third-party payment processors, and management’s ability to implement
effective monitoring and reporting systems.
Nonbank or third-party payment processors (processors) are bank customers that provide
payment-processing services to merchants and other business entities. Traditionally,
processors contracted primarily with retailers that had physical locations in order to process
the retailers’ transactions. These merchant transactions primarily included credit card
payments but also covered automated clearing house (ACH) transactions, 221 remotely created
checks (RCC), 222 and debit and prepaid cards transactions. With the expansion of the
Internet, retail borders have been eliminated. Processors now provide services to a variety of
merchant accounts, including conventional retail and Internet-based establishments, prepaid
travel, telemarketers, and Internet gaming enterprises.
Third-party payment processors often use their commercial bank accounts to conduct
payment processing for their merchant clients. For example, the processor may deposit into
its account RCCs generated on behalf of a merchant client, or process ACH transactions on
behalf of a merchant client. In either case, the bank does not have a direct relationship with
the merchant. The increased use of RCCs by processor customers also raises the risk of
fraudulent payments being processed through the processor’s bank account. The Federal
Deposit Insurance Corporation (FDIC), Office of the Comptroller of the Currency (OCC),
and Financial Crimes Enforcement Network (FinCEN) have issued guidance regarding the
risks, including the BSA/AML risks, associated with banking third-party processors. 223

Risk Factors
Processors generally are not subject to BSA/AML regulatory requirements. As a result,
some processors may be vulnerable to money laundering, identity theft, fraud schemes, or
other illicit transactions, including those prohibited by OFAC.
The bank’s BSA/AML risks when dealing with a processor account are similar to risks from
other activities in which the bank’s customer conducts transactions through the bank on

221
   NACHA – The Electronic Payments Association (NACHA) is the administrator of the Automated Clearing
House (ACH) Network. The ACH Network is governed by the NACHA Operating Rules, which provides the
legal foundation for the exchange of ACH and IAT payments. The NACHA Web site includes additional
information about the ACH payment system.
222
   A remotely created check (sometimes called a “demand draft”) is a check that is not created by the paying
bank (often created by a payee or its service provider), drawn on a customer’s bank account. The check often is
authorized by the customer remotely, by telephone or online, and, therefore, does not bear the customer’s
handwritten signature.
223
   FDIC Clarifying Supervisory Approach to Institutions Establishing Account Relationships with Third-Party
Payment Processors, FDIC FIL-41-2014, July 28, 2014; Payment Processor Relationships Revised Guidance,
FDIC FIL-3-2012, January 31, 2012; Risk Management Guidance: Payment Processors, OCC Bulletin 2008-
12, April 24, 2008; Risk Management Guidance: Third Party Relationships, OCC Bulletin 2013-29, October
30, 2013; and Risk Associated with Third-Party Payment Processors, FinCEN Advisory FIN-2012-A010,
October 22, 2012.


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                                            Third-Party Payment Processors — Examination Procedures



                             Examination Procedures
                           Third-Party Payment Processors
Objective. Assess the adequacy of the bank’s systems to manage the risks associated with its
relationships with third-party payment processors, and management’s ability to implement
effective monitoring and reporting systems.
1. Review the policies, procedures, and processes related to third-party payment processors
   (processors). Evaluate the adequacy of the policies, procedures, and processes given the
   bank’s processor activities and the risks they present. Assess whether the controls are
   adequate to reasonably protect the bank from money laundering and terrorist financing.
2. From a review of MIS and internal risk rating factors, determine whether the bank
   effectively identifies and monitors processor relationships, particularly those that pose a
   higher risk for money laundering.
3. Determine whether the bank’s system for monitoring processor accounts for suspicious
   activities, and for reporting suspicious activities, is adequate given the bank’s size,
   complexity, location, and types of customer relationships.
4. If appropriate, refer to the core examination procedures, “Office of Foreign Assets
   Control,” page 152, for guidance.

Transaction Testing
5. On the basis of the bank’s risk assessment of its processor activities, as well as prior
   examination and audit reports, select a sample of higher-risk processor accounts. From
   the sample selected:

   •   Review account opening documentation and ongoing due diligence information.
   •   Review account statements and, as necessary, specific transaction details to determine
       how expected transactions compare with actual activity.
   •   Determine whether actual activity is consistent with the nature of the processor’s
       stated activity.
   •   Assess the controls concerning identification of high rates of returns and the process
       in place to address compliance and fraud risks.
   •   Identify any unusual or suspicious activity.
6. On the basis of examination procedures completed, including transaction testing, form a
   conclusion about the adequacy of policies, procedures, and processes associated with
   processor accounts.




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                                                                        Nonbank Financial Institutions — Overview



                     Nonbank Financial Institutions — Overview
Objective. Assess the adequacy of the bank’s systems to manage the risks associated with
accounts of nonbank financial institutions (NBFI), and management’s ability to implement
effective monitoring and reporting systems.
NBFIs are broadly defined as institutions other than banks that offer financial services. The
USA PATRIOT Act has defined a variety of entities as financial institutions. 277 Common
examples of NBFIs include, but are not limited to:

•      Casinos and card clubs.
•      Securities and commodities firms (e.g., brokers/dealers, investment advisers, mutual
       funds, hedge funds, or commodity traders).
•      Money services businesses (MSB). 278
•      Insurance companies.
•      Loan or finance companies. 279
•      Operators of credit card systems.
•      Other financial institutions (e.g., dealers in precious metals, stones, or jewels;
       pawnbrokers).
Some NBFIs are currently required to develop an AML program, comply with the reporting
and recordkeeping requirements of the BSA, and report suspicious activity, as are banks. 280
NBFIs typically need access to banking services in order to operate. Although NBFIs
maintain operating accounts at banks, the BSA does not require, and neither FinCEN nor the
federal banking agencies expect, banks to serve as the de facto regulator of any NBFI
industry or individual NBFI customer. Furthermore, while banks are expected to manage
risk associated with all accounts, including NBFI accounts, banks are not held responsible for
their customers’ compliance with the BSA and other applicable federal and state laws and
regulations.

277
      Refer to Appendix D (“Statutory Definition of Financial Institution”) for guidance.
278
   MSBs include five distinct types of financial services providers and the U.S. Postal Service: (1) dealers in
foreign exchange ; (2) check cashers; (3) issuers or sellers of traveler’s checks or money orders, ; (4) providers
or sellers of prepaid access; and (5) money transmitters. FinCEN routinely publishes administrative letter
rulings that address inquiries regarding whether persons who engage in certain specific business activities are
MSBs.
279
   77 Fed. Reg. 8148 (February 14, 2012) defines non-bank residential mortgage lenders and originators as
loan or finance companies for the purpose of requiring them to establish anti-money laundering programs and
report suspicious activity. FinCEN Guidance FIN-2012-R005, Compliance obligations of certain loan or
finance company subsidiaries of Federally regulated banks and other financial institutions (August 13, 2012),
confirms that when a subsidiary loan or finance company is obligated to comply with the AML and SAR
regulations that are applicable to its parent financial institution and is subject to examination by the parent
financial institution’s Federal functional regulator, the loan or finance company is deemed to comply with
FinCEN’s regulation.
280
      Refer to 31 CFR Chapter X for specific regulatory requirements.


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                                                           Nonbank Financial Institutions — Overview



Risk Factors
NBFI industries are extremely diverse, ranging from large multi-national corporations to
small, independent businesses that offer financial services only as an ancillary component to
their primary business (e.g., grocery store that offers check cashing). The range of products
and services offered, and the customer bases served by NBFIs, are equally diverse. As a
result of this diversity, some NBFIs may be lower risk and some may be higher risk for
money laundering.
Banks that maintain account relationships with NBFIs may be exposed to a higher risk for
potential money laundering activities because many NBFIs:

•    Lack ongoing customer relationships and require minimal or no identification from
     customers.
•    Maintain limited or inconsistent record keeping on customers and transactions.
•    Engage in frequent currency transactions.
•    Are subject to varying levels of regulatory requirements and oversight.
•    Can quickly change their product mix or location and quickly enter or exit an operation.
•    Sometimes operate without proper registration or licensing.
Risk Mitigation
Banks that maintain account relationships with NBFIs should develop policies, procedures,
and processes to:

•    Identify NBFI relationships.
•    Assess the potential risks posed by the NBFI relationships.
•    Conduct adequate and ongoing due diligence on the NBFI relationships when necessary.
•    Ensure NBFI relationships are appropriately considered within the bank’s suspicious
     activity monitoring and reporting systems.
Risk Assessment Factors
Banks should assess the risks posed by their NBFI customers and direct their resources most
appropriately to those accounts that pose a more significant money laundering risk.
The following factors may be used to help identify the relative risks within the NBFI
portfolio. Nevertheless, management should weigh and evaluate each risk assessment factor
to arrive at a risk determination for each customer and to prioritize oversight resources.
Relevant risk factors include:

•    Types of products and services offered by the NBFI.
•    Locations and markets served by the NBFI.




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•     Anticipated account activity.
•     Purpose of the account.
A bank’s due diligence should be commensurate with the level of risk of the NBFI customer
identified through its risk assessment. If a bank’s risk assessment indicates potential for a
heightened risk of money laundering or terrorist financing, the bank is expected to conduct
further due diligence in a manner commensurate with the heightened risk.

Providing Banking Services to Money Services Businesses
FinCEN and the federal banking agencies issued interpretive guidance on April 26, 2005, to
clarify the BSA requirements and supervisory expectations as applied to accounts opened or
maintained for MSBs. 281 With limited exceptions, many MSBs are subject to the full range of
BSA regulatory requirements, including the anti-money laundering program rule, suspicious
activity and currency transaction reporting rules, and various other identification and
recordkeeping rules. 282 Existing FinCEN regulations require certain MSBs to register with
FinCEN. 283 Finally, many states have established supervisory requirements, often including
the requirement that an MSB be licensed with the state(s) in which it is incorporated or does
business.
FinCEN defines MSBs as doing business in one or more of the following capacities:

•     Dealer in foreign exchange
•     Check casher
•     Issuer or seller of traveler’s checks or money orders
•     Money transmitter
•     Provider of prepaid access

281
  Refer to Interagency Interpretive Guidance on Providing Banking Services to Money Services Businesses
Operating in the United States, April 26, 2005.
282
   Refer to 31 CFR 1022.210 (requirement for MSBs to establish and maintain an anti-money laundering
program); 31 CFR 1022.310 (requirement for MSBs to file Currency Transaction Reports); 31 CFR 1022.320
(requirement for MSBs to file Suspicious Activity Reports, other than for check cashing); 31 CFR 1010.415
(requirement for MSBs that sell monetary instruments for currency to verify the identity of the customer and
create and maintain a record of each currency purchase between $3,000 and $10,000, inclusive); 31 CFR
1010.410(e) and (f) (rules applicable to certain transmittals of funds); and 1022.410 (additional recordkeeping
requirement for dealers in foreign exchange including the requirement to create and maintain a record of each
exchange of currency in excess of $1,000);1022.420 (additional recordkeeping requirements for providers or
sellers of prepaid access).
283
    Refer to 31 CFR 1022.380. All MSBs must register with FinCEN (whether or not licensed as an MSB by
any state) except: a business that is an MSB solely because it serves as an agent of another MSB; a business that
is an MSB solely as a seller of prepaid access, ; the U.S. Postal Service; and agencies of the United States, of
any state, or of any political subdivision of any state. A business that acts as an agent for a principal or
principals engaged in MSB activities, and that does not on its own behalf perform any other services of a nature
or value that would cause it to qualify as an MSB, is not required to register with FinCEN. FinCEN has issued
guidance on MSB registration and de-registration. Refer to Registration and De-Registration of Money
Services Businesses, FIN-2006-G006, February 3, 2006.


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                                                                 Nonbank Financial Institutions — Overview


•     Seller of prepaid access
•     U.S. Postal Service
There is a threshold requirement for dealers in foreign exchange, check cashers and issuers or
sellers of traveler’s checks or money orders. A business that engages in such transactions is
not be considered an MSB if it does not engage in such transactions in an amount greater
than $1,000 for any person on any day in one or more transactions (31 CFR 1010.100(ff)).
An entity that engages in money transmission in any amount is considered an MSB.
Thresholds for providers and sellers of prepaid access are discussed below.

Prepaid Access

FinCEN’s regulation for MSBs excluded certain prepaid access arrangements from the
definition of prepaid programs. Providers and sellers of prepaid access are not be considered
MSBs if they engage in prepaid arrangements excluded from the definition of a prepaid
program under 31 CFR 1010.100(ff)(4)(iii). 284 The exclusions include arrangements that:

•     Provide closed loop prepaid access to funds (e.g., such as store gift cards) in amounts not
      to exceed $2,000 maximum value per device on any day.
•     Provide prepaid access solely to funds provided by a government agency.
•     Provide prepaid access to funds for pre-tax flexible spending for health and dependent
      care, or from Health Reimbursement Arrangements for health care expenses.

There are two types of prepaid access arrangements that have a qualified exclusion:

•     Open loop prepaid access that does not exceed $1,000 maximum value on any day.
•     Prepaid access to employment benefits, incentives, wages or salaries (payroll).
These arrangements are not prepaid programs subject to BSA regulatory requirements unless
they can:
•     Be used internationally.
•     Allow transfers of value from person to person within the arrangement, or
•     Be reloaded from a non-depository source.

If any one of these features is part of the arrangement, it is a covered prepaid program under
31 CFR 1010.100.

Administrators and Exchangers of Virtual Currency
FinCEN’s regulations define currency as “the coin and paper money of the United States or
of any other country that is designated as legal tender; and that circulates; and is customarily

284
   Frequently Asked Questions Final Rule-Definitions and Other Regulations Relating to Prepaid Access
(11/2/2011).


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used and accepted as a medium of exchange in the country of issuance.” In contrast,
“virtual” currency is a medium of exchange that operates like a currency in some
environments, but does not have legal tender status in any jurisdiction. Virtual currency must
be converted into U.S. dollars through the services of an administrator or exchanger prior to
deposit into the banking system. An administrator or exchanger of virtual currency is an
MSB under FinCEN’s regulations, specifically, a money transmitter, unless a limitation to or
exemption from the definition applies to the person. 285 BSA requirements and supervisory
expectations for providing banking services to administrators or exchangers of virtual
currencies are the same as money transmitters. 286

Regulatory Expectations
The following regulatory expectations apply to banks with MSB customers:

•     The BSA does not require, and neither FinCEN nor the federal banking agencies expect,
      banks to serve as the de facto regulator of any type of NBFI industry or individual NBFI
      customer, including MSBs.
•     While banks are expected to manage risk associated with all accounts, including MSB
      accounts, banks are not be held responsible for the MSB’s BSA/AML program.
•     Not all MSBs pose the same level of risk, and not all MSBs require the same level of due
      diligence. Accordingly, if a bank’s assessment of the risks of a particular MSB
      relationship indicates a lower risk of money laundering or other illicit activity, a bank is
      not routinely expected to perform further due diligence (such as reviewing information
      about an MSB’s BSA/AML program) beyond the minimum due diligence expectations.
      Unless indicated by the risk assessment of the MSB, banks are not expected to routinely
      review an MSB’s BSA/AML program.
MSB Risk Assessment
An effective risk assessment should be a composite of multiple factors, and depending upon
the circumstances, certain factors may be given more weight than others. The following
factors may be used to help identify the level of risk presented by each MSB customer:

•     Purpose of the account.
•     Anticipated account activity (type and volume).
•     Types of products and services offered by the MSB.
•     Locations and markets served by the MSB.
Bank management may tailor these factors based on their customer base or the geographic
locations in which the bank operates. Management should weigh and evaluate each risk
assessment factor to arrive at a risk determination for each customer. A bank’s due diligence

285
  Application of FinCEN’s Regulations to Persons Administering, Exchanging, or Using Virtual Currencies,
FIN-2013-G001, March 18, 2013.
286
  Refer to the Financial Action Task Force Guidance on Virtual Currencies, Key Definitions and Potential
AML/CFT Risks, June 2014.


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                                                            Cash-Intensive Businesses — Overview



                      Cash-Intensive Businesses — Overview
Objective. Assess the adequacy of the bank’s systems to manage the risks associated with
cash-intensive businesses and entities, and management’s ability to implement effective due
diligence, monitoring, and reporting systems.
Cash-intensive businesses and entities cover various industry sectors. Most of these
businesses are conducting legitimate business; however, some aspects of these businesses
may be susceptible to money laundering or terrorist financing. Common examples include,
but are not limited to, the following:

•    Convenience stores.
•    Restaurants.
•    Retail stores.
•    Liquor stores.
•    Cigarette distributors.
•    Privately owned automated teller machines (ATM).
•    Vending machine operators.
•    Parking garages.
Risk Factors
Some businesses and entities may be misused by money launderers to legitimize their illicit
proceeds. For example, a criminal may own a cash-intensive business, such as a restaurant,
and use it to launder currency from illicit criminal activities. The restaurant’s currency
deposits with its bank do not, on the surface, appear unusual because the business is
legitimately a cash-generating entity. However, the volume of currency in a restaurant used
to launder money is most likely be higher in comparison with similar restaurants in the area.
The nature of cash-intensive businesses and the difficulty in identifying unusual activity may
cause these businesses to be considered higher risk.

Risk Mitigation
When establishing and maintaining relationships with cash-intensive businesses, banks
should establish policies, procedures, and processes to identify higher-risk relationships;
assess AML risks; complete due diligence at account opening and periodically throughout the
relationship; and include such relationships in appropriate monitoring for unusual or
suspicious activity. At the time of account opening, the bank should have an understanding
of the customer’s business operations; the intended use of the account; including anticipated
transaction volume, products, and services used; and the geographic locations involved in the
relationship.
When conducting a risk assessment of cash-intensive businesses, banks should direct their
resources to those accounts that pose the greatest risk of money laundering or terrorist
financing. The following factors may be used to identify the risks:


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                                                 Cash-Intensive Businesses — Examination Procedures



                              Examination Procedures
                               Cash-Intensive Businesses
Objective. Assess the adequacy of the bank’s systems to manage the risks associated with
cash-intensive businesses and entities, and management’s ability to implement effective due
diligence, monitoring, and reporting systems.
1. Review the policies, procedures, and processes related to cash-intensive businesses.
   Evaluate the adequacy of policies, procedures, and processes given the bank’s cash-
   intensive business activities in relation to the bank’s cash-intensive business customers
   and the risks that they represent. Assess whether the controls are adequate to reasonably
   protect the bank from money laundering and terrorist financing.
2. From a review of MIS and internal risk rating factors, determine whether the bank
   effectively identifies and monitors cash-intensive businesses and entities.
3. Determine whether the bank’s system for monitoring cash-intensive businesses for
   suspicious activities, and for reporting of suspicious activities, is adequate given the
   bank’s size, complexity, location, and types of customer relationships.
4. If appropriate, refer to the core examination procedures, “Office of Foreign Assets
   Control,” page 152, for guidance.

Transaction Testing
5. On the basis of the bank’s risk assessment of its cash-intensive business and entity
   relationships, as well as prior examination and audit reports, select a sample of cash-
   intensive businesses. As an alternative, identify branches in the bank’s highest-risk areas
   or branches that ship/receive the most cash and request the largest sources and users of
   cash at those locations. From the sample selected, perform the following examination
   procedures:

   •   Review account opening documentation including CIP information, if applicable, and
       a sample of transaction activity.
   •   Determine whether actual account activity is consistent with anticipated account
       activity.
   •   Look for trends in the nature, size, or scope of the transactions, paying particular
       attention to currency transactions.
   •   Determine whether ongoing monitoring is sufficient to identify potentially suspicious
       activity.
6. On the basis of examination procedures completed, including transaction testing, form a
   conclusion about the adequacy of policies, procedures, and processes associated with
   cash-intensive businesses and entities.




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                                            Oral Statement of

                                            Daniel P. Stipano

                                          Deputy Chief Counsel

                               Office of the Comptroller of the Currency

                                               July 15, 2014



       Chairman McHenry, Ranking Member Green, and members of the Subcommittee, thank

you for the opportunity to appear before you today as the Subcommittee reviews the Department

of Justice’s Operation Choke Point investigation.

       I have spent over 20 years working on Bank Secrecy Act and anti-money laundering

issues and have witnessed many cases where banks have been used, wittingly or unwittingly, as

vehicles for fraud, money laundering, terrorist financing, and other illicit activities. Ensuring

that banks have strong systems and controls in place to deter these abuses is an important

objective of the OCC’s supervision.

       The OCC is not part of Operation Choke Point, so my testimony today will focus on the

OCC’s supervisory policies and actions. However, it is our policy to cooperate with law

enforcement investigations, and the OCC routinely receives and processes requests for

information from law enforcement agencies. Some of the official requests for information we

received from DOJ during 2013 were related to Operation Chokepoint.

       As the Subcommittee is aware, the OCC’s primary mission is to charter, regulate, and

supervise national banks, federal savings associations, and the federal branches and agencies of

foreign banks. In carrying out this mission, the OCC requires banks to appropriately manage

their risks, meet the needs of their communities, comply with laws and regulations, and provide



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fair access to financial services and fair treatment of their customers. The safety and soundness

of an institution – indeed its very viability – can be threatened when a bank lacks appropriate risk

management systems and controls.

       I have seen first-hand the serious consequences for a bank and the public when these

controls are missing. A 2008 OCC enforcement action against Wachovia Bank illustrates this

point. Wachovia failed to properly oversee activity in its third-party payment processor accounts

and ignored significant red flags indicating consumer harm. Telemarketing customers of the

payment processors deliberately targeted vulnerable populations, such as the elderly, for the sale

of products of dubious or no value. The telemarketers used high-pressure sales calls to convince

these consumers to provide their personal checking account information. Payment processors

then used consumers’ account information to create checks that were deposited into payment

processors’ accounts at the bank. The bank received hundreds of complaints and hundreds of

thousands of the checks created by the payment processors were returned. Despite these red

flags, and clear knowledge that consumers were being harmed, the bank failed to properly

address the situation.

       As a result of these failures, the OCC cited the bank for unsafe or unsound practices and

unfair practices in violation of the FTC Act, and required it to pay approximately $144 million in

fines, restitution to consumers, and other relief. The OCC did not however, require the bank to

cease doing business with any third-party payment processors or telemarketers. Rather, the

OCC’s action was focused on requiring the bank to remediate specific consumer harm and to

establish enhanced risk management policies in order to mitigate the risk of future harm to

consumers.




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        Currently there is great concern that banks are terminating the accounts of entire

categories of customers, and some have suggested that regulators are dictating those actions. As

a general matter, the OCC does not direct banks to open, close, or maintain individual accounts,

or recommend or encourage banks to engage in the wholesale termination of categories of

customer accounts. In rare cases where the bank cannot properly manage the risk presented by a

customer, or a customer has engaged in suspected criminal or other illegal activity, we may order

the bank through an enforcement action to terminate the customer’s account.

        We expect banks to assess the risks posed by individual customers on a case-by-case

basis and to implement appropriate controls to manage their relationships. We recognize that the

controls banks put in place to manage their risks are matters of banker and supervisory judgment.

If the bar is set too high, it can cause banks to terminate accounts of legitimate businesses.

However, if the bar is set too low, the consequences can be dire, allowing the bank to be used to

facilitate criminal and other forms of misconduct. At the OCC, we strive to take a supervisory

approach that is reasonable, balanced, and fair, and results in systems and controls that are

effective in deterring the use of our nation’s financial institutions for illicit purposes.

         Thank you again for the opportunity to appear before the Subcommittee today. I will be

happy to answer questions.




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                                                       Remarks
                                                           By
                                              Keith A. Noreika
                                      Acting Comptroller of the Currency
                                  Before the Online Lending Policy Summit
                                                 Washington, D.C.
                                                September 25, 2017


         Greetings. Thank you for that warm introduction. It’s a pleasure to be with you today.

Events like these play an important role in informing national policymakers of what the industry

needs to provide safe and sound products and services to customers across the country and to

unleash their potential to promote economic opportunity. Bringing industry together with

regulators, academics, and members of Congress creates a special environment where we can

have frank discussions informed by diverse perspectives. In the few minutes that I have this

morning, I want to focus on economic opportunity—which has been a theme of my time as

Acting Comptroller and a big part of Treasury’s core financial principles released in June. 1

         Before getting into the topic, I realize that not everyone is familiar with the Office of the

Comptroller of the Currency (OCC). The OCC was created by President Lincoln to administer a

system of national banks to meet the credit and banking needs of consumers, businesses, and

communities across the country. We were born out of necessity at a time when creating national

standards and an orderly nationwide system of banks promoted national unity, expansion, and

economic opportunity. Over the past 154 years, the mission has evolved. It now includes the

chartering, supervision, and regulation of a federal banking system that includes almost 1,400

national banks, federal savings associations, and federal branches of foreign banks operating in


1A Financial System That Creates Economic Opportunities Banks and Credit Unions. U.S. Department of the Treasury. June
2017 (https://www.treasury.gov/press-center/press-releases/Documents/A%20Financial%20System.pdf).

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this country. The federal system is mostly made up of small community banks that provide

services to consumers and businesses on Main Street, U.S.A., but it also includes the nation’s

largest, most complex banks operating globally. I would guess that all of you probably have

experience with national banks and federal savings associations.

            Some pundits see the growth of the online lending industry as a response to the nation’s

banking industry. And some say that if the industry had been sufficiently agile and fully met the

need for lending, alternative lenders would not have grown so rapidly. I do not share that view. I

see the growth of online lending and marketplace lenders as the natural evolution of banking

itself. Your industry demonstrates a certain entrepreneurial spirit to seize economic opportunity

that begins with your new idea. The idea may be leveraging the lending power of groups or

using new data to assess creditworthiness. Or, the idea may be a way to make decisions faster or

to give consumers more control of their financial lives.

            Sweat and talent turn your idea into a business—hopefully a sustainable, profitable one.

That takes engineering new solutions. Developing repeatable processes. Hiring staff. Marketing.

Financing. Paying your debt. And, delivering the products at the core of your business.

            Too often regulatory burden gets in the way of economic opportunity. That’s another

reason organizations like this one are important. As entrepreneurs, you become experts in your

field, but as an industry, you need forums and advocates to champion your concerns and raise

awareness of barriers to your success. Policy institutes, like this one, discuss issues that could

shape the next decade for your idea—an idea like the one in the U.S. and Europe in 2005 to

pioneer online peer-to-peer lending. 2 That is an idea that has come a very long way.




2   Julia Werdigier, “RIT Capital to Take Stake in British Financial Start-Up.” New York Times. December 10, 2012.


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         How far? Over the last decade, marketplace lenders have originated about $40 billion in

consumer and small business loans in the U.S. 3 Online lending has doubled every year since

2010. 4 Analysts vary on how high the ceiling is. Some suggest that the market will reach nearly

$300 billion by 2020, and others suggest as much as $1 trillion by 2025. This volume would be a

substantial piece of all outstanding unsecured consumer credit in the United States, which alone

was $3.7 trillion at the end of 2016. 5

         A maturing industry comes with different sorts of issues than a brand new one. Startup

funding fades and shareholders begin to demand performance, or at least progress toward

profitability. Last month’s earnings showed promise and improvement from the previous year,

but some of the most widely recognized companies still stretch for profitability. This

performance and the progress it shows have occurred under relatively benign credit conditions

and a long, albeit slow, economic expansion. We have seen overall delinquency rates in the

country decline steadily since 2012, with minor increases in credit card, auto, and student

lending delinquencies in the last year. 6 While the consensus expects the economy to expand

through 2018, 7 we may be seeing cracks in performance with consumer unsecured charge-offs

for marketplace lenders having increased since the fourth quarter of 2015. It remains to be seen

how online lending companies and loans originated using new models will perform under stress.

That’s part of a maturing business, and risk is part of economic opportunity. Success requires

adapting to new market conditions and effectively managing evolving risks.




3 Stephen Fromhart. Marketplace lending 2.0: Bringing on the next stage of lending. Deloitte Center for Financial Services.
March 2017.
4 “Can P2P Lending Reinvent Banking?” Morgan Stanley. June 17, 2015 (https://www.morganstanley.com/ideas/p2p-

marketplace-lending).
5 Fromhart.
6 Fromhart.
7 See Semiannual Risk Perspective. Office of the Comptroller of the Currency. Spring 2017

(https://www.occ.gov/publications/publications-by-type/other-publications-reports/index-semiannual-risk-perspective.html).

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       One way a maturing industry adapts to changing market conditions is to diversify its

funding sources and expand into other sources that offer greater stability. In the earliest stages of

the industry’s development, funding primarily came from startup lending and then selling

fractional loans to retail investors. As the market has grown, more companies have sold entire

loans to institutional investors, including banks, private equity, and hedge funds. As the industry

matured, companies have found a balance that includes selling loans to retail and wholesale

investors, securitizing loans, and even exploring the potential for deposits.

       A more fundamental response to changing market conditions involves adapting new

business models and adjusting long-term strategies. Some companies that set out to be “bank

killers” a few years ago are discovering the advantages of being part of the banking system.

       Some companies now desire to become a bank and a large number of companies are

choosing to partner with banks. Other companies are choosing different paths. Some, created by

serial entrepreneurs, were never intended to be long-term businesses and may be sold or

combined with other companies. Such moves demonstrate that as companies grow, they explore

alternatives to meet their business goals. Whatever your choice, it should be pursued because it

supports your business model and fits the economic opportunity in front of you. Too often,

regulatory burden and inefficiency limit those decisions, get in your way, and place a drag on

your individual and collective economic opportunity.

       Let me shift gears and discuss the OCC’s work to promote economic opportunity and

responsible innovation. I am very optimistic about the power of innovation to improve banking,

expand access, and deliver better products and services in more affordable and sustainable ways.

While much of the innovation comes from within the banking system itself, other innovations

come from outside the system—from companies like yours.



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            The OCC launched its innovation effort in the summer of 2015. Since then, it has

published practical guiding principles, held a public forum, and established a framework for

supporting responsible innovation. To implement that framework, the agency established an

Office of Innovation that has been up and running since January. Its primary purpose is to make

certain that institutions with federal charters have a regulatory framework that is receptive to

responsible innovation and supervision that supports it. Part of that mission is to assist

companies like yours that want to partner with or provide services to banks or even become one.

            The office, headed by Chief Innovation Officer Beth Knickerbocker, serves as a

clearinghouse for innovation-related matters and a central point of contact for OCC staff, banks,

nonbank companies, and other industry stakeholders. Internally, the office has worked to raise

awareness and understanding of industry trends and issues among OCC staff. The office has

published a number of guides and reference materials for community banks, as well as financial

technology companies and nonbank institutions.8 It collaborates on innovation-related issues

with OCC business lines and other regulators, and facilitates related activities. Externally, the

office conducts a variety of outreach activities. One involves hosting “Office Hours” in hubs of

significant financial innovation. So far, the team has held Office Hours in San Francisco and

New York. During those meetings, team members heard from banks exploring potential

innovations, companies seeking to work with banks, and more than a few companies interested

in becoming national banks. These meetings also allow the agency to share OCC’s perspective

early in the innovation development process. The office has already become a valuable resource

for national banks and thrifts, and its utility will only increase over time.




8   See “Responsible Innovation” on OCC.gov (https://www.occ.gov/topics/responsible-innovation/index-innovation.html).

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         One aspect of the innovation framework about which many have expressed interest in is

the notion of “regulatory sandboxes” and bank pilots. In October 2016, the OCC stated that one

of its priorities would be to develop and implement an optional program for banks to conduct

pilots with OCC participation to foster responsible innovation by OCC-supervised banks. 9 The

idea is to create principles that support the industry’s need for a place to experiment while

furthering the OCC’s understanding of innovative products, services, and technologies.

Information gathered in the pilots would also inform OCC policy initiatives.

         The OCC generally supports agency participation in bank pilots as a useful way to gain

valuable regulatory insight and to provide banks a better means of developing products and

services in a controlled environment. However, any program we pursue will be voluntary for

banks and cannot provide a safe harbor from many compliance requirements. We are still in the

early stages of developing our approach and will share additional details as we make progress.

         Another aspect of the agency’s support for responsible innovation involves chartering

fintech companies that want to become national banks. I detailed my view in July that the health

of the federal banking system depends on its ability to adapt to meet the changing needs and

preferences of customers and the market. 10 We must avoid defining banking too narrowly or in a

stagnant way that prevents the system from evolving or taking proper and responsible advantage

of economic opportunities that result from advances in technology and commerce.

         Companies that offer banking products and services should be allowed to apply for

national bank charters if they choose, and if they meet the standards for doing so. Companies

engaged in the business of banking can seek a national bank charter under the agency’s existing


9 See Recommendations and Decisions for Implementing a Responsible Innovation Framework. October 2016

(https://www.occ.gov/topics/responsible-innovation/comments/recommendations-decisions-for-implementing-a-responsible-
innovation-framework.pdf).
10 See Keith A. Noreika. “Remarks before the Exchequer Club.” July 19, 2017 (https://www.occ.gov/news-

issuances/speeches/2017/pub-speech-2017-82.pdf).

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authority to charter full-service national banks and federal saving associations, as well as other

long-established special purpose national banks, such as trust banks, bankers’ banks, and other

so-called CEBA banks. Many fintech and online lending business models fit well into these

categories of national bank charters. Chartering innovative de novo institutions through these

existing authorities enhances the federal banking system, increases choice, promotes economic

opportunity, and can improve services to consumers, businesses, and communities.

         Interest also remains in the possibility of the OCC offering special purpose national bank

charters to nondepository fintech companies engaged in the business of banking. As you know,

the Conference of State Bank Supervisors and the New York Department of Financial Services

have challenged the OCC’s authority in this area. 11 We have filed our responses in both cases

and will continue to defend our authority vigorously. We have not, however, decided whether we

will exercise that specific authority to issue special purpose national bank charters to

nondepository fintech companies. We will keep you posted.

         The OCC’s initiatives to support innovation are not the only ways we are working to

promote economic opportunity. The agency has taken a number of actions to reduce unnecessary

burden following its multiyear review of rules and regulations required under the Economic

Growth and Regulatory Paperwork Reduction Act. 12 In my Senate testimony in June, I described

a number of actions that the agencies and Congress could take to reduce burden and promote




11Litigation specifically relates to the special purpose charters under 12 CFR 5.20(e)(1).
12Joint Report to Congress Economic Growth and Regulatory Paperwork Reduction Act. Board of Governors of the Federal
Reserve System, Office of the Comptroller of the Currency, Federal Deposit Insurance Corporation, and National Credit Union
Administration. March 2017 (https://www.occ.gov/news-issuances/news-releases/2017/nr-ia-2017-33a.pdf).


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economic growth. 13 You may have read about work to revise the Volcker Rule 14 and simplify

capital requirements.

         One example of action that Congress could take involves clarifying the long-held “valid

when made” doctrine at the heart of the Madden v. Midland Funding, LLC. 15 The Congressional

“fix” supported by the OCC would provide that the rate of interest on a loan made by a bank,

savings association, or credit union that is valid when the loan is made remains valid after

transfer of the loan. This proposal reduces uncertainty by reestablishing well-settled law and

would create a uniform standard eliminating the differences in treatment of loans made in

different judicial circuits. The proposal supports economic opportunity by helping banks, savings

associations, and credit unions to sell their loans, thereby promoting liquid markets.

         Another barrier regarding economic opportunity that I have heard from some online

lenders involves difficulty of getting bank accounts and certain banks terminating business

accounts and other banking services of online lenders and fintech companies without providing

sufficient reason. Some companies have even been told that regulators—and specifically the

OCC—are the reason behind terminating the accounts. Little can affect the economic

opportunity of a business more than the inability to obtain banking services. So, let me address

that head on. I added my voice to that chorus in letters to Congress denouncing Operation

Chokepoint last month. Let me repeat those key points here. We, at the OCC, expect banks to

assess the risks posed by individual customers on a case-by-case basis and to implement

appropriate controls to manage their relationships. The controls banks put in place to manage




13 Testimony of Keith A. Noreika, Acting Comptroller of the Currency, Before Committee on Banking, Housing, and Urban

Affairs. U.S. Senate. June 22, 2017 (https://www.occ.gov/news-issuances/news-releases/2017/nr-occ-2017-71b.pdf).
14 “OCC Solicits Public Comments on Revising the Volcker Rule.” OCC News Release 2017-89. August 2, 2017.

(https://www.occ.gov/news-issuances/news-releases/2017/nr-occ-2017-89.html).
15 Madden v. Midland Funding, LLC, No. 14-2131 (2d Cir. 2015).



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their risks and the decisions about whom to bank are business decisions and matters of banker

judgment and should be effective to manage the risks of their activities.

       The OCC’s policy is not to direct banks to open or close individual accounts, nor to

encourage banks to terminate entire categories of accounts without assessing the risks presented

by individual customers or the bank’s ability to manage the risk. Banks make the decisions to

retain or terminate customer relationships, not the regulators, and not the OCC.

       When banks fail to provide fair access and fair treatment, they cut off economic

opportunity for bank customers, whether those customers are individuals or businesses. If the

system fails to provide fairness to all, it cannot be a source of strength to any.

       I want to close by sharing my optimism for this industry. Whatever business model and

long-term path you choose to achieve your business goals, the future is bright. You are changing

how financial services are delivered, and in some ways, you are raising the bar for what

consumers of financial services should expect. The market domestically and internationally has

plenty of room to grow, and today in Washington there is real energy around reducing

unnecessary regulatory burden and promoting economic opportunity. Those are good reasons to

be optimistic.

       Thank you again for having me and I would be happy to answer any questions as time

permits.




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Bank    State      Date      Year     Comment                                                                         Notes
       NAT       8/15/2012   2012 Closed due to MSB Asked that we close account b/c MSB
       TX        5/24/2013   2013 No MSB            No MSB
       KS         9/9/2010   2010 Closed due to MSB MSB

       WA         1/8/2013 2013 No Payday         They don't open accounts for Payday Lenders
       WI        12/1/2012 2012 Closed due to MSB Closed account b/c of MSB
       IL        5/12/2009 2009 No MSB            Closing 2/5/2013

       SD        1/18/2013 2013 Closed due to MSB Closing 1/21/13
       all       12/7/2012 2012 No MSB            High Risk

       VA        1/18/2013 2013 No MSB                  MSB
       VA        1/18/2013 2013 No MSB                  MSB



       AL         1/9/2013 2013 Closed due to MSB Closed our account due to MSB

       FL        5/24/2013 2013 No MSB                  No MSB



       FL        4/22/2014   2014   Closed due to MSB   MSB
       NAT       9/18/2012   2012   Closed due to MSB   Asked that we close account b/c MSB
       NAT       4/10/2014   2014   Closed due to MSB   No new accounts due to MSB and Mexican ownership
       VA        3/29/2013   2013   No Payday           Signers must be present
       AL         8/7/2013   2013   Closed due to MSB   No, b/c we do C2C
       OH        8/30/2014   2014   Closed due to MSB   Closed our account due to MSB

       MI        7/31/2014   2014   Closed due to MSB   Closed our account due to MSB
       RI        8/30/2014   2014   Closed due to MSB   Closed our account due to MSB
       CA        2/28/2013   2013   Closed due to MSB   No, needs 3 months worth of activity for credits, debits, and analysis.
       TN         2/5/2013   2013   Closed due to MSB   MSB - Closed our account
       OH        4/14/2014   2014   No MSB
       OH        4/14/2014   2014   No MSB              MSB
       KS        9/20/2012   2012   No MSB              MSB
       KS        6/10/2010   2010   No MSB              "don't want to deal with the hassels of our account"



       NE       12/29/2016   2016   No MSB              No MSB
       MS         8/1/2011   2011   No MSB              MSB
       SC         6/3/2016   2016   No MSB              MSB
       OH        10/8/2014   2014   Closed due to MSB   MSB
       LA        7/18/2014   2014   Closed due to MSB   Don't bank with our industry
       SC
       MO       12/29/2016   2016   No MSB              No MSB accounts
       SD        1/28/2016   2016   Closed due to MSB   Closing 2/27/2016 due to MSB registration
       AL         4/1/2012   2012   No MSB              MSB
       MO        4/19/2010   2010   Closed due to MSB   Closed our account due to MSB
       MO        4/19/2010   2010   Closed due to MSB   Don't bank with our industry
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MI      10/21/2016 2016 Closed due to MSB       No Payday Lenders Closing 11/20/2016
MI      10/21/2016 2016 Closed due to MSB       No Payday Lenders Closing 11/20/2016
MI      10/21/2016 2016 Closed due to MSB       No Payday Lenders Closing 11/20/2016
IA & KS  5/10/2010 2010 Closed due to MSB       Closed our account due to MSB
SD       12/8/2016 2016 Closed due to MSB




LA       5/30/2014 2014 Closed due to MSB Closed account b/c of MSB

OK        6/1/2015   2015   Closed due to MSB   Closed our account due to MSB
OK        6/1/2015   2015   Closed due to MSB   Closed our account due to MSB
DE       7/14/2014   2014   No MSB              No longer opening accounts for Payday Companies
KY      11/21/2016   2016   Closed due to MSB   Due to type of business closing on 12/31/2016
KY      11/21/2016   2016   Closed due to MSB   Due to type of business closing on 12/31/2016
IN       11/1/2013   2013   Closed due to MSB   Closed our account due to MSB
SC      10/30/2013   2013   Closed due to MSB   Not adding MSB companies

AL       3/27/2012 2012 Closed due to MSB Asked that we close account b/c MSB
CA        1/7/2013 2013 No MSB            MSB
NAT      4/17/2012 2012 Closed due to MSB Closed per Bank's request

MS      12/10/2010   2010   No MSB              MSB
FL        8/7/2008   2008   Closed due to MSB   Closed account b/c of MSB
FL        8/7/2008   2008   Closed due to MSB   No MSB
VA      10/30/2015   2015   Closed due to MSB   High Risk
AL      10/30/2013   2013   Closed due to MSB   Not accepting anymore MSB/Payday Lenders
SC      10/30/2013   2013   Closed due to MSB   Not accepting anymore MSB/Payday Lenders

FL       10/1/2012   2012   Closed due to MSB   MSB
AL        1/7/2013   2013   No MSB              MSB
AL        1/7/2013   2013   No MSB              No Payday Lenders
AL        1/7/2013   2013   No MSB              No per Compliance, no reasons given
OH       7/31/2014   2014   Closed due to MSB   Closed our account due to MSB
IL      12/29/2016   2016   No MSB              Doesn't open for MSBs anymore
IL       4/26/2017   2017   No Reason Given     Received letter stating they wished to close account, no reason given.
IL      12/27/2016   2016   No MSB              No more accounts, our acct was grandfathered
CA       5/30/2014   2014   Closed due to MSB   Closed account b/c of MSB
CA       6/28/2010   2010   No MSB              MSB
SC       3/31/2017   2017   Closed due to MSB   Reviewed Account, felt relationship no longer desireable Closing 1/31/2017
all      7/20/2013   2013   No MSB              High Risk
KY       12/9/2016   2016   Closed due to MSB   Payday Lender
AL       1/15/2013   2013   No Payday           Signers must be present
IN       5/14/2009   2009   No MSB              Won't open accounts over the phone
TX      10/25/2013   2013   No MSB              No MSB/Payday Lenders
TX        6/3/2013   2013   No Payday           They prefer not to open an account like this
MO      12/29/2016   2016   No Payday           Don't bank with our industry
LA       7/10/2014   2014   No MSB              No more MSB accounts
TX       5/24/2013   2013   No Payday           Local signers
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KS      8/27/2012   2012   No MSB          MSB
CA      11/1/2013   2013   No Payday       Out of their scope
AL     10/21/2013   2013   No MSB          No MSB
AL     10/21/2013   2013   No MSB          No MSB
IL      5/12/2009   2009   No MSB          Bank will no longer open accounts for MSBs
IL      5/12/2009   2009   No MSB          MSB
AL       4/4/2014   2014   No MSB          No Payday, Maybe MSB
TX      7/18/2014   2014   No MSB          MSB is too much of a risk
TX      7/18/2014   2014   No MSB          Can't handle any additional volume
LA       7/9/2014   2014   No MSB          No MSB
AL       6/5/2013   2013   No MSB          System can't comply with our needs
SC     12/31/2014   2014   No MSB          They are not interested in banking Payday
KY     12/29/2016   2016   No Payday       Signers Must Be Present
LA       7/9/2014   2014   No MSB          No MSB and signers must always be present to open account
AL     12/29/2016   2016   No MSB
AL     12/29/2016   2016   No MSB          No new accounts over the phone - 1 center
MO     12/29/2016   2016   No Payday       Signers must be present - 2 centers
KS      8/16/2012   2012   No MSB          MSB
KY     12/29/2016   2016   No Payday       No Payday Lenders
LA     12/29/2016   2016   No Payday       Don't bank with our industry
CA      8/10/2012   2012   No MSB          MSB
IL     12/29/2016   2016   No Payday       Don't bank with our industry
FL      5/24/2013   2013   No MSB          No MSB
WA     12/10/2012   2012   No MSB          MSB
MO     12/29/2016   2016   No MSB
MO     12/29/2016   2016   No MSB          Conflict of interest
VA     10/22/2013   2013   No MSB          No MSB
Mo     12/29/2016   2016   No Payday       Don't bank with our industry
AL     12/29/2016   2016   No, no Reason   No reason provided
LA       7/7/2014   2014   No MSB          No MSB
AL      3/26/2014   2014   No MSB          No MSB
ID     12/29/2016   2016   No MSB          No MSB accounts
KS      8/11/2010   2010   No MSB          MSB
VA     10/23/2013   2013   No MSB          BSA says no to Payday Lenders
KY     12/29/2016   2016   No Payday       No Payday Lenders
IN      10/8/2014   2014   No MSB          MSB
SC      3/19/2015   2015   No Payday       They do not bank Payday Lenders
NV     12/29/2016   2016   No MSB          No MSB
WY     12/29/2016   2016   No Payday       No Payday Lenders
KS      9/18/2012   2012   No Payday       They don't open accounts for Corporations
VA     11/18/2016   2016   No Payday       No payday lenders
KS     10/22/2013   2013   No MSB          No MSB
VA      5/13/2012   2012   No Payday       Payday Lender
TN     12/29/2010   2010   No MSB          No Facsimile Signatures on checks
IN      5/14/2009   2009   No MSB          MSB
FL      4/11/2014   2014   No MSB          Cannot handle our business- small community bank
FL      8/12/2008   2008   No MSB          Type of business
IN     10/22/2014   2014   No Payday       Not interested at all in our business
KY      5/21/2009   2009   No Payday       Too many inquiries
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MO      12/29/2016   2016   No Payday       Signers must be present - 1 center
CA        2/4/2013   2013   No MSB          MSB
VA      10/22/2013   2013   No Payday       No Payday Lenders
AL       1/15/2013   2013   No, no Reason   No reason
VA       5/30/2013   2013   No Payday       Signers must be present
WY      12/29/2016   2016   No Payday       Signers Must Be Present
CA      12/17/2012   2012   No Payday       Signers must be present
TN      12/20/2010   2010   No MSB
TN      12/20/2010   2010   No MSB          MSB
TN      12/20/2010   2010   No MSB          Signers must be present and agents must be signers to cash replenishment checks
TN      12/20/2010   2010   No MSB          They don't open accounts for Payday Lenders
MS        8/1/2011   2011   No MSB          MSB
MO      12/29/2016   2016   No Payday       Don't bank with our industry
VA       5/31/2013   2013   No Payday       Financials didn't pass BSA Dept
LA       7/15/2014   2014   No MSB          No MSB, bank is too small
AL        2/7/2013   2013   No MSB          MSB
FL       5/24/2013   2013   No MSB
FL       5/24/2013   2013   No MSB          No MSB
FL       5/24/2013   2013   No MSB          No Payday Lenders
SC      10/30/2013   2013   No MSB          No Payday Lenders or MSB
VA       6/10/2013   2013   No Payday       No Payday Lenders
MI       11/2/2016   2016   No MSB          No MSB
NAT      8/12/2012   2012   No MSB          MSB
NAT      8/12/2012   2012   No MSB          Compliance Officer said no
SC      10/22/2013   2013   No MSB          No MSB
AL      10/21/2013   2013   No MSB          No MSB - owned by Regions
LA        7/7/2014   2014   No MSB          No MSB
TN       9/19/2012   2012   No MSB          MSB
FL       1/22/2013   2013   No MSB          MSB
MO       9/14/2012   2012   No MSB          MSB
MO      12/29/2016   2016   No MSB          Don't have enough employees to handle our account
CA      10/22/2013   2013   No MSB          No MSB
KS       8/15/2012   2012   No MSB          MSB
SD       2/22/2013   2013   No MSB          No MSB or Payday Lenders
LA       7/10/2014   2014   No MSB          No MSB
KS      10/12/2012   2012   No MSB          High Risk
KS      10/12/2012   2012   No MSB          No MSB
AL      10/31/2013   2013   No MSB          No MSB
WY      12/29/2016   2016   No Payday       Signers Must Be Present
NV      12/29/2016   2016   No MSB          No MSB
AL      10/22/2013   2013   No MSB          No MSB
CA       8/10/2012   2012   No MSB          MSB
NV      12/29/2016   2016   No MSB          No MSB
NV      12/29/2016   2016   No MSB          No MSB
TN        1/7/2011   2011   No MSB          "They can't offer help, per president"
KS       9/18/2012   2012   No MSB          MSB
AL      10/22/2013   2013   No Payday       Signers must be present
TX       3/14/2011   2011   No MSB          Can't dep cks not made payable to AA.
CA        8/6/2013   2013   No MSB
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CA          8/6/2013   2013   No MSB      No MSB
SC        10/14/2009   2009   No MSB      MSB
OH         4/14/2014   2014   No Payday   entails too much work for the bank
VA          6/4/2013   2013   No Payday   Signers must be present
AL          1/4/2013   2013   No MSB      Too small and signers must be present to cash any checks
KY         4/18/2014   2014   No Payday   No Payday Lenders
KS         8/21/2012   2012   No MSB      No b/c signers must be local
KS         8/21/2012   2012   No MSB
VA         5/29/2013   2013   No MSB      No MSB
VA         5/29/2013   2013   No MSB      Don't bank with our industry
TX         5/24/2013   2013   No MSB      No MSB
FL         1/22/2013   2013   No MSB      MSB
FL         1/22/2013   2013   No MSB      No MSB
LA        12/29/2016   2016   No Payday   Don't bank with our industry
KS         8/17/2012   2012   No MSB      High Risk
LA        12/29/2016   2016   No Payday   Don't bank with our industry
LA          7/8/2014   2014   No Payday   Licensed Check Casher
KS         8/21/2012   2012   No MSB      MSB
KS         8/21/2012   2012   No MSB      Signers must be present
KS         8/21/2012   2012   No MSB      No MSB
KS         8/21/2012   2012   No MSB      Don't bank with our industry
VA         5/29/2013   2013   No MSB      High Risk
VA         5/29/2013   2013   No MSB      MSB and Payday
VA         5/29/2013   2013   No MSB      MSB and Payday
FL         10/1/2012   2012   No MSB
FL         10/1/2012   2012   No MSB      MSB
FL         1/22/2013   2013   No MSB      MSB
AL          2/4/2013   2013   No MSB      MSB
AL          2/4/2013   2013   No MSB      No, since we are considered a MSB
AL          2/4/2013   2013   No MSB      They do not bank MSB
TX         5/24/2013   2013   No Payday   Local signers
AL         5/31/2013   2013   No MSB      No MSB
TN         9/19/2012   2012   No MSB      MSB
AL        10/30/2013   2013   No MSB      No MSB
AL        10/30/2013   2013   No MSB      No, MSB regulations are too strict
KY         6/19/2017   2017
AL        12/29/2016   2016   No Payday   Don't bank with our industry
AL        10/22/2013   2013   No MSB      No MSB and signers must always be present to cash checks
AL        10/22/2013   2013   No MSB      BSA Dept said no
AL          1/7/2013   2013   No MSB      MSB
WY        12/29/2016   2016   No MSB      MSB
AL         6/10/2013   2013   No MSB      No MSB
AL         6/10/2013   2013   No MSB      Don't bank with our industry
IA & KS    5/19/2010   2010   No MSB      MSB
AL        12/29/2016   2016   No Payday   Don't bank with our industry
TX          3/1/2011   2011   No MSB      MSB
KS         8/17/2012   2012   No MSB      High Risk
KS         8/16/2012   2012   No MSB      MSB
MO         8/15/2012   2012   No MSB      MSB and Signers must be present
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KS      8/17/2012   2012   No MSB          High Risk
SD       2/3/2016   2016   No MSB          MSB
LA     12/29/2016   2016   No Payday       Don't bank with our industry
LA       7/7/2014   2014   No MSB          No MSB
LA       7/8/2014   2014   No MSB          No MSB
WY     12/29/2016   2016   No Payday       Signers Must Be Present
AL     10/22/2013   2013   No MSB          Can't handle MSB accounts
KS      6/10/2010   2010   No MSB          MSB
IA      9/24/2012   2012   No MSB          MSB
IA      9/24/2012   2012   No MSB          Too much that the Fed requires, and they can't do it.
TX       3/1/2011   2011   No MSB          MSB
TN      2/13/2013   2013   No Payday       Payday Lender
TN      9/20/2012   2012   No Payday       Our Operations
MI      4/11/2014   2014   No MSB          No MSB
TX      5/24/2013   2013   No MSB          No MSB
MI      5/18/2009   2009
MO     12/30/2016   2016   No, no Reason   told Becky no by email
AL      3/19/2014   2014   No MSB          No MSB
AL      3/19/2014   2014   No MSB          Don't bank with our industry
AL     12/29/2016   2016   No Payday       Don't bank with our industry
VA     11/18/2016   2016   No MSB          No MSB
KS      8/27/2012   2012   No MSB          MSB
AL      3/28/2012   2012   No MSB          MSB
TX      7/28/2017   2017   No Payday       No Payday Lenders
VA     11/18/2016   2016   No MSB          No MSB
LA       7/7/2014   2014   No MSB          No MSB
LA     12/10/2015   2015   No MSB          The are too small to bank us
FL      5/24/2013   2013   No MSB          No MSB
MO     10/30/2013   2013   No MSB          No MSB businesses because too much work
VA      3/29/2013   2013   No MSB          MSB
VA      3/29/2013   2013   No MSB          signers must be present
MO     12/29/2016   2016   No, no Reason   No reason provided
TX      5/24/2013   2013   No MSB          No MSB
LA     12/29/2016   2016   No MSB          Corporate office not in LA, MSB
TN       2/8/2013   2013   No MSB          MSB
TN       2/8/2013   2013   No MSB          Payday Lender
OH      5/19/2009   2009   No MSB          MSB
SC      1/14/2015   2015   No MSB          They cannot monitor our account/MSB
AL     12/29/2016   2016   No Payday       Don't bank with our industry
MO      9/14/2012   2012   No MSB          MSB
VA     11/22/2016   2016   No Payday       Signers have to be present/ No MSB
LA     12/29/2016   2016   No Payday       Don't bank with our industry
LA       7/3/2014   2014   No MSB          No more MSB accounts
IL     12/29/2016   2016   No Payday       Signers must be present - 1 center
KS     10/22/2013   2013   No MSB          No MSB, app wouldn't be approved if we submitted one
IL     12/29/2016   2016   No, no Reason   No reason provided
WY     12/29/2016   2016   No Payday       No Payday Lenders
MO     12/29/2016   2016   No Payday       Don't bank with our industry
MO      8/15/2012   2012   No Payday       Signers must be present
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KY      1/26/2015   2015   No MSB      too much strain on their individual branches(per a decision made in 2014 by the institution as a whole)
IA       6/2/2010   2010
KS      5/14/2010   2010   No MSB      MSB
IN     10/14/2014   2014   No MSB      MSB
MO     12/29/2016   2016   No Payday   Don't bank with our industry
LA      7/10/2014   2014   No MSB      No MSB
OH      4/14/2014   2014   No MSB      No (they would not specify a reason)
KS      9/10/2012   2012   No MSB      No accepting new MSB's
DE      7/14/2014   2014   No MSB      No longer opening accounts for Payday Companies
VA       6/3/2013   2013   No Payday   Don't open accounts for businesses
NV     12/29/2016   2016   No MSB      No MSB
OH      5/28/2013   2013   No MSB      No MSB
AL     10/22/2013   2013   No MSB      No MSB
MO     12/29/2016   2016   No Payday   Signers must be local - 1 center
KS       9/5/2012   2012   No MSB      MSB
AL     10/21/2013   2013   No MSB      No MSB
AL     10/21/2013   2013   No MSB      No Payday Lenders or MSB
IL     12/29/2016   2016   No MSB      Aren't equipped to handle our type of account
VA       6/3/2013   2013   No Payday   No Payday Lenders
OH      4/14/2014   2014   No MSB      CIP procedures is the main reason they cannot open the account
CA      8/10/2012   2012   No MSB      MSB
VA       4/1/2013   2013   No MSB      MSB
KY      6/27/2013   2013   No MSB      No MSB
ID     12/29/2016   2016   No MSB      Stored-Value Cards and can't properly id signers
NV     12/29/2016   2016   No MSB      No MSB
IL      5/19/2014   2014   No MSB      MSB
VA      4/10/2013   2013   No MSB      High Risk
AL      1/16/2013   2013   No MSB      MSB
FL      5/24/2013   2013   No MSB      No MSB
IA      9/24/2012   2012   No MSB      MSB
IA      9/24/2012   2012   No MSB      Aren't equipped to handle our type of account
FL      5/24/2013   2013   No MSB      No MSB
TX      6/27/2014   2014   No MSB      No MSB
MO     12/29/2016   2016   No Payday   Signers must be present - 1 center
SC       1/2/2015   2015   No MSB      They are not banking any MSB
TN      2/13/2013   2013   No Payday   Too Large
AL     10/21/2013   2013   No MSB      No MSB
FL      1/22/2013   2013   No MSB      MSB
AL     12/29/2016   2016   No MSB      Can't handle our activity
AL       6/3/2013   2013   No MSB      No MSB
AL     12/29/2016   2016   No MSB      No new accounts over the phone - 1 center
KS      8/16/2012   2012   No MSB      MSB
OH      5/22/2013   2013   No MSB      No MSB
AL      3/13/2014   2014   No MSB      No MSB
MO     12/29/2016   2016   No Payday   Don't bank with our industry
AL      3/13/2014   2014   No MSB      No accounts for MSB or Payday companies
SC     10/22/2013   2013   No MSB      No MSB
WY     12/29/2016   2016   No MSB      High Risk
WY     12/29/2016   2016   No MSB      No MSB
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NV     12/29/2016   2016   No MSB          No MSB
VA      2/20/2013   2013   No MSB          Too Risky
AL     10/22/2013   2013   No Payday       No Payday Lenders
FL      1/22/2013   2013   No MSB          MSB
FL      1/22/2013   2013   No MSB          PNC - no MSB
IL      4/10/2014   2014   No, no Reason   Not at this time
IL      4/10/2014   2014   No, no Reason   No new MSB
IL      4/10/2014   2014   No, no Reason   Don't bank with our industry
AL     12/29/2016   2016   No Payday       Don't bank with our industry
FL      1/22/2013   2013   No MSB          TD Bank - no MSB
FL      1/22/2013   2013   No MSB          No MSB
MI     11/22/2016   2016   No MSB          No MSB
AL       2/5/2013   2013   No MSB          MSB
FL      5/24/2013   2013   No MSB          No MSB
IL     12/29/2016   2016   No Payday       Don't bank with our industry
TN     10/22/2013   2013   No Payday       No Payday Lenders
TN     10/22/2013   2013   No Payday       They do not bank payday lenders, because it’s a conflict of interest. Credit counseling
AL      3/26/2014   2014   No MSB          No Payday Lenders or MSB
WA      12/5/2013   2013   No MSB          too Small
MO      8/15/2012   2012   No MSB          MSB
AL     10/30/2013   2013   No MSB          do not presently bank any pay day/cash advance companies
AL     10/30/2013   2013   No MSB          No Payday Lenders or MSB
MI      4/21/2014   2014   No Payday       entails too much work for the bank
AL     12/29/2016   2016   No Payday       Don't bank with our industry
KS      8/16/2012   2012   No MSB          High Risk
SC      1/14/2015   2015   No MSB          They do not bank anyone that offers MSB services
AL     10/22/2013   2013   No MSB          No MSB/Payday Lenders
AL     10/22/2013   2013   No MSB          No reason provided
AL     12/29/2016   2016   No Payday       Don't bank with our industry
RI       9/1/2012   2012   No MSB          MSB
IN       8/5/2015   2015   No MSB          buisness review board said no to our request to open an account
WY     12/29/2016   2016   No Payday       No Payday Lenders
AL      1/14/2013   2013   No MSB
AL      1/14/2013   2013   No MSB          MSB
AL      3/20/2014   2014   No Payday       No Payday Lenders
AL     12/29/2016   2016   No Payday       Signers must be present - 1 center
FL      4/14/2014   2014   No Payday       signers must be present, no MSB
FL     10/15/2010   2010   No MSB          MSB
IL      4/10/2014   2014   No Payday       Signers must be present
TX       7/7/2014   2014   No MSB          No MSB
IL     12/29/2016   2016   No MSB          Type of account
MO     12/29/2016   2016   No Payday       Don't like to bank with payday loan companies
VA      5/14/2013   2013   No MSB          Will not open an account for us b/c we are competition
AL     10/22/2013   2013   No MSB          No MSB
AL     12/29/2016   2016   No Payday       Don't bank with our industry
KS      8/21/2012   2012   No MSB          Volume is too high
OH       5/6/2013   2013   No MSB          MSB
VA       6/7/2013   2013   No Payday       No Payday Lenders
AL     12/29/2016   2016   No Payday       Don't bank with our industry
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AL      6/10/2013   2013   No MSB      Bank can't handle the MSB requirements
LA       7/7/2014   2014   No MSB      No MSB
KY     12/29/2016   2016   No MSB      No MSB
SC     12/22/2014   2014   No MSB      They do not bank any Payday Co.
OH      4/11/2014   2014   No MSB      Cannot handle our businesss
TN      2/13/2013   2013   No MSB      MSB
MO     12/29/2016   2016   No Payday   Don't bank with our industry
VA      7/19/2013   2013   No Payday   No Payday Lenders
VA      3/29/2013   2013   No MSB      MSB
KY       4/4/2014   2014   No Payday   No Payday Lenders
CA       1/9/2013   2013   No MSB      MSB
AL     10/21/2013   2013   No MSB      No MSB
AL     10/21/2013   2013   No MSB      No Payday Lenders or MSB
AL       1/2/2013   2013   No MSB      MSB
VA     10/23/2013   2013   No Payday   Not interested at all in our business
KS      8/27/2012   2012   No MSB      MSB
IN      5/21/2009   2009   No MSB      Can't handle our service req. I told her we could eliminate any of the services they could not do, but still wouldn't open account
LA     12/29/2016   2016   No MSB      Don’t open business accounts
AL      3/15/2012   2012   No MSB      MSB
KY      5/18/2009   2009   No Payday
KY      5/18/2009   2009   No Payday   Signers must be present
KY      5/18/2009   2009   No Payday   No MSB
LA     12/29/2016   2016   No Payday   Signers must be present - 1 center
CA      4/16/2010   2010   No Payday   Signers must be present
CA      4/16/2010   2010   No Payday   They don't bank Payday Lenders
FL      5/24/2013   2013   No MSB      No MSB
AL     12/29/2016   2016   No Payday   Don't bank with our industry
KS     10/22/2013   2013   No MSB      No MSB
VA      4/18/2013   2013   No MSB      MSB
FL      11/4/2011   2011   No MSB      MSB
SC      1/23/2015   2015   No Payday   They do not bank Payday Lenders
ID     12/29/2016   2016   No Payday   signers must be present
WA       1/3/2013   2013   No MSB      MSB
MO      9/14/2012   2012   No MSB      MSB
MO      9/14/2012   2012   No MSB      Can't open accounts for a corp
CA      8/10/2012   2012   No Payday   They don't bank Payday Lenders
NV     12/29/2016   2016   No MSB      No MSB
KS      8/27/2012   2012   No MSB      No accepting new MSB's
IL     11/25/2015   2015   No Payday   They do not bank Payday Lenders
KY       7/6/2009   2009   No MSB      MSB
WY     12/29/2016   2016   No Payday   Signers Must Be Present
SC     10/22/2013   2013   No MSB      No MSB
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  State        Date      Year               Comment                                                                Notes
CO           6/28/2005   2005
IN           6/28/2005   2005
MO             03/2006   2006
MO             03/2006   2006
NH          12/26/2006   2006
AR                2007   2007
CO            1/8/2007   2007
FL           2/13/2007   2007   No MSB                Due to being an MSB
MO           5/18/2007   2007
AR           5/18/2007   2007
AL           5/22/2007   2007
MO           5/22/2007   2007
AL           5/23/2007   2007
AR           5/24/2007   2007
AR           5/25/2007   2007
AL           5/29/2007   2007   No MSB                MSB
MS           5/29/2007   2007
MS           5/30/2007   2007
MO            6/5/2007   2007
AL            6/5/2007   2007
AL            6/6/2007   2007
AL            6/6/2007   2007
AL            6/6/2007   2007
AL            6/6/2007   2007
OH           6/15/2007   2007   Closed due to MSB     MSB
OH           6/15/2007   2007   Closed due to MSB     MSB
FL            8/2/2007   2007   No Payday             Signers must be present
FL            8/3/2007   2007   No MSB                Could not give me a reason, sent me an email.
FL           8/14/2007   2007   No Payday             Signers must be present
WI           9/10/2007   2007   No MSB                Due to being an MSB
IL           9/18/2007   2007   No MSB                "high-risk" business
KS          10/16/2007   2007   No MSB                Type of business
          0 11/7/2007    2007   No MSB                As of 2005, Key Bank will not open any accounts for our type of business
          0 11/7/2007    2007   No MSB                MSB
KY          11/30/2007   2007   No MSB                Bank will not open accounts for companies that are a "Risk".
WI          12/10/2007   2007   No MSB                Type of business
WI          12/10/2007   2007   No MSB                Just can't work with us.
WI          12/10/2007   2007   No MSB                No MSB, b/c they can't handle the regulations
WI          12/10/2007   2007   No MSB                No MSB
FL            8/7/2008   2008   Closed due to MSB     Closed account b/c of MSB
FL            8/7/2008   2008   Closed due to MSB     No MSB
FL           8/12/2008   2008   No MSB                Type of business
IL           5/12/2009   2009   No MSB                Bank will no longer open accounts for MSBs
IL           5/12/2009   2009   No MSB                Closing 2/5/2013
IL           5/12/2009   2009   No MSB                MSB
IN           5/14/2009   2009   No MSB                Won't open accounts over the phone
IN           5/14/2009   2009   No MSB                MSB
KY           5/18/2009   2009   No Payday
KY           5/18/2009   2009   No Payday             Signers must be present
KY           5/18/2009   2009   No Payday             No MSB
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MI         5/18/2009   2009
OH         5/19/2009   2009   No MSB              MSB
KY         5/21/2009   2009   No Payday           Too many inquiries
IN         5/21/2009   2009   No MSB              Can't handle our service req. I told her we could eliminate any of the services they could not do, but still wouldn't open account
KY          7/6/2009   2009   No MSB              MSB
SC        10/14/2009   2009   No MSB              MSB
CA         4/16/2010   2010   No Payday           Signers must be present
CA         4/16/2010   2010   No Payday           They don't bank Payday Lenders
MO         4/19/2010   2010   Closed due to MSB   Closed our account due to MSB
MO         4/19/2010   2010   Closed due to MSB   Don't bank with our industry
IA & KS    5/10/2010   2010   Closed due to MSB   Closed our account due to MSB
KS         5/14/2010   2010   No MSB              MSB
IA & KS    5/19/2010   2010   No MSB              MSB
IA          6/2/2010   2010
KS         6/10/2010   2010   No MSB              "don't want to deal with the hassels of our account"
KS         6/10/2010   2010   No MSB              MSB
CA         6/28/2010   2010   No MSB              MSB
KS         8/11/2010   2010   No MSB              MSB
KS          9/9/2010   2010   Closed due to MSB   MSB
FL        10/15/2010   2010   No MSB              MSB
MS        12/10/2010   2010   No MSB              MSB
TN        12/20/2010   2010   No MSB
TN        12/20/2010   2010   No MSB              MSB
TN        12/20/2010   2010   No MSB              Signers must be present and agents must be signers to cash replenishment checks
TN        12/20/2010   2010   No MSB              They don't open accounts for Payday Lenders
TN        12/29/2010   2010   No MSB              No Facsimile Signatures on checks
TN          1/7/2011   2011   No MSB              "They can't offer help, per president"
TX          3/1/2011   2011   No MSB              MSB
TX          3/1/2011   2011   No MSB              MSB
TX         3/14/2011   2011   No MSB              Can't dep cks not made payable to AA.
MS          8/1/2011   2011   No MSB              MSB
MS          8/1/2011   2011   No MSB              MSB
FL         11/4/2011   2011   No MSB              MSB
AL         3/15/2012   2012   No MSB              MSB
AL         3/27/2012   2012   Closed due to MSB   Asked that we close account b/c MSB
AL         3/28/2012   2012   No MSB              MSB
AL          4/1/2012   2012   No MSB              MSB
NAT        4/17/2012   2012   Closed due to MSB   Closed per Bank's request
VA         5/13/2012   2012   No Payday           Payday Lender
CA         8/10/2012   2012   No MSB              MSB
CA         8/10/2012   2012   No MSB              MSB
CA         8/10/2012   2012   No MSB              MSB
CA         8/10/2012   2012   No Payday           They don't bank Payday Lenders
NAT        8/12/2012   2012   No MSB              MSB
NAT        8/12/2012   2012   No MSB              Compliance Officer said no
NAT        8/15/2012   2012   Closed due to MSB   Asked that we close account b/c MSB
KS         8/15/2012   2012   No MSB              MSB
MO         8/15/2012   2012   No MSB              MSB and Signers must be present
MO         8/15/2012   2012   No Payday           Signers must be present
MO         8/15/2012   2012   No MSB              MSB
KS         8/16/2012   2012   No MSB              MSB
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KS     8/16/2012   2012   No MSB              MSB
KS     8/16/2012   2012   No MSB              MSB
KS     8/16/2012   2012   No MSB              High Risk
KS     8/17/2012   2012   No MSB              High Risk
KS     8/17/2012   2012   No MSB              High Risk
KS     8/17/2012   2012   No MSB              High Risk
KS     8/21/2012   2012   No MSB              No b/c signers must be local
KS     8/21/2012   2012   No MSB
KS     8/21/2012   2012   No MSB              MSB
KS     8/21/2012   2012   No MSB              Signers must be present
KS     8/21/2012   2012   No MSB              No MSB
KS     8/21/2012   2012   No MSB              Don't bank with our industry
KS     8/21/2012   2012   No MSB              Volume is too high
KS     8/27/2012   2012   No MSB              MSB
KS     8/27/2012   2012   No MSB              MSB
KS     8/27/2012   2012   No MSB              MSB
KS     8/27/2012   2012   No MSB              No accepting new MSB's
RI      9/1/2012   2012   No MSB              MSB
KS      9/5/2012   2012   No MSB              MSB
KS     9/10/2012   2012   No MSB              No accepting new MSB's
MO     9/14/2012   2012   No MSB              MSB
MO     9/14/2012   2012   No MSB              MSB
MO     9/14/2012   2012   No MSB              MSB
MO     9/14/2012   2012   No MSB              Can't open accounts for a corp
NAT    9/18/2012   2012   Closed due to MSB   Asked that we close account b/c MSB
KS     9/18/2012   2012   No Payday           They don't open accounts for Corporations
KS     9/18/2012   2012   No MSB              MSB
TN     9/19/2012   2012   No MSB              MSB
TN     9/19/2012   2012   No MSB              MSB
KS     9/20/2012   2012   No MSB              MSB
TN     9/20/2012   2012   No Payday           Our Operations
IA     9/24/2012   2012   No MSB              MSB
IA     9/24/2012   2012   No MSB              Too much that the Fed requires, and they can't do it.
IA     9/24/2012   2012   No MSB              MSB
IA     9/24/2012   2012   No MSB              Aren't equipped to handle our type of account
FL     10/1/2012   2012   No MSB
FL     10/1/2012   2012   No MSB              MSB
FL     10/1/2012   2012   Closed due to MSB   MSB
KS    10/12/2012   2012   No MSB              High Risk
KS    10/12/2012   2012   No MSB              No MSB
WI     12/1/2012   2012   Closed due to MSB   Closed account b/c of MSB
all    12/7/2012   2012   No MSB              High Risk
WA    12/10/2012   2012   No MSB              MSB
CA    12/17/2012   2012   No Payday           Signers must be present
AL      1/2/2013   2013   No MSB              MSB
WA      1/3/2013   2013   No MSB              MSB
AL      1/4/2013   2013   No MSB              Too small and signers must be present to cash any checks
AL      1/7/2013   2013   No MSB              MSB
CA      1/7/2013   2013   No MSB              MSB
AL      1/7/2013   2013   No MSB              MSB
AL      1/7/2013   2013   No MSB              No Payday Lenders
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AL    1/7/2013   2013   No MSB              No per Compliance, no reasons given
WA    1/8/2013   2013   No Payday           They don't open accounts for Payday Lenders
AL    1/9/2013   2013   Closed due to MSB   Closed our account due to MSB
CA    1/9/2013   2013   No MSB              MSB
AL   1/14/2013   2013   No MSB
AL   1/14/2013   2013   No MSB              MSB
AL   1/15/2013   2013   No Payday           Signers must be present
AL   1/15/2013   2013   No, no Reason       No reason
AL   1/16/2013   2013   No MSB              MSB
SD   1/18/2013   2013   Closed due to MSB   Closing 1/21/13
VA   1/18/2013   2013   No MSB              MSB
VA   1/18/2013   2013   No MSB              MSB
FL   1/22/2013   2013   No MSB              MSB
FL   1/22/2013   2013   No MSB              MSB
FL   1/22/2013   2013   No MSB              No MSB
FL   1/22/2013   2013   No MSB              MSB
FL   1/22/2013   2013   No MSB              MSB
FL   1/22/2013   2013   No MSB              MSB
FL   1/22/2013   2013   No MSB              PNC - no MSB
FL   1/22/2013   2013   No MSB              TD Bank - no MSB
FL   1/22/2013   2013   No MSB              No MSB
CA    2/4/2013   2013   No MSB              MSB
AL    2/4/2013   2013   No MSB              MSB
AL    2/4/2013   2013   No MSB              No, since we are considered a MSB
AL    2/4/2013   2013   No MSB              They do not bank MSB
TN    2/5/2013   2013   Closed due to MSB   MSB - Closed our account
AL    2/5/2013   2013   No MSB              MSB
AL    2/7/2013   2013   No MSB              MSB
TN    2/8/2013   2013   No MSB              MSB
TN    2/8/2013   2013   No MSB              Payday Lender
TN   2/13/2013   2013   No Payday           Payday Lender
TN   2/13/2013   2013   No Payday           Too Large
TN   2/13/2013   2013   No MSB              MSB
VA   2/20/2013   2013   No MSB              Too Risky
SD   2/22/2013   2013   No MSB              No MSB or Payday Lenders
CA   2/28/2013   2013   Closed due to MSB   No, needs 3 months worth of activity for credits, debits, and analysis.
VA   3/29/2013   2013   No Payday           Signers must be present
VA   3/29/2013   2013   No MSB              MSB
VA   3/29/2013   2013   No MSB              signers must be present
VA   3/29/2013   2013   No MSB              MSB
VA    4/1/2013   2013   No MSB              MSB
VA   4/10/2013   2013   No MSB              High Risk
VA   4/18/2013   2013   No MSB              MSB
OH    5/6/2013   2013   No MSB              MSB
VA   5/14/2013   2013   No MSB              Will not open an account for us b/c we are competition
OH   5/22/2013   2013   No MSB              No MSB
TX   5/24/2013   2013   No MSB              No MSB
TX   5/24/2013   2013   No Payday           Local signers
FL   5/24/2013   2013   No MSB              No MSB
FL   5/24/2013   2013   No MSB              No MSB
FL   5/24/2013   2013   No MSB
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FL     5/24/2013   2013   No MSB              No MSB
FL     5/24/2013   2013   No MSB              No Payday Lenders
TX     5/24/2013   2013   No MSB              No MSB
TX     5/24/2013   2013   No Payday           Local signers
TX     5/24/2013   2013   No MSB              No MSB
FL     5/24/2013   2013   No MSB              No MSB
TX     5/24/2013   2013   No MSB              No MSB
FL     5/24/2013   2013   No MSB              No MSB
FL     5/24/2013   2013   No MSB              No MSB
FL     5/24/2013   2013   No MSB              No MSB
FL     5/24/2013   2013   No MSB              No MSB
OH     5/28/2013   2013   No MSB              No MSB
VA     5/29/2013   2013   No MSB              No MSB
VA     5/29/2013   2013   No MSB              Don't bank with our industry
VA     5/29/2013   2013   No MSB              High Risk
VA     5/29/2013   2013   No MSB              MSB and Payday
VA     5/29/2013   2013   No MSB              MSB and Payday
VA     5/30/2013   2013   No Payday           Signers must be present
VA     5/31/2013   2013   No Payday           Financials didn't pass BSA Dept
AL     5/31/2013   2013   No MSB              No MSB
TX      6/3/2013   2013   No Payday           They prefer not to open an account like this
VA      6/3/2013   2013   No Payday           Don't open accounts for businesses
VA      6/3/2013   2013   No Payday           No Payday Lenders
AL      6/3/2013   2013   No MSB              No MSB
VA      6/4/2013   2013   No Payday           Signers must be present
AL      6/5/2013   2013   No MSB              System can't comply with our needs
VA      6/7/2013   2013   No Payday           No Payday Lenders
VA     6/10/2013   2013   No Payday           No Payday Lenders
AL     6/10/2013   2013   No MSB              No MSB
AL     6/10/2013   2013   No MSB              Don't bank with our industry
AL     6/10/2013   2013   No MSB              Bank can't handle the MSB requirements
KY     6/27/2013   2013   No MSB              No MSB
VA     7/19/2013   2013   No Payday           No Payday Lenders
all    7/20/2013   2013   No MSB              High Risk
CA      8/6/2013   2013   No MSB
CA      8/6/2013   2013   No MSB              No MSB
AL      8/7/2013   2013   Closed due to MSB   No, b/c we do C2C
AL    10/21/2013   2013   No MSB              No MSB
AL    10/21/2013   2013   No MSB              No MSB
AL    10/21/2013   2013   No MSB              No MSB - owned by Regions
AL    10/21/2013   2013   No MSB              No MSB
AL    10/21/2013   2013   No MSB              No Payday Lenders or MSB
AL    10/21/2013   2013   No MSB              No MSB
AL    10/21/2013   2013   No MSB              No MSB
AL    10/21/2013   2013   No MSB              No Payday Lenders or MSB
VA    10/22/2013   2013   No MSB              No MSB
KS    10/22/2013   2013   No MSB              No MSB
VA    10/22/2013   2013   No Payday           No Payday Lenders
SC    10/22/2013   2013   No MSB              No MSB
CA    10/22/2013   2013   No MSB              No MSB
AL    10/22/2013   2013   No MSB              No MSB
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AL    10/22/2013   2013   No Payday           Signers must be present
AL    10/22/2013   2013   No MSB              No MSB and signers must always be present to cash checks
AL    10/22/2013   2013   No MSB              BSA Dept said no
AL    10/22/2013   2013   No MSB              Can't handle MSB accounts
KS    10/22/2013   2013   No MSB              No MSB, app wouldn't be approved if we submitted one
AL    10/22/2013   2013   No MSB              No MSB
SC    10/22/2013   2013   No MSB              No MSB
AL    10/22/2013   2013   No Payday           No Payday Lenders
TN    10/22/2013   2013   No Payday           No Payday Lenders
TN    10/22/2013   2013   No Payday           They do not bank payday lenders, because it’s a conflict of interest. Credit counseling
AL    10/22/2013   2013   No MSB              No MSB/Payday Lenders
AL    10/22/2013   2013   No MSB              No reason provided
AL    10/22/2013   2013   No MSB              No MSB
KS    10/22/2013   2013   No MSB              No MSB
SC    10/22/2013   2013   No MSB              No MSB
VA    10/23/2013   2013   No MSB              BSA says no to Payday Lenders
VA    10/23/2013   2013   No Payday           Not interested at all in our business
TX    10/25/2013   2013   No MSB              No MSB/Payday Lenders
SC    10/30/2013   2013   No MSB              No Payday Lenders or MSB
AL    10/30/2013   2013   No MSB              No MSB
AL    10/30/2013   2013   No MSB              No, MSB regulations are too strict
MO    10/30/2013   2013   No MSB              No MSB businesses because too much work
SC    10/30/2013   2013   Closed due to MSB   Not adding MSB companies
AL    10/30/2013   2013   No MSB              do not presently bank any pay day/cash advance companies
AL    10/30/2013   2013   No MSB              No Payday Lenders or MSB
AL    10/30/2013   2013   Closed due to MSB   Not accepting anymore MSB/Payday Lenders
AL    10/31/2013   2013   No MSB              No MSB
CA     11/1/2013   2013   No Payday           Out of their scope
IN     11/1/2013   2013   Closed due to MSB   Closed our account due to MSB
WA     12/5/2013   2013   No MSB              too Small
AL     3/13/2014   2014   No MSB              No MSB
AL     3/13/2014   2014   No MSB              No accounts for MSB or Payday companies
AL     3/19/2014   2014   No MSB              No MSB
AL     3/19/2014   2014   No MSB              Don't bank with our industry
AL     3/20/2014   2014   No Payday           No Payday Lenders
AL     3/26/2014   2014   No MSB              No MSB
AL     3/26/2014   2014   No MSB              No Payday Lenders or MSB
AL      4/4/2014   2014   No MSB              No Payday, Maybe MSB
KY      4/4/2014   2014   No Payday           No Payday Lenders
NAT    4/10/2014   2014   Closed due to MSB   No new accounts due to MSB and Mexican ownership
IL     4/10/2014   2014   No, no Reason       Not at this time
IL     4/10/2014   2014   No, no Reason       No new MSB
IL     4/10/2014   2014   No, no Reason       Don't bank with our industry
IL     4/10/2014   2014   No Payday           Signers must be present
FL     4/11/2014   2014   No MSB              Cannot handle our business- small community bank
MI     4/11/2014   2014   No MSB              No MSB
OH     4/11/2014   2014   No MSB              Cannot handle our businesss
OH     4/14/2014   2014   No MSB
OH     4/14/2014   2014   No MSB              MSB
OH     4/14/2014   2014   No Payday           entails too much work for the bank
OH     4/14/2014   2014   No MSB              No (they would not specify a reason)
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OH    4/14/2014   2014   No MSB              CIP procedures is the main reason they cannot open the account
FL    4/14/2014   2014   No Payday           signers must be present, no MSB
KY    4/18/2014   2014   No Payday           No Payday Lenders
MI    4/21/2014   2014   No Payday           entails too much work for the bank
FL    4/22/2014   2014   Closed due to MSB   MSB
IL    5/19/2014   2014   No MSB              MSB
LA    5/30/2014   2014   Closed due to MSB   Closed account b/c of MSB
CA    5/30/2014   2014   Closed due to MSB   Closed account b/c of MSB
TX    6/27/2014   2014   No MSB              No MSB
LA     7/3/2014   2014   No MSB              No more MSB accounts
LA     7/7/2014   2014   No MSB              No MSB
LA     7/7/2014   2014   No MSB              No MSB
LA     7/7/2014   2014   No MSB              No MSB
LA     7/7/2014   2014   No MSB              No MSB
TX     7/7/2014   2014   No MSB              No MSB
LA     7/7/2014   2014   No MSB              No MSB
LA     7/8/2014   2014   No Payday           Licensed Check Casher
LA     7/8/2014   2014   No MSB              No MSB
LA     7/9/2014   2014   No MSB              No MSB
LA     7/9/2014   2014   No MSB              No MSB and signers must always be present to open account
LA    7/10/2014   2014   No MSB              No more MSB accounts
LA    7/10/2014   2014   No MSB              No MSB
LA    7/10/2014   2014   No MSB              No MSB
DE    7/14/2014   2014   No MSB              No longer opening accounts for Payday Companies
DE    7/14/2014   2014   No MSB              No longer opening accounts for Payday Companies
LA    7/15/2014   2014   No MSB              No MSB, bank is too small
TX    7/18/2014   2014   No MSB              MSB is too much of a risk
TX    7/18/2014   2014   No MSB              Can't handle any additional volume
LA    7/18/2014   2014   Closed due to MSB   Don't bank with our industry
MI    7/31/2014   2014   Closed due to MSB   Closed our account due to MSB
OH    7/31/2014   2014   Closed due to MSB   Closed our account due to MSB
OH    8/30/2014   2014   Closed due to MSB   Closed our account due to MSB
RI    8/30/2014   2014   Closed due to MSB   Closed our account due to MSB
IN    10/8/2014   2014   No MSB              MSB
OH    10/8/2014   2014   Closed due to MSB   MSB
IN   10/14/2014   2014   No MSB              MSB
IN   10/22/2014   2014   No Payday           Not interested at all in our business
SC   12/22/2014   2014   No MSB              They do not bank any Payday Co.
SC   12/31/2014   2014   No MSB              They are not interested in banking Payday
SC     1/2/2015   2015   No MSB              They are not banking any MSB
SC    1/14/2015   2015   No MSB              They cannot monitor our account/MSB
SC    1/14/2015   2015   No MSB              They do not bank anyone that offers MSB services
SC    1/23/2015   2015   No Payday           They do not bank Payday Lenders
KY    1/26/2015   2015   No MSB              too much strain on their individual branches(per a decision made in 2014 by the institution as a whole)
SC    3/19/2015   2015   No Payday           They do not bank Payday Lenders
OK     6/1/2015   2015   Closed due to MSB   Closed our account due to MSB
OK     6/1/2015   2015   Closed due to MSB   Closed our account due to MSB
IN     8/5/2015   2015   No MSB              buisness review board said no to our request to open an account
VA   10/30/2015   2015   Closed due to MSB   High Risk
IL   11/25/2015   2015   No Payday           They do not bank Payday Lenders
LA   12/10/2015   2015   No MSB              The are too small to bank us
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SD    1/28/2016   2016   Closed due to MSB   Closing 2/27/2016 due to MSB registration
SD     2/3/2016   2016   No MSB              MSB
SC     6/3/2016   2016   No MSB              MSB
MI   10/21/2016   2016   Closed due to MSB   No Payday Lenders Closing 11/20/2016
MI   10/21/2016   2016   Closed due to MSB   No Payday Lenders Closing 11/20/2016
MI   10/21/2016   2016   Closed due to MSB   No Payday Lenders Closing 11/20/2016
MI    11/2/2016   2016   No MSB              No MSB
VA   11/18/2016   2016   No Payday           No payday lenders
VA   11/18/2016   2016   No MSB              No MSB
VA   11/18/2016   2016   No MSB              No MSB
KY   11/21/2016   2016   Closed due to MSB   Due to type of business closing on 12/31/2016
KY   11/21/2016   2016   Closed due to MSB   Due to type of business closing on 12/31/2016
VA   11/22/2016   2016   No Payday           Signers have to be present/ No MSB
MI   11/22/2016   2016   No MSB              No MSB
SD    12/8/2016   2016   Closed due to MSB
KY    12/9/2016   2016   Closed due to MSB   Payday Lender
IL   12/27/2016   2016   No MSB              No more accounts, our acct was grandfathered
MO   12/29/2016   2016   No Payday           Don't bank with our industry
KY   12/29/2016   2016   No Payday           Signers Must Be Present
AL   12/29/2016   2016   No MSB
AL   12/29/2016   2016   No MSB              No new accounts over the phone - 1 center
MO   12/29/2016   2016   No Payday           Signers must be present - 2 centers
KY   12/29/2016   2016   No Payday           No Payday Lenders
LA   12/29/2016   2016   No Payday           Don't bank with our industry
IL   12/29/2016   2016   No Payday           Don't bank with our industry
MO   12/29/2016   2016   No MSB
MO   12/29/2016   2016   No MSB              Conflict of interest
Mo   12/29/2016   2016   No Payday           Don't bank with our industry
AL   12/29/2016   2016   No, no Reason       No reason provided
ID   12/29/2016   2016   No MSB              No MSB accounts
KY   12/29/2016   2016   No Payday           No Payday Lenders
NV   12/29/2016   2016   No MSB              No MSB
WY   12/29/2016   2016   No Payday           No Payday Lenders
MO   12/29/2016   2016   No Payday           Signers must be present - 1 center
WY   12/29/2016   2016   No Payday           Signers Must Be Present
MO   12/29/2016   2016   No Payday           Don't bank with our industry
MO   12/29/2016   2016   No MSB              Don't have enough employees to handle our account
NE   12/29/2016   2016   No MSB              No MSB
WY   12/29/2016   2016   No Payday           Signers Must Be Present
NV   12/29/2016   2016   No MSB              No MSB
NV   12/29/2016   2016   No MSB              No MSB
NV   12/29/2016   2016   No MSB              No MSB
LA   12/29/2016   2016   No Payday           Don't bank with our industry
LA   12/29/2016   2016   No Payday           Don't bank with our industry
MO   12/29/2016   2016   No MSB              No MSB accounts
AL   12/29/2016   2016   No Payday           Don't bank with our industry
WY   12/29/2016   2016   No MSB              MSB
AL   12/29/2016   2016   No Payday           Don't bank with our industry
LA   12/29/2016   2016   No Payday           Don't bank with our industry
WY   12/29/2016   2016   No Payday           Signers Must Be Present
AL   12/29/2016   2016   No Payday           Don't bank with our industry
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MO   12/29/2016   2016   No, no Reason       No reason provided
LA   12/29/2016   2016   No MSB              Corporate office not in LA, MSB
AL   12/29/2016   2016   No Payday           Don't bank with our industry
LA   12/29/2016   2016   No Payday           Don't bank with our industry
IL   12/29/2016   2016   No Payday           Signers must be present - 1 center
IL   12/29/2016   2016   No, no Reason       No reason provided
WY   12/29/2016   2016   No Payday           No Payday Lenders
MO   12/29/2016   2016   No Payday           Don't bank with our industry
MO   12/29/2016   2016   No Payday           Don't bank with our industry
NV   12/29/2016   2016   No MSB              No MSB
MO   12/29/2016   2016   No Payday           Signers must be local - 1 center
IL   12/29/2016   2016   No MSB              Aren't equipped to handle our type of account
ID   12/29/2016   2016   No MSB              Stored-Value Cards and can't properly id signers
NV   12/29/2016   2016   No MSB              No MSB
MO   12/29/2016   2016   No Payday           Signers must be present - 1 center
AL   12/29/2016   2016   No MSB              Can't handle our activity
AL   12/29/2016   2016   No MSB              No new accounts over the phone - 1 center
MO   12/29/2016   2016   No Payday           Don't bank with our industry
WY   12/29/2016   2016   No MSB              High Risk
WY   12/29/2016   2016   No MSB              No MSB
NV   12/29/2016   2016   No MSB              No MSB
AL   12/29/2016   2016   No Payday           Don't bank with our industry
IL   12/29/2016   2016   No Payday           Don't bank with our industry
AL   12/29/2016   2016   No Payday           Don't bank with our industry
AL   12/29/2016   2016   No Payday           Don't bank with our industry
WY   12/29/2016   2016   No Payday           No Payday Lenders
AL   12/29/2016   2016   No Payday           Signers must be present - 1 center
IL   12/29/2016   2016   No MSB              Type of account
MO   12/29/2016   2016   No Payday           Don't like to bank with payday loan companies
AL   12/29/2016   2016   No Payday           Don't bank with our industry
AL   12/29/2016   2016   No Payday           Don't bank with our industry
KY   12/29/2016   2016   No MSB              No MSB
MO   12/29/2016   2016   No Payday           Don't bank with our industry
IL   12/29/2016   2016   No MSB              Doesn't open for MSBs anymore
LA   12/29/2016   2016   No MSB              Don’t open business accounts
LA   12/29/2016   2016   No Payday           Signers must be present - 1 center
AL   12/29/2016   2016   No Payday           Don't bank with our industry
ID   12/29/2016   2016   No Payday           signers must be present
NV   12/29/2016   2016   No MSB              No MSB
WY   12/29/2016   2016   No Payday           Signers Must Be Present
MO   12/30/2016   2016   No, no Reason       told Becky no by email
SC    3/31/2017   2017   Closed due to MSB   Reviewed Account, felt relationship no longer desireable Closing 1/31/2017
IL    4/26/2017   2017   No Reason Given     Received letter stating they wished to close account, no reason given.
KY    6/19/2017   2017
TX    7/28/2017   2017   No Payday           No Payday Lenders
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Business                                                                                                                                                                                   PeopleSoft                                                 Type of                    Deposit    Disbursement   Disbursement      Disbursement                                                           nt
  Unit                    State                                       Bank           Account                                            Title                             DBA                 GL         SAP GL      Status   Reports   Analysis      Account       Notes         ABA           ABA         Serial Digits   Fractional ABA         Check MICR Specs           Deposit MICR Specs   Digits Concentration
     115    Iowa                         American Bank                                   7079737   McKenzie Check Advance of Iowa, LLC                             Advance America            7204      1003980051   Open                  ?        Single                      073906131    073906131           10            72-613/739
       46   Virginia - AA                American National Bank                       1515831401   Advance America, Cash Advance Centers of Virginia, Inc.                                    7955      1003980053   Open                           Single                      5001-1010    051401027            8            68-102/514  @051401027@XCCCCCCCCCC*XXXXX@5001-1010@XCCCCCCCCCC*XXXX     10
     946    Viginia - ECA                American National Bank                       1509065501   Express Check Advance of Virginia, LLC                                                     7078      1003980052   Open                           Single                      051401027    051401027            8            68-102/514
       40   South Carolina - AA          Arthur State Bank                              95740346   Advance America, Cash Advance Centers of South Carolina, Inc.   Advance America and        7943      1003980062   Open               Statement   Single                      053201034    053201034            8            67-103/532
       36   National                     Arvest Bank                                    29351811   Advance America, Cash Advance Centers, Inc.                     Advance America, Nat       7832      1003980071   Open                 Online    Deposit                     502000000         -               -                 -
       36   National                     Arvest Bank                                    29351837   Advance America, Cash Advance Centers, Inc.                     Advance America, Nat       7232      1003980081   Open                 Online    Disbursement                    -        082908816            8            81-881/829
     254    Texas - CSO                  Austin Bank                                   600025585   ACSO of Texas, L.P.                                                                        7748      1003980101   Open                Emailed    Single                      113103276    113103276            8           88-327/1131
       36   National                     BancFirst                                    4005075924   Advance America, Cash Advance Centers, Inc.                     Advance America, Che       7837      1003980112   Open                Mailed     Deposit                     103003632         -               -           39-363/1030
       36   National                     BancFirst                                    4005177328   Advance America, Cash Advance Centers, Inc.                     Advance America, Che       7026      1003980111   Open                Mailed     Disbursement                    -        103003632            8           39-363/1030
       99   National                     Bancorp South Bank                             17127242   Advance America, Cash Advance Centers, Inc.                     Advance America, Nat       7597      1003980121   Open                  822      Deposit                     5533-0000         -               -                 -
       99   National                     Bancorp South Bank                             60833597   Advance America, Cash Advance Centers, Inc.                     Advance America, Nat       7100      1003981072   Open                  822      Disbursement                    -        065300486            9            85-127/842
       99   National - ECA               Bancorp South Bank                             60550977   Express Check Advance LLC                                       Express Check Advanc       7646      1003980122   Open                           Single                      5533-0000    084201278            9           82-127-842
       99   National                     Bank MidWest                                 8107580851   Advance America, Cash Advance Centers, Inc.                                                7212      1003980131   Open                Mailed     Single                      5011-6699    101006699            9           18-669/1010
       42   Tennessee - AA               Bank of Frankewing                              4437853   Advance America, Cash Advance Centers of Tennessee, Inc.        Advance America            7291      1003980161   Open               Statement   Single                      064106775    064106775            9            87-677/641
     924    Mississippi - ECA            Bank of Franklin                                  79822   Experss Check Advance of Mississippi, LLC                                                  7662      1003980171   Open               Statement   Single                      065304327    065304327            9            85-432/653
       17   Kentucky - AA                Bank of Maysville                              59023127   Advance America, Cash Advance Centers of Kentucky, Inc.                                    7973      1003980947   Open                           Single                      042101006    042101006            9            73-100/421  @042101006@XMMMMXCCC-CCCCC* @042101006@XXXXXXCCC-CCCCC*       8
       99   National                     Bank of Oklahoma                               19900410   Advance America, Cash Advance Centers, Inc.                     Advance America, Che       7835      1003980181   Open                 822       Deposit                     103900036         -               -           39-363/1030
     946    Viginia - ECA                Bank of Oklahoma                              209931055   Express Check Advance of Virginia, LLC                          Express Check Advanc       7939      1003980182   Open                           Liquidity                   103900036         -               -           39-363/1030
     254    Texas - CSO                  Bank of Texas                                2880799842   ACSO of Texas, L.P.                                                                        7901      1003980191   Open                Mailed     Single      Lockbox for A 111014325      111014325           10          32-1432/1110
     224    Mississippi - CA             Bank of Winona                                  6516991   AAFA of Mississippi, Inc                                        Check Advance              7229      1003980201   Open                   ?       Single                      084201524    084201524            9            85-152/842
       24   Mississippi - AA             Bank Plus                                    1220036063   Advance America, Cash Advance Centers of Mississippi, LLC                                  7599      1003980211   Open               Statement   Single                      065301948    065301948           10            85-194/653
       99   National - ECA               Bank Plus                                    1420015107   Express Check Advance LLC                                                                  7666      1003980231   Open                           Single                      065301948    065301948           10            85-194/653
     124    Mississippi - NCA            Bank Plus                                    1220039026   McKenzie Check Advance of Mississippi, LLC.                     National Cash Advanc       7108      1003981273   Open                   ?       Single                      065301948    065301948           10            85-194/653
     924    Mississippi - ECA            BankFirst                                       5710835   Express Check Advance of Mississippi, LLC                                                  7663      1003980222   Open               Statement   Single                      084201786    084201786            8            85-178/842
       14   Indiana - AA                 BloomBank                                      10078827   Advance America, Cash Advance Centers of Indiana, Inc.                                     7164      1003980271   Open                   ?       Single                      5011-0000    081304822           10            71-482/813
       99   National - Money Market      BNC                                        430900013334   Advance America, Cash Advance Centers, Inc.                                                8017      1003980037   Open                           Corporate                                053112039            9
       49   Wisconsin - AA               Bremer Bank - WI                                3146240   Advance America, Cash Advance Centers of Wisconsin, Inc.        Advance America, Che       7132      1003980301   Open                Online     Single                      091809731    096010415            9          75-1041/960
       13   Illinois - AA                Busey Bank                                    600637301   Advance America, Cash Advance Centers of Illinois, Inc.                                    7166      1003980311   Open                Mailed     Single                      071102568    071102568            9           70-256/711
       25   Missouri - AA                Callaway Bank                                    391351   Advance America, Cash Advance Centers of Missouri, Inc.                                    7893      1003980331   Open                  ?        Single                      081501696    081501696            8           80-169/815
       99   Political Action Committee   Capital Bank                               560002762206   Advance America, Cash Advance Centers, Inc                                                 7258           -       Open                           Corporate                   067011760    067011760            8          63-1176/670
        9   Florida - AA                 Capital City Bank                            2300366801   Advance America, Cash Advance Centers of Florida, LLC                                      7378      1003980361   Open                Mailed     Single                      063100688    063100688            9           63-68/631
       40   South Carolina - AA          Carolina Alliance - Corp                       10179562   Advance America, Cash Advance Centers South Carolina, Inc.                                 8008      1003980373   Open                           Corporate                   053208202    053208202            9           67-820/532
       99   National - CCK               Carolina Alliance Bank - Corp                  10179554   Advance America, Cash Advance Centers, Inc.                                                8009      1003980374   Open                           Corporate                                053208202           10
       40   South Carolina - AA          Carolina Bank                                 701143606   Advance America, Cash Advance Centers of South Carolina, Inc.   Advance America and        7931      1003980372   Open               Statement   Single                      053207216    053207216            9           67-721/532
       25   Missouri - AA                CBC Bank                                         619027   Advance America, Cash Advance Centers of Missouri, Inc.                                    7960      1003980406   Open                           Single                      081505388    081505388            9           80-538/815
       50   Wyoming - AA                 Central Bank & Trust                             134551   Advance America, Cash Advance Centers of Wyoming, Inc.                                     7966      1003980413   Open                           Single                      102300404    102300404            9           99-40/1023
       17   Kentucky - AA                Central Bank of Jefferson County               80019931   Advance America, Cash Advance Centers of Kentucky, Inc.                                    8013      1003980414   Open                           Single                      083002533    083002533            9           21-253/830
       25   Missouri - AA                Central Bank of Sedalia                       127123721   Advance America, Cash Advance Centers of Missouri, Inc.                                    7965      1003980412   Open                           Single                      101902052    101902052            9          80-205/1019
       16   Kansas                       Central National Bank                         410238899   Advance America, Cash Advance Centers of Kansas, Inc.           Advance America            7284      1003980411   Open                  ?        Single                      101101293    101101293            9          83-129/1011
       13   Illinois - AA                Centrue Bank                                 3133851001   Advance America, Cash Advance Centers of Illinois, Inc.                                    7372      1003981571   Open                  ?        Single                      071901837    071901837            8          70-183/0719
       99   Alabama - AA                 Century Bank                                     998376   Advance America, Cash Advance Centers, Inc                                                 7452      1003980421   Open                Mailed     Single                      065303328    065303328            8           85-332/653
     901    Alabama - ECA                Century Bank                                     911510   Express Check Advance of Alabama, LLC                                                      7710      1003980423   Open                Mailed     Single                      065303328    065303328            8           85-332/653
     222    Michigan - AA                Century Bank & Trust                            1273689   ACSO of Michigan, Inc.                                                                     7162      1003980422   Open                Mailed     Single                      072404883    072404883            9           74-488/724
       99   National - OH                Century National Bank                     1090110159173   Advance America, Cash Advance Centers, Inc.                                                7091      1003980424   Open                Mailed     Single                      044101305    044101305           10         56-7209/2441
        1   Alabama - AA                 Cheaha Bank                                    54001048   Advance America, Cash Advance Centers of Alabama, Inc.                                     7967      1003980448   Open                           Single                      062206376    062206376            9           61-637/622
       99   National                     Citizens Bank                                  18527499   Advance America, Cash Advance Centers, Inc.                     Advance America, Nat       7557      1003980467   Open                Mailed     Single                      062201559    062201559            9           61-155/622
     917    Kentucky - ECA               Citizens Bank                                   2014467   Express Check Advance of Kentucky, LLC                          Express Check Advanc       7712      1003980470   Open                           Single                      083903195    083903195            9           73-319/839
       14   Indiana - AA                 Citizens Bank - IN                             10918667   Advance America, Cash Advance Centers of Indiana, Inc.                                     7135      1003980462   Open                Mailed     Single                      074905225    074905225            8           71-522/749
       24   Mississippi - AA             Citizens Bank - MS                              6524748   Advance America, Cash Advance Centers of Mississippi, LLC                                  7444      1003980466   Open               Statement   Single                      065304385    065304385            8          85-438-653
     924    Mississippi - ECA            Citizens Bank - MS                              6517585   Express Check Advance of Mississippi, LLC                                                  7713      1003980471   Open               Statement   Single                      065304385    065304385            8          85-438-653
       18   Louisiana - AA               Citizens Bank & Trust - LA                        90263   Advance America, Cash Advance Centers of Louisiana, LLC                                    7847      1003980473   Open               Statement   Single                      111103524    111104921            9          84-492/1111
       18   Louisiana - AA               Citizens Bank & Trust Co - LA                    368522   Advance America, Cash Advance Centers of Louisiana, LLC                                    7137      1003981141   Open                Mailed     Single                      065403150    065403150            7           84-315/654
       46   Virginia - AA                Citizens Bank & Trust Co - VA                   1194151   Advance America, Cash Advance Centers of Virginia, Inc.         Advance America            7570      1003980469   Open               Statement   Single                      5011-0223    051402233            7           68-223/514
     946    Virginia - ECA               Citizens Bank & Trust Co - VA                   1194178   Express Check Advance of Virginia, LLC                          Express Check Advanc       7571      1003980461   Open               Statement   Single                      5011-0223    051402233            7           68-223/514
     222    Michigan - AA                Citizens National Bank - MI                    26056268   ACSO of Michigan, Inc.                                                                     7210      1003980476   Open               Statement   Single                      072402212    072402212            8           74-221/724
     924    Mississippi - ECA            Citizens National Bank - MS                   101429116   Express Check Advance of Mississippi, LLC                                                  7716      1003980475   Open                           Single                      065300211    065300211            7           85-21/653
     918    Louisiana - ECA              Citizens Savings Bank                         280011968   Express Check Advance of Louisiana LLC                          ECA                        7961      1003980478   Open                           Single                      265270138    265270138            9         84-7013/2652
       14   Indiana - AA                 Citizens State Bank                          2007138801   Advance America, Cash Advance Centers of Indiana, Inc.                                     7820      1003981221   Open               Statement   Single                      074902082    074902082           10           71-208/749
       42   Tennessee - AA               Citizens Tri-County Bank                     1220219218   Advance America, Cash Advance Centers of Tennessee, Inc.                                   8016      1003980479   Open                           Single                      1111-1000    064102070            9           87-207/641
       99   National                     City National Bank                           9010507060   Advance America, Cash Advance Centers, Inc.                     Advance America or C       7086      1003980491   Open                           Single                      051904524    051904524            9           69-452/519
     217    Kentucky - CA                City National Bank                           8005380996   Advance America, Cash Advance Centers of Kentucky, Inc.         Check Advance              7233      1003980492   Open                Mailed     Single                      051904524    051904524            9           69-452/519
       16   Kansas                       Commercial Bank - KS                              30503   Advance America, Cash Advance Centers of Kansas, Inc.           Advance America            7110      1003981351   Open               Statement   Single                      101100375    101100375            7           83-37/1011
        1   Alabama - AA                 Community Bank and Trust                       10638039   Advance America, Cash Advance Centers of Alabama, LLC                                      7869      1003980501   Open                   ?       Single                      062104070    062104070            9         61-407/621 91
       16   Kansas                       Community National Bank - KS                 1310002371   Advance America, Cash Advance Centers of Kansas, Inc.           Advance America            7197      1003980502   Open                   ?       Single                      101105817    101105817           10          83-581/1011
       42   Tennessee - FACA             Community National Bank - TN                    1330562   Advance America, Cash Advance Centers of Tennessee, Inc.        First American Cash A      7230      1003980504   Open                   ?       Single                      64201120     064201120            8           87-112/642
       13   Illinois - AA                Community State Bank                             203612   Advance America, Cash Advance Centers of Illinois, Inc.                                    7383      1003980503   Open               Statement   Single                      071124931    071124931            8          70-2493/711
       17   Kentucky - AA                Community Trust Bank - KY                    4001821000   Advance America, Cash Advance Centers of Kentucky, Inc.         Advance America, Firs      7131      1003980505   Open                Mailed     Single                      5524-0600    042102694            9           73-269/421
       42   Tennessee - AA               Community Trust Bank - TN                    4002821256   Advance America, Cash Advance Centers, Inc.                     Advance America, Firs      7234      1003980506   Open                Mailed     Single                      5524-0600    042102694            9           73-269/421
     115    Iowa                         Connection Bank - Formerly Fort Madison         1085083   McKenzie Check Advance of Iowa, LLC                             Advance America            7395      1003980911   Open               Statement   Single                      073901314    073901314            -           72-131/739
       16   Kansas                       Corner Bank                                  3500313483   Advance America, Cash Advance Centers of Kansas, Inc.           Advance America            7800      1003980521   Open                Mailed     Single                      101101109    101101109            7          83-110/1011
       99   National                     Delta Bank                                      6037899   Advance America, Cash Advance Centers, Inc.                     Advance America, Nat       7600      1003980551   Open               Statement   Single                      5501-0114    111101144            9          84-114/1111
     924    Mississippi - ECA            Delta Bank                                      6037907   Express Check Advance of Mississippi, LLC                                                  7721      1003980552   Open                Mailed     Single                      111101144    111101144            9          84-114/1111
     924    Mississippi - ECA            DeSoto County Bank                               500959   Express Check Advance of Mississippi, LLC                                                  7722      1003980561   Open                           Single                      065306189    065306189            6           85-623/840
       40   South Carolina - AA          Enterprise Bank of SC                         211106612   Advance America, Cash Advance Centers of South Carolina, Inc.                              7936      1003980571   Open                           Single                      053202871    053202871            9           67-287/532
       99   National                     Evangeline Bank                                  434559   Advance America, Cash Advance Centers, Inc.                                                7904      1003980591   Open                           Single                      065200531    065200531            8           64-53/652
     918    ECA                          Evangeline Bank                                  429829   Express Check Advance, LLC                                                                 7723      1003980592   Open                           Single                      065200531    065200531            8           64-53/652
       46   Virginia - AA                EVB                                            11143094   Advance America, Cash Advance Centers of Virginia, Inc.                                    7572      1003980593   Open                Mailed     Single                      051404383    051404383            9           68-438/514
       36   Oklahoma - AA                Exchange Bank & Trust Co.                       2022906   Advance America, Cash Advance Centers of Oklahoma, Inc.                                    7818      1003980601   Open                Mailed     Single                      103101628    103101628            7          86-162/1031
       25   Missouri - AA                F & M Bank and Trust Company                    1003518   Advance America, Cash Advance Centers of Missouri, Inc.                                    7964      1003980608   Open                           Single                      281573013    281573013            9         80-7301/2815
     249    Wisconsin - AA               Farmers and Merchants Bank                      1022672   Advance America, Cash Advance Centers of Wisconsin, Inc.                                   7954      1003980610   Open                           Single                      075907442    075907442            7           79-744/759
       17   Kentucky - AA                Farmers Bank - KY                              10266259   Advance America, Cash Advance Centers of Kentucky, Inc.                                    7168      1003980612   Open               Statement   Single                      042101792    042101792            9           73-179/421    @075907442@XXX*CCCCCCC*XXXXX@075907442@XXX*CCCCCCC*XXXX       7
       46   Virginia - AA                Farmers Bank - VA                             517404101   Advance America, Cash Advance Centers of Virginia, Inc.                                    7626      1003980613   Open               Statement   Single                      051405670    051405670            9           68-567/514
       13   Illinois - AA                FCB Collinsville Bank                         372657501   Advance America, Cash Advance Centers of Illinois, Inc.                                    8018      1003980615   Open                           Single                      81025198     372657501            9
       99   National                     Field & Main Bank                               9019252   Advance America, Cash Advance Centers, Inc                                                 7969      1003980609   Open                           Corporate                   083900525    083900525            9            73-52/839
     917    Kentucky - ECA               Field & Main Bank                               7018248   Express Check Advance of Kentucky, LLC                          Express Check Advanc       7797      1003981181   Open                           Single                      083900525    083900525            9            73-52/839
     115    Iowa                         First American Bank                            11339279   McKenzie Check Advance of Iowa, LLC                             Advance America            7285      1003980662   Open                Mailed     Single                      073900807    073900807            8            72-80/739
     924    MS - ECA                     First American National Bank                     172510   Express Check Advance of Mississippi, LLC                                                  7724      1003980661   Open                           Single                      084201058    084201058            8           85-105/842
       18   Louisiana - AA               First Bank - LA                                  142554   Advance America, Cash Advance Centers of Louisiana, LLC                                    7385      1003980673   Open                Mailed     Single                      065200515    065200515            8            84-51/652
       99   Mississippi                  First Bank - MS                                  812552   Advance America, Cash Advance Centers, Inc.                     Advance America or N       7867      1003980671   Open               Statement   Single                      065303386    065303386           10           85-338-653
       40   South Carolina - AA          First Bank - SC                               831002107   Advance America, Cash Advance Centers of South Carolina, Inc.                              7928      1003980672   Open                   ?       Single                      053104568    053104568            9           66-456/531
       24   Mississippi - AA             First Choice Bank                                155300   Advance America, Cash Advance Centers of Mississippi, LLC       Advance America            7899      1003980763   Open                   ?       Single                      084202073    084202073            7           85-207/842
       17   Kentucky - AA                First Citizens Bank                             8394725   Advance America, Cash Advance Centers of Kentucky, Inc.                                    7946      1003980687   Open                           Single                      083901100    083901100            9           73-110/839    @083901100@MMMMXCCXCCCCXC*X@083901100@XXXXXCCXCCCCXC*X        7
     917    Kentucky - ECA               First Citizens Bank                             8087555   Express Check Advance of Kentucky, LLC                          Express Check Advanc       7726      1003980684   Open                Mailed     Single                      083901100    083901100            9           73-110/839    @083901100@XXXXXCCXCCCCXC*XX@083901100@XXXXXCCXCCCCXC*X       7
       99   National                     First Community Bank                           10652006   Advance America, Cash Advance Centers, Inc.                                                7094      1003980691   Open                Mailed     Single                      051501299    051501299            9           69-129/515
     115    Iowa                         First Community Bank - IA                     150002459   McKenzie Check Advance of Iowa, LLC                             Advance America            7386      1003980692   Open               Statement   Single                      273970446    273970446            8          72-7044/2739
       99   National                     First Farmers Bank & Trust                      1751263   Advance America, Cash Advance Centers, Inc.                                                7923      1003980642   Open                           Single                      074911578    074911578            9          74-1157/749
        9   Florida - AA                 First Federal Bank of FL                        1905580   Advance America, Cash Advance Centers of Florida, LLC                                      7295      1003980711   Open                Mailed     Single                      263184488    263184488           10          63-8448/2631
     254    Texas - CSO                  First Financial Bank                        53110000717   ACSO of Texas, L.P.                                                                        7755      1003980721   Open                Mailed     Single                      111903575    111903575            9          35-1054/1134
       13   Illinois - AA                First MidWest Bank                           8100434821   Advance America, Cash Advance Centers of Illinois, Inc.                                    7071      1003980751   Open                Mailed     Single      Lockbox for 3r 071901604     071901604           10           70-160/719
       14   Indiana - AA                 First MidWest Bank                           8100456485   Advance America, Cash Advance Centers of Indiana Inc.                                      7919      1003980752   Open                Mailed     Single      Lockbox for 3r 071901604     071901604           10          70-2646/719
     115    Iowa                         First Midwest Bank                           8100483547   McKenzie Check Advance of Iowa, LLC                             Advance America            7968      1003980753   Open                           Single                      071901604    071901604           10           70-160/719
        1   Alabama - AA                 First National Bank - AL                       80401679   Advance America, Cash Advance Centers of Alabama, LLC                                      7524      1003980765   Open                Mailed     Single                      5021-0285    062202859            8           61-285/622
     115    Iowa                         First National Bank in Fairfield                1141651   McKenzie Check Advance of Iowa, LLC                             Advance America            7814      1003980764   Open                Mailed     Single                      073901877    073901877           10           72-187/739
       16   Kansas                       First National Bank of Syracuse                 1626089   Advance America, Cash Advance Centers of Kansas, Inc.           Advance America            7962      1003980766   Open                           Single                      101103686    101103686            9          83-368/1011
        9   Florida - AA                 First National Bank of Wauchula                   87173   Advance America, Cash Advance Centers of Florida, LLC                                      7427      1003980002   Open                 None      Single      per email no st 063106705    063106705            9           63-670/631                                                                      Products
       16   Kansas                       First Option Bank                               2007908   Advance America, Cash Advance Centers of Kansas, Inc.           Advance America            7205      1003980771   Open               Statement   Single                      101114109    101114109           10          83-1410/1011
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224   Mississippi - CA                   First Security Bank                                252085   AAFA of Mississippi, Inc                                         Check Advance           7239   1003980781   Open                  ?           Single                     084205915   084205915   8      85-591/842
924   Mississippi - ECA                  First Security Bank                                235954   Express Check Advance of Mississippi, LLC                                                7728   1003980782   Open                              Single                     084205915   084205915   8      85-591/842
 46   Virginia - AA                      First Sentinel Bank                              43000203   Advance America, Cash Advance Centers of Virginia, Inc.                                  7573   1003980791   Open                              Single                     5502-0401   251473512   9     68-7351/2514                                                                    January
  6   Colorado - AA                      First SouthWest Bank                            154992408   Advance America, Cash Advance Centers of Colorado, LLC                                   7545   1003980801   Open                  None        Single                     102107034   102107034         82-703/1021
 24   Mississippi - AA                   First State Bank - MS                            17220586   Advance America, Cash Advance Centers of Mississippi, LLC        Advance America         7829   1003980812   Open                   ?          Single                     084204628   084204628    9     85-462/842
 25   Missouri - AA                      First State Bank & Trust                          1121022   Advance America, Cash Advance Centers of Missouri, Inc.                                  7567   1003980822   Open                 Mailed       Single                     081517907   081517907   10    93-1790/815
  1   Alabama - AA                       First Tennessee Bank                            183868357   Advance America, Cash Advance Centers of Alabama, LLC                                    7023   1003980859   Open                              Liquidity                  084000026       -        -      26-2/840
  8   Delaware - NCAS                    First Tennessee Bank                            183868329   NCAS of Delaware, LLC                                                                    7019   1003980860   Open                              Liquidity                  084000026       -        -      26-2/840
  9   Florida - AA                       First Tennessee Bank                            189482112   Advance America, Cash Advance Centers of Florida, LLC                                    7988   1003981696   Open                              Deposit
  9   Florida - AA                       First Tennessee Bank                            189482119   Advance America, Cash Advance Centers of Florida, LLC                                    7989   1003981697   Open                              Disbursement
  9   Ohio - AAFA - Alt Dis Acct         First Tennessee Bank                            189482203   AAFA of Ohio, Inc.                                                                       8004   1003981709   Open                              Disbursement
 12   Idaho - AA                         First Tennessee Bank                            183868364   Advance America, Cash Advance Centers of Idaho, Inc.                                     7024   1003980861   Open                              Liquidity                  084000026       -       -       26-2/840                                                                      January
 13   Illinois - AA                      First Tennessee Bank                            189482126   Advance America, Cash Advance Centers of Illinois, Inc.                                  7990   1003981698   Open                              Deposit
 13   Illinois - AA                      First Tennessee Bank                            189482133   Advance America, Cash Advance Centers of Illinois, Inc.                                  7991   1003981699   Open                              Disbursement
 14   Indiana - AA                       First Tennessee Bank                            183868371   Advance America, Cash Advance Centers of Indiana, Inc.                                   7025   1003980862   Open                              Liquidity                  084000026       -        -      26-2/840
 18   Louisiana - NCA                    First Tennessee Bank                            183868350   NCA of Louisiana LLC                                                                     7022   1003980651   Open                              Liquidity                  084000026       -        -      26-2/840
 42   Tennessee - AA                     First Tennessee Bank                            102682081   Advance America, Cash Advance Centers of Tennessee, Inc.         Advance America, Firs   7865   1003980854   Open          822/Statement OnlineDeposit                    064200930       -        -          -
 42   Tennessee - AA                     First Tennessee Bank                            173390722   Advance America, Cash Advance Centers of Tennessee, Inc.         Advance America, Firs   7265   1003980853   Open          822/Statement OnlineDisbursement                   -       064204347   10     87-434/642
 42   Tennessee - Title                  First Tennessee Bank                            187874352   Advance America, Cash Advance Centers of Tennessee, Inc.                                 7925   1003980852   Open          822/Statement OnlineDisbursement                   -       064204347   10     87-434/642
 46   Virginia - AA                      First Tennessee Bank                            183868343   Advance America, Cash Advance Centers of Virginia, Inc.                                  7021   1003980863   Open                              Liquidity                  084000026       -        -      26-2/840
 46   Virginia - AA                      First Tennessee Bank                            183868014   Advance America, Cash Advance Centers of Virginia, Inc.                                  7081   1003980851   Open          822/Statement OnlineSingle                     084000026   084000026   10      26-2/840
 99   AP - ACH                           First Tennessee Bank                            183868133   Advance America, Cash Advance Centers, Inc                                               1002   1003981598   Open          822/Statement OnlineCorporate                  084000026   084000026   10      26-2/840
 99   Image Cash Letter                  First Tennessee Bank                            183868217   Advance America, Cash Advance Centers, Inc.                                              7978   1003981686   Open                              Deposit
 99   ECA State Funds/Repos              First Tennessee Bank                            182903638   Express Financial Services LLC                                                           7780   1003980857   Open          822/Statement OnlineDeposit                    084000026       -        -      26-2/840
 99   ECA                                First Tennessee Bank                            102835955   Express Check Advance of Mississippi, LLC                                                7729   1003980855   Open          822/Statement OnlineSingle                     084204657   084204657   10     85-465-842
 99   AP Check Account                   First Tennessee Bank                            183868315   Advance America, Cash Advance Centers, Inc.                                              7971   1003980867   Open                              Corporate
 99   Debit Card Settlement              First Tennessee Bank                            183868203   Advance America, Cash Advance Centers, Inc.                                              7976   1003981684   Open                              Corporate
 99   Lockbox                            First Tennessee Bank                            183868210   Advance America, Cash Advance Centers, Inc.                                              7977   1003981685   Open                              Corporate
 99   Main Cash Account                  First Tennessee Bank                            183868182   Advance America, Cash Advance Centers, Inc.                                              7970   1003980866   Open                              Corporate
 99   MG Express Pay                     First Tennessee Bank                            183868224   Advance America, Cash Advance Centers, Inc.                                              7979   1003981687   Open                              Corporate
 99   National - Checking                First Tennessee Bank                            183868406   Advance America, Cash Advance Centers, Inc.                                              7984   1003981692   Open                              Corporate
 99   National - Deposit                 First Tennessee Bank                            183868308   Advance America, Cash Advance Centers, Inc.                                              7983   1003981691   Open                              Corporate
 99   National - DMV                     First Tennessee Bank                            183868441   Advance America, Cash Advance Centers, Inc.                                              7987   1003981695   Open                              Corporate
 99   National - Installment             First Tennessee Bank                            183868427   Advance America, Cash Advance Centers, Inc.                                              7986   1003981694   Open                              Corporate
 99   National - Tile                    First Tennessee Bank                            183868420   Advance America, Cash Advance Centers, Inc.                                              7985   1003981693   Open                              Corporate
 99   Payroll                            First Tennessee Bank                            183868322   Advance America, Cash Advance Centers, Inc.                                              7972   1003980868   Open                              Corporate
 99   RCC Settlement                     First Tennessee Bank                            183868287   Advance America, Cash Advance Centers, Inc.                                              7980   1003981688   Open                              Corporate
 99   Remote Deposit Centers             First Tennessee Bank                            183868196   Advance America, Cash Advance Centers, Inc.                                              7975   1003981683   Open                              Corporate
 99   Remote Deposit Corporate           First Tennessee Bank                            183868189   Advance America, Cash Advance Centers, Inc.                                              7974   1003981682   Open                              Corporate
 99   Sellers Agent Collection Account   First Tennessee Bank                            183868294   Advance America, Cash Advance Centers, Inc.                                              7981   1003981689   Open                              Corporate
 99   YSA                                First Tennessee Bank                            183868301   Advance America, Cash Advance Centers, Inc.                                              7982   1003981690   Open                              Corporate
127   Nebraska                           First Tennessee Bank                            189482140   McKenzie Check Advance of Nebraska, LLC                                                  7992   1003981700   Open                              Deposit
127   Nebraska                           First Tennessee Bank                            189482147   McKenzie Check Advance of Nebraska, LLC                                                  7993   1003981701   Open                              Disbursement
222   Michigan - AA                      First Tennessee Bank                            189482161   ACSO of Michigan, Inc.                                                                   7995   1003981703   Open                              Single
254   Texas - ACSO                       First Tennessee Bank                            189482210   ACSO of Texas, L.P                                                                       8005   1003981710   Open                              Deposit
254   Texas - ACSO                       First Tennessee Bank                            189482217   ACSO of Texas, L.P                                                                       8006   1003981711   Open                              Disbursement
335   Ohio - AA Small Loan               First Tennessee Bank                            189482189   Advance America Small Loans of Ohio, Inc                                                 8002   1003981707   Open                              Single
335   Ohio - NCA Small Loan              First Tennessee Bank                            189482196   McKenzie Small Loans of Ohio, Inc. d/b/a National Cash Advance                           8003   1003981708   Open                              Single
340   South Carolina - PM                First Tennessee Bank                            189482154   AAFA of South Carolina, Inc                                      Purpose Money           7994   1003981702   Open                              Single
435   Ohio - VCSO                        First Tennessee Bank                            189482182   VCSO of Ohio, Inc.                                                                       8001   1003981706   Open                              Single
535   Ohio - ACSO                        First Tennessee Bank                            189482168   ACSO of Ohio, Inc.                                                                       7996   1003981704   Open                              Single
635   Ohio - MCSO                        First Tennessee Bank                            189482175   MCSO of Ohio, Inc.                                                                       8000   1003981705   Open                              Single
901   Alabama - ECA                      First Tennessee Bank                            183868336   Express Check Advance of Alabama, LLC                                                    7020   1003980858   Open                              Liquidity                  084000026       -        -      26-2/840
254   Texas - CSO                        First Texas Bank                                  1111019   ACSO of Texas, L.P.                                                                      7220   1003980841   Open                 Mailed       Single                     111923937   111923937    6    88-2393/1119
 36   Oklahoma - AA                      First United Bank                                 1971803   Advance America, Cash Advance Centers, Inc.                      Advance America, Nat    7536   1003980873   Open                 Mailed       Single                     103100881   103100881    8     86-88/1031
  1   Alabama - AA                       First United Security Bank                         205030   Advance America, Cash Advance Centers of Alabama, LLC                                    7805   1003980872   Open                   ?          Single                     062103592   062103592    -     61-359/621
901   Alabama - ECA                      First United Security Bank                         203457   Express Check Advance of Alabama, LLC                                                    7781   1003980871   Open                   ?          Single                     062103592   062103592    -     61-359/621
 36   Oklahoma - AA                      Firstar Bank                                       312593   Advance America, Cash Advance Centers of Oklahoma, Inc.                                  7246   1003980762   Open                   ?          Single                     103101262   103101262    9    86-126/1031
222   Michigan - AA                      Flagstar Bank                                   111113875   ACSO of Michigan, Inc.                                                                   7093   1003980881   Open                 Mailed       Single                     5800-2212   272471852   10    74-7185/2724
 18   Louisiana - AA                     Franklin State Bank                               1033352   Advance America, Cash Advance Centers of Louisiana, LLC                                  7520   1003980891   Open                   ?          Single                     111101319   111101319    8    84-131/1111
924   Mississippi - ECA                  Great Southern National Bank                   6007317084   Express Check Advance of Mississippi, LLC                                                7783   1003980921   Open                              Single                     065303784   065303784    8     85-378/653
 99   AANET ACH                          Green Bank                                     5501037708   Advance America, Cash Advance Centers, Inc                                               1007   1003980944   Open   BAI   Online-Text StatementCorporate                  113024164   113024164    9    35-2416/1130
 99   National - ACH                     Green Bank                                     5501163843   Advance America, Cash Advance Centers, Inc.                                              1038   1003980947   Open                              Corporate                              113024164
 99   National                           Green Bank                                     5501038920   Advance America, Cash Advance Centers, Inc.                                              7585   1003980941   Open         Online-Text StatementLiquidity                  113024164       -        -    35-2416/1130
 99   South Carolina - AAFA              Green Bank                                     5501039480   AAFA of South Carolina, Inc                                      Purpose Money           7584   1003980952   Open         Online-Text StatementLiquidity                  113024164       -        -    35-2416/1130
 99   National                           Green Bank                                     5501159213   Advance America, Cash Advance Centers, Inc.                                              7945   1003980946   Open         Online-Text StatementSingle                     113024164   113024164    9    35-2416/1130                                                               10
254   Texas - CSO                        Green Bank                                     5501043672   ACSO of Texas, L.P.                                                                      7907   1003980942   Open   BAI   Online-Text StatementSingle                     113024164   113024164    9    35-2416/1130
918   Louisiana - ECA                    Green Bank                                     5501044142   Express Check Advance of Louisiana LLC                                                   7908   1003980943   Open         Online-Text StatementLiquidity                  113024164       -        -    35-2416/1130
924   Mississippi - ECA                  Guaranty Bank & Trust Co                         88009147   Express Check Advance of Mississippi, LLC                                                7785   1003980951   Open                              Single                     084202251   084202251    8     85-225/842
249   Wisconsin - PF and CA              Harris Bank                                    4808841347   Advance America, Cash Advance Centers of Wisconsin, Inc.         Check Advance or Pur    7227   1003981041   Open             Online - Rufus Single                       071025661   071025661   10     2-2566/710
918   Louisiana - ECA                    Iberia Bank                                      20379533   Express Check Advance of Louisiana LLC                                                   7481   1003981471   Open                Emailed       Single                     265270413   265270413    9    84-7041/2652
 36   Oklahoma - AA                      Idabel National Bank                                 2402   Advance America, Cash Advance Centers, Inc.                                              7539   1003980991   Open                   ?          Single                     103111744   103111744    8    86-1174/1031
 36   Oklahoma - AA                      InterBank                                      1027001405   Advance America, Cash Advance Centers of Oklahoma, Inc.                                  7551   1003981011   Open                   ?          Single                     103000703   103000703    8     39-70/1030
249   Wisconsin - CA                     Jackson County Bank                               6890998   Advance America, Cash Advance Centers of Wisconsin, Inc.         Purpose Finanical       7228   1003981021   Open                 Mailed       Single                     075902968   075902968    7     79-296/759
 14   Indiana - AA                       Lafayette Bank & Trust                          520001495   Advance America, Cash Advance Centers of Indiana, Inc.                                   7851   1003981001   Open                 Mailed       Single                     074900657   074901009   10     71-100/749
 14   Indiana - AA                       Lake City Bank                                 1011097931   Advance America, Cash Advance Centers of Indiana, Inc.                                   7161   1003981031   Open                 Online       Single                     074903719   074903719   10     71-371/749
 99   National                           LCNB National Bank                              100437185   Advance America, Cash Advance Centers, Inc.                                              7956   1003981033   Open                              Single                     042205708   042205709    9
108   Delaware                           M&T Bank                                         28932960   Advance America, Cash Advance Centers of Delaware, Inc.                                  7556   1003981651   Open                 Mailed       Single                     999900004   031100092    9      62-9/311
 18   Louisiana - AA                     Marion State Bank                                   20028   Advance America, Cash Advance Centers of Louisiana, LLC          Advance America, Nat    7518   1003981061   Open                   ?          Single                     5501-0207   111102075    9    84-207/1111
222   Michigan - AA                      mBank                                            25050644   ACSO of Michigan, Inc.                                                                   7963   1003981066   Open                              Single                     091102807   091102807    9     74-280/911
 18   Louisiana - AA                     MC Bank & Trust                                   1833170   Advance America, Cash Advance Centers of Louisiana, LLC                                  7400   1003981071   Open                 Faxed        Single                     065400483   065400483    9     84-48/654
 94   Mississippi - ECA                  Mechanics Bank                                   40202013   Express Check Advance of Mississippi, LLC                                                7794   1003981073   Open                              Single                     084201184   084201184    8     85-118/842
 24   Mississippi - AA                   Merchants & Marine                                3025844   Advance America, Cash Advance Centers of Mississippi, LLC        Advance America         7401   1003981075   Open               Statement      Single                     065301362   065301362    9     85-136/653
 99   Mississippi                        Merchants & Marine                                3032426   Advance America, Cash Advance Centers, Inc.                                              7451   1003981076   Open               Statement      Single                     065301362   065301362    9     85-136/653
  1   Alabama - AA                       Metro Bank                                       16024697   Advance America, Cash Advance Centers of Alabama, LLC                                    7598   1003981081   Open                   ?          Single                     062204019   062204019    9     61-401/622
 13   Illinois - AA                      MidAmerica National Bank                            31880   Advance America, Cash Advance Centers of Illinois, Inc.                                  7298   1003981091   Open                 Online       Single      Lockbox for 3r 071102238   071102238    6     67-448/539
 36   Oklahoma - AA                      MidFirst Bank                                  1401014838   Advance America, Cash Advance Centers of Oklahoma, Inc.          Advance America and     7543   1003981101   Open                 Mailed       Single                     303087995   303087995    8    39-8799/3030
 13   Illinois - AA - 5830               Midland State Bank                             1000321592   Advance America, Cash Advance Centers of Illinois, Inc.                                  7948   1003981678   Open                              Single                     081204540   081204540    9     70-454/812     @081204540@X*CCCCCCCCCC*XXXXX@081204540@X*CCCCCCCCCC*XXX   10
 13   Illinois - AA - 609                Midland State Bank                             1000321576   Advance America, Cash Advance Centers of Illinois, Inc.                                  7947   1003981677   Open                              Single                     081204540   081204540    9     70-454/812     @081204540@X*CCCCCCCCCC*XXXXX@081204540@X*CCCCCCCCCC*XXX   10
 13   Illinois - AA - 617                Midland State Bank                             1000321584   Advance America, Cash Advance Centers of Illinois, Inc.                                  7949   1003981679   Open                              Single                     081204540   081204540    9     70-454/812     @081204540@X*CCCCCCCCCC*XXXXX@081204540@X*CCCCCCCCCC*XXX   10
 25   Missouri - 671                     Midland States Bank                            1000326705   Advance America, Cash Advance Centers of Missouri, Inc.                                  7959   1003981676   Open                              Single                     081204540   081204540    9     70-454/812
 18   Louisiana - AA                     MidSouth Bank                                     1280147   Advance America, Cash Advance Centers of Louisiana, LLC                                  7450   1003981111   Open                 Mailed       Single                     065203431   065203431    8     84-343/652
918   Louisiana - ECA                    MidSouth Bank                                     1148591   Express Check Advance of Louisiana LLC                                                   7795   1003981112   Open                 Mailed       Single                     065203431   065203431    8     84-343/652
 25   Missouri - AA                      Midwest Regional Bank                           802032641   Advance America, Cash Advance Centers of Missouri, Inc.                                  8007   1003981120   Open                              Single                     101911519   101911519    9    80-1151/1019
 13   Illinois - AA                      Morton Community Bank                              486272   Advance America, Cash Advance Centers of Illinois, Inc.                                  7075   1003981131   Open                 Online       Single                     071123204   071123204    9    70-2320/711
 46   Virginia - AA                      National Bank                                     7783285   Advance America, Cash Advance Centers of Virginia, Inc.                                  7087   1003981142   Open                              Single                     051403122   051403122    9     68-312/514
946   Viginia - ECA                      National Bank                                   104624101   Express Check Advance of Virginia, LLC                                                   7796   1003981143   Open                              Single                     051403122   051403122    9     68-312/514
222   Michigan - AA                      Nicolet National Bank (formaly MidWisconsin)      1308886   ACSO of Michigan, Inc.                                                                   8012   1003981163   Open                              Single                                 075917937    8
249   Wisconsin -                        Nicolet National Bank (formaly MidWisconsin)       201566   Advance America Cash Advance Centers of Wisconsin, Inc.          Check Advance           7245   1003981121   Open                   ?          Single                     075917937   075917937    8      79-297/915
 46   Virginia - AA                      Old Point National Bank                        1332821201   Advance America, Cash Advance Centers, Inc                       Advance America         7443   1003981202   Open                 Mailed       Single                     5001-1010   051406543    8      68-654/514
946   Virginia - ECA                     Old Point National Bank                        1326512101   Express Check Advance of Virginia, LLC                           Express Check Advanc    7077   1003981201   Open                 Mailed       Single                     5001-1010   051406543    8      68-654/514
 14   Indiana - AA                       Ossian State Bank                                  119016   Advance America, Cash Advance Centers of Indiana, Inc.                                   7299   1003981211   Open                              Single                     5001-0000   074910087   10     71-1008/749
 40   South Carolina - AA                Palmetto State Bank                              69021719   Advance America, Cash Advance Centers of South Carolina, Inc.                            7505   1003981231   Open                   ?          Single                     053202596   053202596    9      57-259/532
 99   Ohio - AA                          Peoples Bank                                   2001034900   Advance America, Cash Advance Centers, Inc.                                              7147   1003981241   Open                 Mailed       Single                     044202505   044202505   10   56-250/442 006
  1   Alabama - AA                       Peoples Bank of Alabama                          53002083   Advance America, Cash Advance Centers of Alabama, Inc.                                   7957   1003981244   Open                              Single                     062203010   062203010    9     61-301/0622
  1   Alabama - AA                       Pinnacle Bank - AL                              266092534   Advance America, Cash Advance Centers of Alabama, LLC                                    7453   1003981252   Open                   ?          Single                     262287386   262287386    9    61-8738/2622
127   Nebraska - AA                      Pinnacle Bank - NE                             2100615443   McKenzie Check Advance of Nebraska, LLC                                                  7506   1003981251   Open                 Mailed       Single      Lockbox for 3r 5000-1000   104913912    9    76-1391/1049
 46   Virginia - AA                      Pioneer Bank                                      3377571   Advance America, Cash Advance Centers of Virginia, Inc.                                  7504   1003981261   Open                   ?          Single                     051404325   051404325    9      68-432/514
 24   Mississippi - AA                   Planters Bank                                  4800131862   Advance America, Cash Advance Centers of Mississippi, LLC                                7408   1003981271   Open                 Mailed       Single                     5021-0570   084205708    8      85-570/842
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 94   Mississippi - ECA     Planters Bank                           6100046318   Express Check Advance of Mississippi, LLC                                               7799   1003981272   Open               Single                     5021-0570   084205708    8     85-570/842
924   Mississippi - ECA     Priority One                                249276   Express Check Advance of Mississippi, LLC                                               7474   1003981291   Open               Single                     065302303   065302303    8     85-230/653
254   Texas - CSO           Prosperity Bank - TX                       8327741   ACSO of Texas, L.P.                                                                     7089   1003981301   Open   Emailed     Single                     113122655   113122655    9    88-278/1149
 36   Oklahoma - AA         RCB Bank                                    651976   Advance America, Cash Advance Centers of Oklahoma, Inc.                                 7540   1003981311   Open   Mailed      Single      Lockbox for 3r 5505-0531   103112594    8    86-1259/103
 18   Louisiana - AA        Red River Bank - LA - Liquidity            5014832   Advance America, Cash Advance Centers of Louisiana, LLC                                 7548   1003981321   Open    None       Liquidity                  065205264       -        -          -
 99   Mississippi - ECA     Renasant Bank                           2658024912   Express Check Advance of Mississippi, LLC                                               7477   1003981332   Open   Mailed      Single                     084201294   084201294   10     85-129/842
 99   National              Renasant Bank                            285004640   Advance America, Cash Advance Centers, Inc.                     Advance America, Nat    7892   1003981074   Open   Mailed      Single                     084201621   084201621    9   85-162/842 28
 99   National              Republic Bank KY                          58551433   Advance America, Cash Advance Centers, Inc.                                             8015   1003981347   Open               Corporate                  83001314    83001314     9     21-131/830
  9   Florida - AA          Republic Bank of Chicago                9572006889   Advance America, Cash Advance Centers of Florida, LLC                                   8014   1003981346   Open               Single                                 071001180    9
 99   AANET Lending - ACH   Republic Bank of Chicago                9572005167   Advance America, Cash Advance Centers, Inc                                              7916   1003981342   Open    Online     Corporate
 99   NCP Collateral DACA   Republic Bank of Chicago                9550000091   Advance America, Cash Advance Centers, Inc                                              7914   1003981343   Open    Online     Corporate                  071001180   071001180    9    2-118/710
 99   Image Cash Letter     Republic Bank of Chicago                9572007039   Advance America, Cash Advance Centers, Inc.                                             8019   1003981348   Open               Deposit                    5209-0600   071001180    9    2-118/710
 99   National              Republic Bank of Chicago                9572005179   Advance America, Cash Advance Centers, Inc                                              7917   1003981344   Open     Online    Single      Lockbox for 3r 5209-0600   071001180    9    2-118/710      @071001180@XCCCCCCCCCC*XXXXXXXX @5209‐0600@XCCCCCCCCCC*XXXXXXXX   10
 46   Viginia - AA          River Community Bank                     500263915   Advance America, Cash Advance Centers of Virginia, Inc.                                 7448   1003981352   Open    Mailed     Single                     051409074   051409074    9    68-907/514
946   Viginia - ECA         River Community Bank                     500255515   Express Check Advance of Virginia, LLC                                                  7449   1003981353   Open    Mailed     Single                     051409074   051409074    9    68-907/514
 18   Louisiana - AA        Sabine State Bank                        413001679   Advance America, Cash Advance Centers of Louisiana, LLC                                 7517   1003981372   Open   Statement   Single                     111102059   111102059    8   84-205/1111
918   Louisiana - ECA       Sabine State Bank                        140000720   Express Check Advance of Louisiana LLC                                                  7478   1003981371   Open   Statement   Single                     111102059   111102059    8   84-205/1111
 42   Tennessee - AA        Simmons Bank                              92057187   Advance America, Cash Advance Centers of Tennessee, Inc.                                7083   1003980811   Open    Emailed    Single                     5001-0129   082900432    9    81-43/829
  9   Florida - AA          Southeastern Bank                       1504104762   Advance America, Cash Advance Centers of Florida, LLC                                   7183   1003981412   Open    Mailed     Single                     061205844   061205844    9    64-584/612
 25   Missouri - AA         Southern Bank                            160066940   Advance America, Cash Advance Centers of Missouri, Inc.                                 7953   1003981420   Open               Single                     281573259   281573259    9   80-7325/2815    @281573259@XXXXCCCCCCCCC*XXX@281573259@XXXXCCCCCCCCC*XX           9
  1   Alabama - AA          Southern Independent Bank                 10140147   Advance America, Cash Advance Centers of Alabama, LLC                                   7576   1003981421   Open               Single                     530010007   530010007    9    65-657/621
 40   South Carolina - AA   Spratt Savings and Loan Association   600011158635   Advance America, Cash Advance Centers of South Carolina, Inc.                           7932   1003981431   Open     ?         Single                     253272009   253272009    9   67-7200/2532
 14   Indiana - AA          Star Financial Bank                       11077567   Advance America, Cash Advance Centers of Indiana, Inc.                                  7013   1003981441   Open   Emailed     Single                     074901672   074901672   10    71-167/749
  1   Alabama - AA          State Bank and Trust Co                  700021550   Advance America, Cash Advance Centers of Alabama, Inc.                                  7958   1003981443   Open               Single                     5011-0141   084202219    9    85-221/842
 99   Kansas                Sunflower Bank                          1100998262   Advance America, Cash Advance Centers, Inc.                     Advance America and     7921   1003981462   Open    Mailed     Single                     101100621   101100621    9    38-62/1011
254   Texas - CSO           Texas Bank and Trust                       1772854   ACSO of Texas, L.P.                                                                     7756   1003980761   Open    Mailed     Single                     111923238   111923238    8   88-3571/1119
 14   Indiana - AA          The Farmers Bank                          15000982   Advance America, Cash Advance Centers of Indiana, Inc.                                  7169   1003981491   Open      ?        Single                     074902503   074902503    9    71-250/749
 42   Tennessee - AA        The Farmers Bank - TN                        51861   Advance America, Cash Advance Centers of Tennessee, Inc.        Advance America or C    7811   1003980614   Open      ?        Single                     064105336   064105336    9    87-533/641
 99   Louisiana             The First                                905000691   Advance America, Cash Advance Centers, Inc.                                             7905   1003981501   Open      ?        Single                     065303360   065303360    8   85-336/65390
 94   Mississippi - ECA     The Peoples Bank                           1581479   Express Check Advance of Mississippi, LLC                                               7482   1003981242   Open               Single                     065500752   065500752    9    85-75/655
  1   Alabama - AA          Troy Bank & Trust                          4100859   Advance America, Cash Advance Centers of Alabama, LLC                                   7951   1003981681   Open               Single                     5022-0103   062101031    9    61-103/621     @062101031@XXCCXCCCCXC*XXXXX@5022-0103@XXCCXCCCCXC*XXXX           7
  1   Alabama - AA          Trustmark National Bank                 3500363601   Advance America, Cash Advance Centers of Alabama, LLC           Advance America, Firs   7072   1003981511   Open   Emailed     Single      Lockbox for E 5800-1001    065300279    9    85-27/653
 25   Missouri - AA         Unico Bank                                15055833   Advance America, Cash Advance Centers of Missouri, Inc.                                 7098   1003981561   Open               Single                     284174134   284174134    9   81-7413/2841
 46   Virginia - AA         Union First Market Bank                      32212   Advance America, Cash Advance Centers of Virginia, Inc.                                 7745   1003981171   Open    Mailed     Single                     051403164   051403164   10    68-316/514
946   Virginia - ECA        Union First Market Bank                     332690   Express Check Advance of Virginia, LLC                                                  7483   1003981572   Open    Mailed     Single                     051404529   051404529    9    68-316/514
946   Virginia - Title      Union First Market Bank                 8500088940   Advance America, Cash Advance Centers of Virginia, Inc.                                 7927   1003981573   Open    Mailed     Single
 46   Virginia - AA         Union First Market Bank/StellarOne      7300279049   Advance America, Cash Advance Centers of Virginia, Inc.         Advance America         7076   1003981451   Open    Mailed     Single                    051402220    051402220   9     68-222/514
946   Viginia - ECA         Union First Market Bank/StellarOne       571092295   Express Check Advance of Virginia, LLC                          Express Check Advanc    7480   1003981452   Open               Single                    051402220    051402220   9     68-222/514
249   Wisconsin - CA        Union National Bank                         228091   Advance America, Cash Advance Centers of Wisconsin, Inc.        Check Advance           7225   1003981574   Open      ?        Single                    075902120    075902120   9     79-212/759
  1   Alabama - AA          United Bank                              827143901   Advance America, Cash Advance Centers of Alabama, LLC                                   7079   1003981581   Open    Mailed     Single                    062102098    062102098   9     61-209/621
901   Alabama - ECA         United Bank                              152978301   Express Check Advance of Alabama, LLC                                                   7484   1003981582   Open               Single                    062102098    062102098   9     61-209/621
 25   Missouri - AA         Wood and Huston Bank                     500124914   Advance America, Cash Advance Centers of Missouri, Inc.                                 7283   1003981661   Open   Statement   Single                    101901833    101901833   8    80-183/1019
 44   Utah - AA             Zions Bank                               981119365   Advance America Cash Advance Center of Utah, Inc                                        7950   1003981680   Open               Single                    124000054    981119365   9
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                  EXHIBIT 25
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                  EXHIBIT 26
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                     EXHIBIT A




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                                  Exhibit A
                      to Plaintiff Advance America’s
                  Objections and Responses to Defendants’
                         First Set of Interrogatories


                                        Account Closing   Last 4
       Bank                                  Email        Digits         Reason
                                          2/15/2008
                                          3/19/2008
                                           5/2/2008
                                          8/28/2008
                                           4/7/2009
                                          4/10/2009
                                          5/12/2009
                                          10/12/2009
                                           4/5/2010
                                          6/28/2010
                                          6/29/2010
                                           7/5/2010
                                          7/14/2010
                                          7/20/2010
                                          9/14/2010
                                          2/24/2011       7287          unknown
                                          5/16/2012       6356     No MSB and/or Payday
                                          7/24/2012       9332     No MSB and/or Payday
                                          7/24/2012       4115     No MSB and/or Payday
                                          8/27/2012       4102     No MSB and/or Payday
                                          8/29/2012       0693     No MSB and/or Payday
                                          8/29/2012       9002     No MSB and/or Payday

                                    1
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                                       8/29/2012    3950        No MSB and/or Payday
                                       8/29/2012    6339        No MSB and/or Payday
                                       8/29/2012    2356        No MSB and/or Payday
                                       8/29/2012    5428        No MSB and/or Payday
                                       8/29/2012    8878        No MSB and/or Payday
                                       8/29/2012    9096        No MSB and/or Payday
                                       8/29/2012    0000        No MSB and/or Payday
                                       8/29/2012    2692        No MSB and/or Payday
                                       8/29/2012    3181        No MSB and/or Payday
                                       8/29/2012    3507        No MSB and/or Payday
                                       8/29/2012    6483        No MSB and/or Payday
                                       8/29/2012    0495        No MSB and/or Payday
                                       8/29/2012    0398        No MSB and/or Payday
                                       8/29/2012    3178        No MSB and/or Payday
                                       8/29/2012    3316        No MSB and/or Payday
                                       8/29/2012    3194        No MSB and/or Payday
                                       8/29/2012    3523        No MSB and/or Payday
                                       8/29/2012    2020        No MSB and/or Payday
                                       8/29/2012    8628        No MSB and/or Payday
                                       8/29/2012    0602        No MSB and/or Payday
                                       8/29/2012    8146        No MSB and/or Payday
                                       8/29/2012    4522        No MSB and/or Payday
                                       8/29/2012    5972        No MSB and/or Payday
                                       8/29/2012    8493        No MSB and/or Payday
                                       9/20/2012    1917        No MSB and/or Payday
                                       10/15/2012   3001        No MSB and/or Payday
                                       10/25/2012   5206        No MSB and/or Payday
                                       10/25/2012   7006        No MSB and/or Payday
                                       11/23/2012   6371             unknown

                                   2
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                                       12/4/2012    7355             unknown
                                       12/13/2012   2181        No MSB and/or Payday
                                       1/22/2013    5548        No MSB and/or Payday
                                       2/20/2013    8053        No MSB and/or Payday
                                       2/28/2013    4465        No MSB and/or Payday
                                       3/18/2013    1673             unknown
                                       3/18/2013    1908             unknown
                                       3/18/2013    7823             unknown
                                       3/18/2013    7831             unknown
                                       3/18/2013    8913             unknown
                                       3/18/2013    2770             unknown
                                       3/18/2013    1914             unknown
                                       3/18/2013    1250             unknown
                                       3/18/2013    5890             unknown
                                       3/18/2013    9472             unknown
                                       3/18/2013    3381             unknown
                                       3/25/2013    3673             unknown
                                       3/25/2013    7170             unknown
                                       3/27/2013    5143             unknown
                                        4/1/2013    7098        No MSB and/or Payday
                                        4/1/2013    7179        No MSB and/or Payday
                                        4/1/2013    9609        No MSB and/or Payday
                                        4/1/2013    9190        No MSB and/or Payday
                                        4/1/2013    9200        No MSB and/or Payday
                                        4/1/2013    9213        No MSB and/or Payday
                                        4/1/2013    9226        No MSB and/or Payday
                                        4/1/2013    9239        No MSB and/or Payday
                                        4/1/2013    9255        No MSB and/or Payday
                                        4/1/2013    9284        No MSB and/or Payday

                                   3
PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
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                                       4/1/2013     9297        No MSB and/or Payday
                                       4/1/2013     6075        No MSB and/or Payday
                                       4/1/2013     0534        No MSB and/or Payday
                                       4/1/2013     8052             unknown
                                       4/2/2013     8299        No MSB and/or Payday
                                       4/2/2013     8655        No MSB and/or Payday
                                       4/2/2013     3268        No MSB and/or Payday
                                       4/2/2013     3454        No MSB and/or Payday
                                       4/2/2013     4239        No MSB and/or Payday
                                       4/2/2013     4247        No MSB and/or Payday
                                       4/2/2013     4573        No MSB and/or Payday
                                       4/2/2013     4662        No MSB and/or Payday
                                       4/2/2013     7082        No MSB and/or Payday
                                       4/2/2013     7724        No MSB and/or Payday
                                       4/2/2013     7848        No MSB and/or Payday
                                       4/2/2013     2671        No MSB and/or Payday
                                       4/2/2013     2736        No MSB and/or Payday
                                       4/2/2013     2779        No MSB and/or Payday
                                       4/2/2013     1190        No MSB and/or Payday
                                       4/2/2013     1698        No MSB and/or Payday
                                       4/2/2013     6034        No MSB and/or Payday
                                       4/2/2013     6247        No MSB and/or Payday
                                       4/2/2013     6298        No MSB and/or Payday
                                       4/9/2013     6830             unknown
                                       4/9/2013     8926             unknown
                                       4/10/2013    3316        No MSB and/or Payday
                                       4/17/2013    0087             unknown
                                       4/24/2013    1700             unknown
                                       4/24/2013    6939             unknown

                                   4
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                                       4/24/2013    9736             unknown
                                       4/30/2013    7137        No MSB and/or Payday
                                       4/30/2013    4297        No MSB and/or Payday
                                       4/30/2013    9619        No MSB and/or Payday
                                       5/7/2013     6279             unknown
                                       5/7/2013     6756             unknown
                                       5/21/2013    9447        No MSB and/or Payday
                                       5/21/2013    1337        No MSB and/or Payday
                                       5/23/2013    7785             unknown
                                       5/23/2013    7793             unknown
                                       5/29/2013    3660             unknown
                                       5/29/2013    6798             unknown
                                       6/10/2013    2745        No MSB and/or Payday
                                       6/10/2013    7448        No MSB and/or Payday
                                       6/25/2013    6271        No MSB and/or Payday
                                       6/25/2013    9344             unknown
                                       6/25/2013    9612             unknown
                                       6/25/2013    3890             unknown
                                       6/26/2013    0205             unknown
                                       6/27/2013    1701             unknown
                                       6/27/2013    8284             unknown
                                       6/27/2013    9294             unknown
                                       6/27/2013    8234             unknown
                                       6/27/2013    9216             unknown
                                       6/27/2013    8260             unknown
                                       7/3/2013     5433        No MSB and/or Payday
                                       7/8/2013     9503             unknown
                                       7/9/2013     5835             unknown
                                       7/9/2013     4607             unknown

                                   5
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                                        7/9/2013    0381             unknown
                                        7/9/2013    3816             unknown
                                        7/9/2013    1618             unknown
                                       7/26/2013    1894             unknown
                                       7/26/2013    1886             unknown
                                       8/15/2013    6492             unknown
                                       8/15/2013    3551             unknown
                                       8/15/2013    9487             unknown
                                       8/15/2013    5132             unknown
                                       8/15/2013    6948             unknown
                                       8/15/2013    7619             unknown
                                       8/15/2013    4599             unknown
                                       8/15/2013    4581             unknown
                                       8/15/2013    1880             unknown
                                       9/16/2013    5051        No MSB and/or Payday
                                       10/3/2013    1532             unknown
                                       10/8/2013    7403        No MSB and/or Payday
                                       10/8/2013    7288        No MSB and/or Payday
                                       10/18/2013   4645        No MSB and/or Payday
                                       10/18/2013   4607             unknown
                                       10/25/2013   3866        No MSB and/or Payday
                                       11/6/2013    6041        No MSB and/or Payday
                                       3/26/2014    4068        No MSB and/or Payday
                                       5/29/2014    7997        No MSB and/or Payday
                                        6/2/2014    2142        No MSB and/or Payday
                                        6/2/2014    6417        No MSB and/or Payday
                                        6/4/2014    0775        No MSB and/or Payday
                                       6/10/2014    9034        No MSB and/or Payday
                                       6/27/2014    2685        No MSB and/or Payday

                                   6
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                                       6/27/2014    2693        No MSB and/or Payday
                                       6/27/2014    7206        No MSB and/or Payday
                                       6/27/2014    5028        No MSB and/or Payday
                                       6/27/2014    5044        No MSB and/or Payday
                                       6/27/2014    5010        No MSB and/or Payday
                                       6/27/2014    2733        No MSB and/or Payday
                                       6/27/2014    5143        No MSB and/or Payday
                                       6/27/2014    7110        No MSB and/or Payday
                                       6/30/2014    3604        No MSB and/or Payday
                                       7/1/2014     5036        No MSB and/or Payday
                                       7/28/2014    7318        No MSB and/or Payday
                                       7/31/2014    3074             unknown
                                       8/4/2014     6101        No MSB and/or Payday
                                       8/4/2014     0714        No MSB and/or Payday
                                       8/4/2014     5069        No MSB and/or Payday
                                       8/4/2014     0730        No MSB and/or Payday
                                       8/4/2014     0722        No MSB and/or Payday
                                       8/4/2014     0101        No MSB and/or Payday
                                       8/4/2014     8001        No MSB and/or Payday
                                       8/7/2014     2022        No MSB and/or Payday
                                       8/8/2014     5940             unknown
                                       9/9/2014     1049        No MSB and/or Payday
                                       10/2/2014    7496        No MSB and/or Payday
                                       10/6/2014    4373        No MSB and/or Payday
                                       10/6/2014    2691        No MSB and/or Payday
                                       10/7/2014    0186        No MSB and/or Payday
                                       10/7/2014    7292        No MSB and/or Payday
                                       10/7/2014    6042        No MSB and/or Payday
                                       10/7/2014    9919        No MSB and/or Payday

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                                       10/7/2014    0860        No MSB and/or Payday
                                       10/7/2014    0836        No MSB and/or Payday
                                       10/7/2014    3356        No MSB and/or Payday
                                       10/7/2014    7716        No MSB and/or Payday
                                       10/7/2014    3720        No MSB and/or Payday
                                       10/7/2014    0771        No MSB and/or Payday
                                       10/8/2014    9516        No MSB and/or Payday
                                       10/8/2014    9861        No MSB and/or Payday
                                       10/8/2014    5502        No MSB and/or Payday
                                       10/8/2014    9431        No MSB and/or Payday
                                       10/8/2014    6661        No MSB and/or Payday
                                       10/8/2014    9500        No MSB and/or Payday
                                       10/8/2014    7896        No MSB and/or Payday
                                       10/8/2014    3467        No MSB and/or Payday
                                       10/8/2014    9492        No MSB and/or Payday
                                       10/8/2014    2020        No MSB and/or Payday
                                       10/8/2014    5140        No MSB and/or Payday
                                       10/8/2014    7625        No MSB and/or Payday
                                       10/8/2014    2784        No MSB and/or Payday
                                       10/8/2014    2842        No MSB and/or Payday
                                       10/8/2014    7229        No MSB and/or Payday
                                       10/8/2014    2909        No MSB and/or Payday
                                       10/8/2014    7346        No MSB and/or Payday
                                       10/8/2014    7072        No MSB and/or Payday
                                       10/8/2014    7585        No MSB and/or Payday
                                       10/8/2014    7460        No MSB and/or Payday
                                       10/8/2014    7122        No MSB and/or Payday
                                       10/8/2014    7643        No MSB and/or Payday
                                       10/8/2014    7080        No MSB and/or Payday

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                                       10/8/2014    7098        No MSB and/or Payday
                                       10/8/2014    7130        No MSB and/or Payday
                                       10/8/2014    7114        No MSB and/or Payday
                                       10/8/2014    7064        No MSB and/or Payday
                                       10/8/2014    7106        No MSB and/or Payday
                                       10/8/2014    7528        No MSB and/or Payday
                                       10/8/2014    1026        No MSB and/or Payday
                                       10/8/2014    0010        No MSB and/or Payday
                                       10/8/2014    1083        No MSB and/or Payday
                                       10/8/2014    7521        No MSB and/or Payday
                                       10/8/2014    6671        No MSB and/or Payday
                                       10/8/2014    2211        No MSB and/or Payday
                                       10/8/2014    4554        No MSB and/or Payday
                                       10/14/2014   3047             unknown
                                       11/3/2014    2370        No MSB and/or Payday
                                       11/21/2014   7042             unknown
                                       11/21/2014   9841             unknown
                                       11/21/2014   1338             unknown
                                       11/21/2014   9615             unknown
                                       5/12/2015    4001             unknown
                                       5/12/2015    6601             unknown
                                       5/12/2015    2601             unknown
                                       5/12/2015    7701             unknown
                                       5/12/2015    1201             unknown
                                       6/10/2015    8003        No MSB and/or Payday
                                       6/10/2015    2204        No MSB and/or Payday
                                       6/10/2015    9459        No MSB and/or Payday
                                        9/1/2015    8625        No MSB and/or Payday
                                        9/1/2015    1779        No MSB and/or Payday

                                   9
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                                         9/1/2015    3025       No MSB and/or Payday
                                         9/1/2015    8619       No MSB and/or Payday
                                         9/1/2015    8610       No MSB and/or Payday
                                         2/1/2016    2190       No MSB and/or Payday
                                        3/24/2016    2760       No MSB and/or Payday
                                        7/15/2016    6673       No MSB and/or Payday
                                        10/14/2016   9372       No MSB and/or Payday
                                        11/29/2016   6692       No MSB and/or Payday
                                        11/29/2016   9900       No MSB and/or Payday
                                        11/29/2016   7530       No MSB and/or Payday
                                        11/29/2016   9853       No MSB and/or Payday
                                        11/29/2016   9146       No MSB and/or Payday
                                        11/29/2016   8384       No MSB and/or Payday
                                        11/29/2016   6870       No MSB and/or Payday
                                        11/29/2016   7510       No MSB and/or Payday
                                         2/7/2017    4309       No MSB and/or Payday
                                        2/10/2017    4612       No MSB and/or Payday
                                        2/10/2017    9210       No MSB and/or Payday
                                         3/1/2017    2936       No MSB and/or Payday
                                        4/12/2017    5667       No MSB and/or Payday
                                        4/12/2017    8864       No MSB and/or Payday
                                        4/12/2017    7643       No MSB and/or Payday
                                        4/12/2017    5576       No MSB and/or Payday
                                        4/12/2017    6101       No MSB and/or Payday
                                        4/12/2017    9025       No MSB and/or Payday
                                        4/12/2017    4686       No MSB and/or Payday
                                        4/12/2017    8823       No MSB and/or Payday
                                        4/12/2017    2072       No MSB and/or Payday
                                        4/12/2017    6121       No MSB and/or Payday

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                                        4/12/2017   2417        No MSB and/or Payday
                                        4/12/2017   2118        No MSB and/or Payday
                                        4/12/2017   0925        No MSB and/or Payday
                                        4/12/2017   1174        No MSB and/or Payday
                                        4/12/2017   7387        No MSB and/or Payday
                                        4/12/2017   9417        No MSB and/or Payday
                                        4/12/2017   5063        No MSB and/or Payday
                                        4/12/2017   7472        No MSB and/or Payday
                                        4/12/2017   2779        No MSB and/or Payday
                                        4/12/2017   3781        No MSB and/or Payday
                                        4/12/2017   2696        No MSB and/or Payday
                                        4/12/2017   2589        No MSB and/or Payday
                                        4/12/2017   4951        No MSB and/or Payday
                                        4/12/2017   3773        No MSB and/or Payday
                                        4/12/2017   0761        No MSB and/or Payday
                                        4/12/2017   4102        No MSB and/or Payday
                                        4/12/2017   5446        No MSB and/or Payday
                                        4/12/2017   5784        No MSB and/or Payday
                                        4/12/2017   5701        No MSB and/or Payday
                                        4/12/2017   1843        No MSB and/or Payday
                                        4/12/2017   4700        No MSB and/or Payday
                                        4/12/2017   0602        No MSB and/or Payday
                                        4/12/2017   9748        No MSB and/or Payday
                                        4/12/2017   7124        No MSB and/or Payday
                                        4/12/2017   9830        No MSB and/or Payday
                                        4/12/2017   8930        No MSB and/or Payday
                                        4/12/2017   5461        No MSB and/or Payday
                                        4/12/2017   6204        No MSB and/or Payday
                                        4/12/2017   4428        No MSB and/or Payday

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                                        4/12/2017     5793      No MSB and/or Payday
                                        4/12/2017     9516      No MSB and/or Payday
                                        4/12/2017     4095      No MSB and/or Payday
                                        4/12/2017     4053      No MSB and/or Payday
                                        4/12/2017     5961      No MSB and/or Payday
                                        4/12/2017     1050      No MSB and/or Payday
                                        4/26/2017     9138      No MSB and/or Payday
                                        4/26/2017     9154      No MSB and/or Payday
                                        4/26/2017     3202           unknown
                                        4/26/2017     1177           unknown
                                        6/19/2017     7480      No MSB and/or Payday
                                        6/19/2017     2196      No MSB and/or Payday
                                        6/28/2017     9330      No MSB and/or Payday
                                        2011 - 2016   6263      No MSB and/or Payday
                                        2011 - 2016   1810      No MSB and/or Payday




                                   12
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                            * These banks continue to be very supportive of the Company and are servicing a large number
                              of centers previously banked by
                            *                          are also prasMing some of the corporate banking services:
                                •                   Is providing NSFConcentration and ACH account services
                                •              provide payroll account services
                            * TheCompanybpilotlngcashrecyclefSwIth                        in three locations
                            *                    meeting has been setup for March 8* in Mexicoto continue to build a
                              stronger relationship with Advance America and <3rupo Elektra

                             * Subject to final Board approval, we are ready to close on the $25 million credit facility with
                                              on February 18,2013
                            • The cash concentration business Is being handled by
                            *              b also handling the APaccount and electronic vendor payments

                            " The relationship management team of both banks are very supportive of the Company
                            " There b increasing pressure from the compBance areas of these banks to exit the relationship
                              due to industry and foreign ownership concerns
                            ' We have met with both banks to address these concerns and a cautiously optimbtic that we
                              wHIbe aMeto maintain the r^ationships




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                                                     Ssinks by Center




                                                              ADVANCE AMERICA
                                                                    •'iUyfwcKf'VnK!'*:




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                            •     Ca«h i«recycM throughan entile tmart safe. The Cash Recyder It beto>g pilotedin three
                                  locaMont, two centers In FL and one center in OH.

                            •     The serviceeHminalet d>e need foriocai bank relationthips or reliance on daily armored car
                                  servicet.

                            *     Itis an inrwvatlve solutionthat can poterSially bef>efil Operations.Treasury.arKi Loss prevention.

                                                     • Enhance focus on core business
                                                     • Reduce labor/payroll costs through bil reader countirtg
                                                     • Reduce operating costs (Courier pkk-up reduced from daily to as
                                                      needed)
                                                     • Enhance productivity and accountability

                                                     • Improve Bquidity
                                                     ' Provide access to cash as needed aiiowing for
                                                       iMlzation of excess cash on other investments
                                                    • OptimUe banking relationships
                                                    • improve accountability/control/reconciliatlon



                                                      Improve employee safety
                                                      Reduce losses
                                                      Reduce investipatiens

                                                                                                          ^ADV^NCE AMERICA




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